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                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA



JOSEPH LEWIS, JR., ET AL.                               CIVIL DOCKET NO.: 3:15-CV-318

VERSUS                                                  JUDGE: SHELLY DICK

BURL CAIN, ET AL.                                        MAGISTRATE: RICHARD BOURGEOIS



                                              OPINION

I.      GENERAL ALLEGATIONS AND PROCEDURAL BACKGROUND

        This suit was originally brought by several inmates incarcerated at the Louisiana

State Penitentiary (“LSP”). The LSP at Angola (sometimes referred to as “Angola”) is a

maximum-security men’s prison in Angola, Louisiana that housed between 6200-6400

men throughout the discovery period.1 Plaintiffs claim that the medical care provided at

LSP violates the Eighth Amendment prohibition of cruel and unusual punishment.

Plaintiffs also claim that, through various general practices and policies, LSP systemically

violates the rights of disabled inmates covered by the Americans with Disabilities Act

(“ADA”)2 and the Rehabilitation Act (“RA”).3

        The Plaintiffs sought to represent a class of all prisoners who are now, or will in

the future, be confined at LSP (the “Class”), as well as an ADA Subclass of inmates with




1
   Undisputed Facts (“UF”) ¶ 1, First Amended Joint Pretrial Order (“JPTO”), Rec. Doc. No. 242-2; PX 6 at
0017; DX 14 at 02876. The relevant time period in this matter was confined to May 20, 2015 (the date of
filing) and September 30, 2016 (the close of the discovery period).
2
   42 U.S.C. § 12101, et seq.
3
   29 U.S.C. § 701.
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disabilities who are now, or will in the future, be confined at LSP (the “ADA Subclass”).4

Plaintiffs seek injunctive relief to abate the alleged systemic deficiencies in Defendants’

policies and practices that subject all inmates to unreasonable risks of serious harm.5

    On February 26, 2018, following a class certification hearing and subsequent briefing

by the Parties, the Court certified a class consisting of “all inmates who [are] now, or will

be in the future, incarcerated at LSP,” and a Subclass of “all qualified individuals with a

disability, as defined by the [Americans with Disabilities Act (“ADA”) and Rehabilitation

Act (“RA”)], who are now, or will be in the future, incarcerated at LSP.”6 The Class and

Subclass are represented by Otto Barrera, Clyde Carter, Ian Cazenave, Ricky Davis,

Reginald George, Kentrell Parker, Lionel Tolbert, John Tonubbee and Edward

Washington.7

        This matter came before the Court for an eleven-day non-jury trial on the merits

beginning October 9, 2018. The undersigned also made a site visit to LSP on February

5, 2020.8 The Court has considered the Parties’ pre-trial and post-trial submissions, the

evidence admitted at trial, and the arguments presented, and the Court finds that Plaintiffs

have satisfied their burden of proving that Defendants have been deliberately indifferent

to the inmates’ serious medical needs in the means and manner of the delivery of health

care, in violation of the Eighth Amendment to the United States Constitution. The Court

also finds that Plaintiffs have met their burden of establishing, in part, that Defendants


4
  Rec. Doc. No. 140 at 2.
5
  Id.
6
  Rec. Doc. No. 394.
7
  Id. at 1, 30. Farrell Sampier testified at trial, but he passed away in March 2019 after a stroke. Rufus White
was released from custody in March 2019.
8
  The Court issued an electronic notice that it found constitutional violations in the delivery of medical care
at LSP. At the Parties’ request, the Court delayed the issuance of these written reasons to permit the
Parties to explore an amicable resolution, which was unsuccessful.
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violated the Americans with Disabilities Act, as modified by the Americans with Disabilities

Act Amendment Act, and Section 504 of the Rehabilitation Act of 1973.

       The Court’s credibility findings, findings of fact, and conclusion of law are set forth

below pursuant to Rule 52(a) of the Federal Rules of Civil Procedure.

II.    FINDINGS OF FACT

       A. Stipulated Facts

       The Parties stipulated to the following facts by written submission prior to trial.

Stipulated facts that had changed as of the time of trial are noted.

       Facts Related to Medical Care

1.     Louisiana State Penitentiary at Angola (“Angola” or “LSP”) is a maximum security

prison in Angola, Louisiana that currently houses approximately 6400 inmates.

2.     Defendant Louisiana Department of Public Safety and Corrections (“DOC”) is a

division of the State of Louisiana charged with overseeing the custody and care of inmates

in state prisons, including LSP.

3.     Defendant Burl Cain was the Warden of Angola from February 1, 1995 through

December 31, 2015. He was succeeded by Defendant Darrel Vannoy, who is currently

the Warden of Angola. The Warden’s duties include, among other things, assigning

people to manage the medical care and then being sure that they do what the policies

and procedures say.

4.     Defendant Raman Singh was the Chief Medical and Mental Health Director of the

DOC since November 2007, which included managing several departments such as




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nursing, dental and mental health.9 Before November 2007, he served as Medical

Director of Angola, where his duty was to manage offender healthcare for LSP inmates.10

5. Defendant James LeBlanc is the Secretary of the DOC. In that capacity, he supervises

Dr. Singh as well as the rest of the employees of the Department. Although he has

authority over the entire Department in a supervisory capacity, he has delegated authority

for certain tasks and responsibilities to subordinate employees.

6. Defendant Stephanie Lamartiniere was the Assistant Warden for Health Services at

Angola from June 2013 until sometime in 2016. She was succeeded by Defendant Tracy

Falgout, who was the Assistant Warden at the time of trial. The Assistant Warden has

operational control over the medical unit at LSP. This includes, among other

responsibilities, budgeting, hiring of certain classes of employees, medical records, and

any kind of staffing issues.

7. Defendant Randy Lavespere is the current Medical Director of Angola. This position

is responsible for managing, among other things, Angola’s doctors, nurses, patients,

relationship with headquarters, and relationships with administration.

8. Defendant Stacye Falgout has been the Chief Nursing Officer for the DOC since

October 2011. Prior to that time, she was Assistant Director of Nurses at Angola. She

reported to Dr. Singh and is the number two medical employee at DOC headquarters.

9. Defendant Sherwood Poret has been the Director of Nursing at Angola since January

2013 and was the infection control supervisor before that. He supervises all nurses

working at LSP.



9
    JX 4-bbb, R. Singh Depo at 9.
10
     As of the date of trial, Dr. Singh had been terminated from this position.
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10. LSP’s medical staff currently includes five doctors and one nurse practitioner. Each

of the doctors on LSP’s staff was disciplined by the Louisiana State Board of Medical

Examiners prior to being employed at LSP. Each of the doctors on LSP’s staff had a

restricted license or was restricted to practicing in institutional settings at the time they

were hired by LSP. Some LSP medical staff have completed requirements imposed by

the Medical Board and are no longer under restriction.

11. LSP mainly provides medical care at R.E. Barrow Treatment Center (often called

“REBTC” or the “Treatment Center”), which comprises the Acute Treatment Unit (“ATU”),

an infirmary, and seven examination rooms.

12. The infirmary has two units: “Unit 1,” which treats acute care patients, and “Unit 2,”

which treats patients requiring long-term nursing home care and hospice patients.

13. Outside of the infirmary, medication is administered cell side by correctional officers.

14. Outside of the infirmary, inmates can request to see a doctor by submitting “sick call”

requests, which are triaged cell side by Emergency Medical Technicians (“EMTs”).

Facts Related to ADA Claims

15. At the time this lawsuit was filed, Warden Peabody was the ADA Coordinator at LSP.

Warden Peabody became ill sometime before January 1, 2016 and was replaced by

Warden Barr in July 2016. Defendant Tracy Falgout succeeded Warden Barr and has

been the ADA Coordinator at LSP since September 2016.

16. ADA Coordinators do not receive any formal ADA training upon taking office or on a

regular or recurring basis.

17. LSP does not provide braille versions of forms such as sick call requests,

Administrative Remedy Procedure forms, or forms to request accommodations.
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18. DOC Directive No. 01.016(B) requires LSP to maintain an “ADA Advisory Committee.”

No such committee existed during the pendency of this lawsuit.

19. LSP Directive 07.004 provides that all “[s]everely handicapped inmates requiring

medical care and/or assistance with basic life functions shall be housed at” REBTC or

Medical Dorms.

20. LSP Directive # 09.036 prohibits any inmate “requiring a duty status” from utilizing the

hobbyshop until such time as the inmate is returned to regular duty without restrictions.

21. Louisiana State Penitentiary and DOC receive some federal funding.

B.        Court’s Findings of Fact

          The following findings of fact are supported by the evidence in the record. Where

a particular fact was controverted, the Court weighed the evidence and determined that

the evidence presented by the party supporting that fact was more persuasive.

22.       Prior to the trial of this matter, Plaintiffs’ medical experts, Dr. Michael Puisis, D.O.

(Dr. Puisis) and Nurse Practitioner Madeleine LaMarre, (“NP LaMarre”), conducted a four-

day in-person site visit at LSP, and Dr. Susi Vassallo, M.D. (“Dr. Vassallo”) conducted a

two-day site visit.11           NP LaMarre and Dr. Vassallo observed Angola’s facilities,

interviewed numerous Angola staff members and patients, observed medical care in

practice, and reviewed the medical records of 47 patients, in addition to the medical

records of the ten named Plaintiffs.12

23.       Dr. Puisis was principally responsible for evaluating LSP’s chronic care, specialty

care, infirmary care, organizational structure, staffing, budget, healthcare operations,



11
     Rec Doc. 573 at 16, #29.
12
     Id. at
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medical records, laboratory, mortality review, and quality improvement.13 Dr. Vassallo

was principally responsible for evaluating emergency care and the work performed by

EMTs.14 NP LaMarre was principally responsible for evaluating access to care, chronic

disease management, pharmacy, medication administration, policies and procedures,

clinical spaces and sanitation, and health information management.15

24.     The Court had the opportunity to evaluate the credibility of Plaintiffs’ experts and

finds them to be credible. All three experts testified at trial. Dr. Puisis testified for the

better part of three days, and Dr. Vassallo and NP LaMarre each testified for

approximately a day. Dr. Vassallo also provided brief rebuttal testimony after Defendants’

case. The Court also had the opportunity to observe and evaluate Dr. Puisis’s testimony

at the November 2017 class certification hearing.

25.     Prior to the trial of this matter, Plaintiff’s architectural accessibility expert Mark

Mazz (“Mazz”) conducted a site visit to LSP on July 6, 2016 to assess ADA accessibility

in specific areas at LSP used by disabled inmates in accessing programs, services, and

activities, as those areas would be subject to Title II and Section 504’s programmatic

access requirement, without respect to the dates of construction or alteration.16 Mazz

issued a report of his findings, which was admitted into evidence without objection.17




13
   Rec. Doc. No. 544, Testimony of Puisis at 101:8-13.
14
   Rec. Doc. No. 547, Testimony of Vassallo at 138:21-25.
15
   Rec. Doc. No. 548, Testimony of LaMarre at 152:12-153:3.
16
   Rec. Doc. No. 546, Testimony of Mark Mazz, at 11:13-19 12:5-15, 14:15-15:22; see also, P Exh. 7 at
0009 & 0005. Mazz was not advised which areas of LSP’s facilities were constructed or altered after the
Uniform Federal Accessibility Standards went into effect on March 7, 1988, or after the 1991 ADA
Standards for Accessible Design went into effect on January 26, 1992. Rec. Doc. No. 546 at 15:1-7; PX
7 at 0008.
17
   PX 7.
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26.       The Court found Mazz’s testimony credible, and Defendants’ expert Brian Nolan

(“Nolan”), who reviewed Mazz’s report setting forth the ADA violations findings and

photographs, did not controvert or contradict Mazz’s report; rather, Nolan opined he could

“substantiate the items recorded” in the Mazz report “as being violations of the 1991 and

2010 ADA Standards for Accessible Design.”18

27.       The Court rejects Defendants’ attack on Mazz’s methodology and analysis

because he applied the 1991 standards to his findings; Mazz reviewed a letter from the

DOJ regarding its investigation results and noted that the DOJ’s analysis applied the

same methodology.19 Defendants offered no evidence or testimony to rebut this.

Facts Relating to Medical Care

28.       Generally, the Court concludes that LSP lacks the infrastructure necessary to

provide a constitutionally adequate health care system for patients with serious medical

needs. This includes a lack of adequate organizational structure, credentialing and peer

review processes, health care policies and procedures, clinic space, and a quality control

program. Further, the Court finds the following aspects of inmate access to health care

is constitutionally inadequate in the following ways: clinical care, specialty care, infirmary

care, and emergency care. The Court further finds that overwhelming deficiencies in the

medical leadership and administration of health care at LSP contributes to these

constitutional violations.




18
     PX 18.
19
     Rec. Doc. No. 546 at 24:23-25:22; 25:21-26:4; PX 7 at 0008 & 0009.
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                1.      Clinical Care

29.     At LSP, emergency medical technicians (“EMTs”) and paramedics are front line

staff for screening and treatment of patients with routine (sick call) and urgent health care

needs. EMTs conduct sick calls in inmate housing units without the patient's medical

record, adequate medical equipment, or supplies. Pursuant to both LSP Policy and

applicable Standards of Care, physicians are required to clinically supervise EMTs; yet,

this does not meaningfully or consistently occur at LSP.

30.     Clinic exam rooms lack privacy and standardized, typically required, equipment,

i.e. blood pressure cuffs and glucometers.20 Dr. Puisis testified, and the Court observed

on its site visit, that the outlying camps at LSP likewise lack standardized supplies.21

31.     Medics who see patients cell side lack access to medical records.22

32.     There are serious hygiene deficiencies in clinic spaces. The condition of the clinic

exam rooms indicates that the exam rooms are not used for patient examinations. For

example, the exam tables are covered with medical records and cannot possibly

accommodate a patient exam.23 Clinic spaces are also cluttered with microwaves,

refrigerators, and food items.24 Further, there is a lack of usable handwashing facilities

in clinic rooms25 and a lack of paper covering on exam tables.26

33.     LSP physicians routinely fail to identify patient diseases and are focused on

episodic complaints rather than the underlying state of disease.27 Physicians routinely


20
   Rec. Doc. No. 544 at 111:23-112:16; 114:10-24; observed by the Court during its site visit.
21
   Id. at 117:8-25.
22
   Id.at 116:5-8.
23
   Id. at 116:9-22
24
   Id. at 118:1-6.
25
   Id. at 119:18-120:2; PX 6 at 278.
26
   Rec. Doc. No. 544 at 120:12-18; PX 6 at 274.
27
   Rec. Doc. No. 544 at 126:2-9.
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fail to adequately obtain information regarding a patient’s medical history upon

evaluation.28 Physicians routinely fail to perform a meaningful physical examination, read

and monitor testing, and monitor and manage medications, including educate patients

regarding medications.29 Further, physicians inappropriately allow medics to triage

patients and evaluate health requests.30

34.    Dr. Puisis concluded that the consequence of the inadequacy of the clinical care

results in an inadequate therapeutic plan, and the associated risk of harm includes

increased morbidity, unnecessary hospitalization, and deterioration of disease.31

                                       Patient #1132

35.    Patient #11 suffers from Crohn’s disease and was referred for a colonoscopy. A

diagnostic colonoscopy was not performed until six months after the referral.           The

colonoscopy findings resulted in a referral to a gastroenterologist, and the specialty

consultation was not completed for another three months.

36.    The gastroenterologist recommended additional testing of the intestines which

later revealed an abscess, resulting in inpatient emergency treatment to drain the

abscess. Ultimately, this patient required five subsequent surgical interventions and two

hospitalizations.

37.    Dr. Pusis concluded that the delay in treatment and the failure to coordinate

specialty care resulted in the patient requiring a higher level of treatment. The failure of




28
   Id.at 126:21 – 127:9; 153:1-2.
29
   Id. at 153:2-10.
30
   Rec. Doc. No. 545 at 108:10-13.
31
   Rec. Doc. No. 544 at 127:10-15.
32
   Id. at 133:6-139:9.
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the coordination of care is evidenced by the fact that the patient was treated by surgeons

for almost two years without being managed by a gastroenterologist.

38.     Following stabilization of Patient #11’s acute conditions, LSP physicians

prescribed Humira, but the patient was started on the wrong dose. Dr. Puisis concluded

that “it is likely that the patient had more episodes of fistula than necessary.”33

                                        Patient #1334

39.     Patient #13 suffers with high blood lipids and peripheral vascular disease and is at

risk for stroke. This patient required Statin drugs to prevent heart disease, yet the stroke

review of the patient’s record showed no evidence of statin medication administration

other than a four-month duration.

40.     On December 17, 2014, Patient #13 had a heart attack, which according to Dr.

Puisis was “likely that was preventable.”35        Plaintiff’s heart attack resulted in his

hospitalization, and he was followed by a cardiologist who recommended an

echocardiogram, which was completed on February 8, 2015. However, there is no

evidence in the chart that any LSP provider referred to the echocardiogram and no

evidence that the test results were provided to the outside cardiologist. Thus, lacking any

report from the first echocardiogram, the cardiologist ordered a second echocardiogram;

meanwhile, Patient #13 had two additional hospitalizations for heart failure.

41.     On March 17, 2015, Patient #13 presented with slurred speech and aphasia

(inability to speak), and he was seen by EMTs and sent to the ATU. The only notation by




33
   Id. at 138:14-15.
34
   Id. at 139:10-152:19; JX 10-JJJ.
35
   Id. at 141:21.
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an LSP provider is: “patient brought in for brief episode of slurred speech and expressive

aphasia.” No neurological exam was charted.36 Dr. Puisis testified that:

        Strokes express themselves in terms of a neurological exam. So you would
        have to see if the patient has any motor problem with their arms, legs,
        whether they have facial paralysis, whether they still have that, whether they
        can hear, whether their cranial nerves are intact. And that requires a
        neurological exam, which was not done.”37

A LSP physician ordered the patient to be seen “this week and [he] needs a CT.”38

However, a CT scan was not completed until 3 months later, revealing that the patient

had suffered a stroke.

                2.     Specialty Care Services

42.    Specialty care is provided at LSP in one of two ways: either a panel of specialists

who come to LSP or outside specialists to whom LSP refers patients. Based on the

following, the Court finds that inmates at LSP experience unnecessary and harmful delays

in the assessment for and receiving of specialty medical care; harmful failure to follow

specialty care recommendation; and failure to coordinate care. Referrals of patients for

specialty care is untimely. There are systematic and recurring failures by LSP providers

to follow-up on specialty care recommendations. There are repeated breakdowns in

communication between the specialty care providers and the LSP medical providers. In

sum, the timeliness of referrals to specialists, and the coordination of care between

specialists and LSP physicians, is seriously flawed and constitutionally inadequate.




36
   Rec. Doc. 544 at 145:15-25.
37
   Id. at 145:18-23.
38
   Id.at 146:4.
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                                        Patient #5

43.      Patient #5 complained for two years of weight loss and abdominal pain. This

patient’s abdominal pain worsened to the point that he could not walk, and he developed

diarrhea and vomiting. After a two-year delay, he was finally hospitalized, and diagnosed

with advanced colon cancer. Surgery was performed after which the patient developed

complications and died. Plaintiffs’ experts concluded that, “His death was preventable as

an earlier diagnosis would have most likely prolonged his life.”39 Further, this patient was

seen on 10/25/14 for a bowel obstruction, a potentially life-threatening issue.         The

provider who saw this patient did not evaluate the x-ray.        This patient required an

immediate transfer to the hospital but was not sent, which constitutes a “significant

departure from standard of care and placed the patient at risk of harm.”40 Plaintiffs’

experts concluded that this patient medically required hospitalization on 10/27/14,

10/30/14, and 11/1/14, but he was never sent, further delaying his diagnosis.41

                                        Patient #17

44.      Patient 17 was a 46- year old man who arrived at LSP in 2006 and died on

February 1, 2014 due to pneumonia, lung adenocarcinoma, respiratory failure, and septic

shock.

45.      After undergoing chemotherapy for leukemia, this patient developed a suspicious

lung nodule identified on a CT scan in May 2012. Two specialists, an oncologist and a

pulmonologist, noted possible malignancy and recommended that follow-up diagnostics

be performed. However, no follow-up diagnostics were ever received. Patient 17’s


39
   PX 6 at 0075-76; 0112-117.
40
   Id. at 0116, #7.
41
   Id. at 0016.
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condition worsened through November 2013 at which time he could no longer walk and

became wheelchair-bound.42

46.    By the time Patient #17 was finally diagnosed in November 2013, he had

metastasized cancer. He died three months later.43

                                       Patient #13

47.    Patient #13 was seen by a vascular specialist on November 20, 2013, who

recommended a CT angiogram, but the test was not done for ten months.44 During this

ten months, the patient was not being followed by a vascular surgeon although he was at

risk for peripheral vascular disease and had been identified as having the disease.45

48.    Patient #13 was hospitalized after having a heart attack on December 17, 2014,

and on January 29, 2015, he was seen by an outside cardiologist who recommended an

echocardiogram.46 The echocardiogram was completed on February 8, but the LSP

doctor failed to document that the echocardiogram had been done and failed to chart the

findings. When this patient returned to the cardiologist, the cardiologist did not have the

echocardiogram to review or any chart notes of findings, which impaired the cardiologist’s

ability to provide proper medical care and advice. The failure to coordinate and document

was not an isolated incident. Patient #13 had three follow-up cardiology appointments in

which the cardiologist was not provided the echocardiogram to review.47




42
   PX 6 at 0078, 0086-87, 0193-199.
43
   Id.
44
   Rec. Doc. No. 544 at 141:9-11.
45
   Id. at 141:12-16.
46
   Id. at 141:18-24.
47
   Id. at 142:13-23; 157:16-24.
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                                         Patient #7

49.    The care and treatment of Patient #7 is further evidence of a failure to chart and

make appropriate medical notes and demonstrates repeated failures to coordinate care

that resulted in harm. Patient #7 was a 58-year old male who had an x-ray in February

2013 which revealed a potential malignancy for which the patient was not referred for a

CT scan for three months.48 When a CT scan was performed, it revealed a suspicious

lesion, and the patient was referred to a pulmonologist. However, this patient did not see

a pulmonologist for approximately four months, which was seven or eight months from

the initial abnormal x-ray. Upon seeing Patient #7, the pulmonologist recommended a

biopsy.49

50.    At trial, Dr. Puisis emphasized the difference between the pulmonologist’s exam

notes and those of LSP with respect to this patient:

       So this is a note of the specialist. Now it’s a pulmonologist’s note, but I
       would draw attention to just the presentation of the note itself as an example
       of how someone should write a note, recognizing that this is a specialist, I
       grant that, but he’s an internist who also is a pulmonologist. And to a certain
       extent, the notes at LSP should look more like that than not, and you’ll note
       that there’s a history, that there’s a physical exam section, and that there’s
       an assessment and recommendations.50

When referring to the LSP physician notes on the same patient, Dr. Puisis explained:

       Okay. So this is the [LSP] physician's note after the specialty visit, and this
       occurred, I believe, a month after the visit, approximately. So that already is
       a little tardy for a post-specialty visit. Nevertheless, the doctor -- there's no
       specific history, there's no examination, there's no assessment, but the
       doctor does write the conditions one, two, three, hypertension, chronic
       vertigo, and left upper lobe mass. But on the left upper lobe mass, the doctor
       writes: pulmonary plan equals CT-guided biopsy, question mark, bronc,


48
   Id. at 158:19-21; JX 10-b.
49
   JX 10-b at 02651-52.
50
   Rec. Doc. No. 544 at 160:25-161:8.
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        question mark. the specialist was not questioning whether the test needed
        to be done. He had specific recommendations.

        My interpretation of this note is that the doctor wasn’t sure what the
        pulmonologist recommended. What should have occurred on this note is
        the doctor should have documented, reviewed pulmonogist’s [sic] note,
        recommendation for biopsy. And it appears that the doctor wasn’t sure what
        was recommended, and that just verifies to us that the coordination between
        the specialist and the primary care doctor was poor and, in our opinion,
        resulted in the delays that occurred.51

51.     The trial evidence established that Patient #7 was recommended for a biopsy on

February 19, 2013, he was seen by a LSP physician in March 2013, and on August 28,

2013 – seven months from the recommendation and one year after the initial x-ray – the

patient was seen by the pulmonologist who noted: “the biopsy didn’t occur, what gives?”,

and he recommended another biopsy.52 The pulmonologist also noted on that date,

“strongly suggest immediate IR [interventional radiology], FNA [fine needle aspiration] of

left upper lobe nodule.”53

52.     On September 25, 2013, a biopsy had still not been completed. The pulmonologist

again recommended a biopsy. Eventually, having never undergone a biopsy, this patient

underwent a lobectomy to remove a “portion of the lung that was infested with cancer.”54

53.     This patient was returned to LSP on October 14, 2013 and was first referred to

oncology to begin chemotherapy on November 19, 2013; however, records show that

chemotherapy was delayed and not scheduled to begin until January 8, 2014.55

54.     After his return to LSP, the patient made a health care request on November 21



51
   Id. at 161:19-162:12 (explaining JX 10-b at 02656).
52
   Id. at 162:13-21.
53
   JX 10-b at 02601.
54
   Rec. Doc. No. 544 at 164:2-3.
55
   Id. at 164:20-24.
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complaining of tongue and mouth swelling and vomiting. An EMT evaluated and treated

these complaints with coal tablets and cough syrup. Dr. Puisis testified that, given the

patient’s medical history and return from a lobectomy with chemotherapy to follow, a

physician should have seen and evaluated these complaints.56 Before Patient #7 began

chemotherapy, he died.57

                                              Patient #6

55.     Patient #6 was evaluated by an outside cardiologist for hypertension and

significant cardiac arrhythmia. In 2013, the cardiologist ordered an echocardiogram and

an event recorder test.58 The echocardiogram was performed, but the event recorder was

not.    As a result, the patient’s atrial fibrillation was not treated with necessary

anticoagulation.

56.     Two years later, in April 2015, the patient was hospitalized after he developed

another episode of atrial fibrillation.         During this hospitalization, the patient was

anticoagulated at the hospital. When the patient returned to LSP, the patient was not

evaluated and did not receive recommended anticoagulation for approximately 10 days.

Within four days of his return to LSP, this patient developed critical symptoms. Rather

than send the patient to a hospital, Defendants ordered a next day follow-up. This patient

soon developed signs of serious heart failure. Instead of hospitalizing the patient, he was

treated in the infirmary without any diagnostic testing. It took four days in the infirmary




56
   Id. at 165:7-21.
57
   Id. at 159:7-166:3.
58
   Rec. Doc. No. 133-2 at 76; PX 6 at 0076.
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before anticoagulation was finally begun, but this patient failed to improve and

subsequently died.59

57.     Plaintiffs’ experts found Patient #6’s death was preventable, and it “was caused by

lack of recognition of the need for anticoagulation over a two-year period and, finally, a

lack of providing ordered anticoagulation medication for 10 days due to lack of review and

acting on consultant recommendations.”60

                                             Patient #10

58.    Lab results for this patient revealed obstructive jaundice that was potentially life-

threatening. A CT scan revealed a mass in the patient’s pancreas. Rather than being

sent to the hospital for a biopsy, this patient was kept in the infirmary where he developed

a fever. The patient was ultimately sent to the hospital where he was diagnosed with

pancreatic cancer.61

59.     Following this diagnosis, Patient #10 was returned to the infirmary where LSP

providers “seldom took a history or performed a physical examination, did not coordinate

a follow up with an oncologist, and failed to monitor the patient’s bilirubin.”62       LSP

providers also failed to review the hospital care or the therapeutic plan established at the

hospital, and the patient was discharged from the infirmary and placed back in general

population. LSP subsequently made no effort to coordinate oncology care.63

60.    Although this patient was eventually evaluated by an oncologist, the patient had

developed an altered mental status and hypotension and refused the ATU doctors’


59
   Id.
60
   Id.
61
   Rec. Doc. No. 133-2 at 77;PX 6 at 0077.
62
   Id.
63
   Id.
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recommendations that he seek care. The patient refused care and was transferred to the

hospital where he died in the emergency room.64

61.     Plaintiffs’ experts opined that the LSP providers “showed a lack of concern for this

patient and appeared to promote a terminal diagnosis and delay care before the patient

had an adequate chance at treatment.”65

                                             Patient #53

62.     Patient #53, who had previously had a heart valve replacement and chronically

sub-therapeutic levels of anticoagulants, was prescribed Tegretol, an anticonvulsant

medication. A cardiologist noted the lack of indication for this drug in 2016, but this was

never reviewed by LSP physicians, and the patient remained on Tegretol for at least three

more months.66

                                             Patient #54

63.     Patient     #54     experienced       numerous      delays   in   receiving   specialist

care/recommendations between 2013 and 2016.67 Specifically, ablation of this patient’s

atrial fibrillation was delayed by over a year due to failures to schedule the patient for

procedures, failure to provide echocardiogram results to the cardiologist, and failure to

address the cardiologist’s recommendations.68 Following the ablation, LSP providers

failed to document the cardiologist’s recommendations; thus, this patient was erroneously




64
   Id.
65
   Rec. Doc. No. 133-2 at 77-78; PX 6 at 0077-78.
66
   PX 410 at 3-4; JX 10-y-1 at 21012; JX 10-y-3 at 21377.
67
   PX 410 at 1-2.
68
   Id.
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continued on a blood thinner for a year, placing him at significant risk of stroke,

hemorrhage, and other side effects.69

                                            Otto Barrera

64.     Otto Barrera testified at the bench trial about significant delays he experienced,

since his incarceration at LSP in 2013, in obtaining necessary reconstructive surgeries to

repair his jaw, tongue, and teeth, which would require numerous surgeries over five years

altogether.70 At that time, Barrera was feeding himself through a pec tube and barely

able to speak or take his medication due to his injuries.71

65.    For the next two years, Barrera was housed on the hospital ward where he had

some teeth pulled by the on-site dentist and LSU dental providers.72 The LSU

maxillofacial providers reiterated their recommendation again in 2015 that he needed

reconstructive surgery, but he testified that he was told by the LSP doctor that the surgery

would not be approved because it was considered a cosmetic surgery.73

66.    In January 2016, LSP Nurse Practitioner Cindy Park admitted that Barrera had

been “lost to follow-up” since early 2014.74 In September 2016, Barrera had still not

received any surgery.75

                                              Joe Lewis

67.    Over a period of 33 months beginning in April 2012, Joe Lewis made numerous

sick calls complaining of cough, hoarseness, and losing his voice. He reported on a


69
   Id.
70
   Rec. Doc. No. 546, Testimony of Otto Barrera at 207:7-14; see also PX 245-b (photographs of Barrera’s
injuries).
71
   Rec. Doc. No. 546 at 206:1-207:22, 225:5-18, 229:5-19.
72
   Id. at 216:18-217:5.
73
   Id. at 217:3-219:22; Rec. Doc. No. 547 at 31:10-25.
74
   JX 10-d-2 at 04063.
75
   Rec. Doc. No. 547 at 21:9-11.
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February 2014 sick call that he had a family history of cancer; however, he was not

referred by LSP to an ENT until November 2014, and he did not see an ENT until January

2015.76

                                         Shannon Hurd

68.    Shannon Hurd made several sick call requests for symptoms of renal cell

carcinoma between September 2013 and September 2015; yet, he did not receive a CT

scan until December 2015, which revealed a large renal mass with multiple nodules.

Despite this, LSP physicians failed to follow-up for nearly a month.77

                3.     Infirmary/In-Patient Care

69.    LSP has two infirmaries, Infirmary 1 and Infirmary 2. Infirmary 1 is the acute care

infirmary for the treatment of patients with urgent or episodic conditions. Infirmary 2 is

the chronic care infirmary for patients with chronic disabilities or conditions that require

long-term housing.78

70.    Nursing Unit (Infirmary) 2 is managed by a nurse practitioner who also oversees

more than 1000 other patients.79

71.    Dr. Puisis opined that the infirmary/in-patient care provided by LSP is severely

inadequate.80

72.    Dr. Puisis testified that, according to the National Commission on Correctional

Health Care (“NCCHC”) standards, every inmate patient should be within the sight and




76
   PX 28 at 0017-18.
77
   Id. at 0018-22.
78
   Rec. Doc. No. 544 at 172:25-173:13.
79
   Id. at 173:14-20.
80
   Id. at 123:20-124:10.
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sound of a nurse.81

73.    LSP infirmaries have individual rooms with steel doors which are separated from

nursing staff by solid locking doors and no call system to reach nurses. Dr. Puisis testified

that there should be a way for the patient to communicate with the nursing staff, and the

steel doors render adequate communication an impossibility.82 For example, Kentrell

Parker was a quadriplegic whose breathing required a tracheotomy, and he was locked

in an isolation room facing away from the door with no means to summon assistance.83

74.    Dr. Puisis testified that, in the general population, inmates may serve as orderlies

and assist patients with activities of daily living; however, inmate orderly service is

medically inappropriate in the infirmary setting.84

75.    LSP utilizes inmates as nursing assistants which is beyond the scope of the

medically accepted use of orderlies. According to NCCH, inmates may assist with

activities of daily living, but not in the inpatient environment because: (1) inmates lack

training, and (2) there is a potential for undue leverage, i.e., an inmate declining to provide

assistance unless receiving some gratuity from the patient.85

76.    The infirmaries at LSP are significantly understaffed, requiring inmate orderlies to

clean, bathe, dress, feed, and position patients - all activities of daily living as

acknowledged by LSP physician Dr. David Thomas.86




81
   Id. at 170:16-171:5 (citing PX 243 at 0130).
82
   Rec. Doc. No. 544 at 177:14-178:11.
83
   PX 6 at 0081-82.
84
   Rec. Doc. No. 544 at 174:25-175:22.
85
   Id. at 175:11-176:9.
86
   Rec. Doc. No. 552, Testimony of David Thomas at 29:6-7: 87:2-7.
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77.     It was established that inmate orderlies are not supervised by registered nurses;

rather, they are supervised by security staff who lack medical training. Dr.Puisis testified

at length about health care standards that strongly counsel against the use of inmate

orderlies to assist inpatient inmates with activities of daily living.87

78.     Further, even if the use of inmate orderlies to assist with activities of daily living

conforms to the minimum standards of the Eighth Amendment, the trial evidence showed

that LSP failed to follow its own training policies with respect to inmate orderlies.88

                                              Patient #3

79.     This patient has underlying diabetes and peripheral vascular disease. Ulcers and

disease to both legs required amputation above-the-knee. The patient subsequently

developed serious infections to the stump in 2008, and he was sent to the hospital where

he underwent emergency surgery to remove the dead tissue. Doctors had to extend

upward to the perineum to find live tissue. All tissue in this patient’s penis and entire

perineum was dead. He was returned to LSP and placed in hospice care.89

80.     Dr. Puisis credibly testified that this type of infirmary care is representative of the

care he observed during the relevant time period; however, the Court finds that the facts

surrounding Patient 3 which occurred in 2008 are not probative of the health care

conditions at issue during the relevant time period of this lawsuit.

                                             Patient #39

81.     Patient #39 was immunosuppressed with a history of congestive heart failure and

diabetes. He was admitted into the infirmary on July 20, 2011, presenting with a fever of


87
   Rec. Doc. No. 544, Testimony of Mike Puisis at 175:4-176:11.
88
   JX 6-eee at 6 (annual training).
89
   JX 10-AAA.
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103.6 degrees and altered status. He was placed in a “locked room” with the “hatch up”

after a nurse reported that the patient was masturbating on July 21, 2011. LSP physicians

ceased visiting the patient altogether for 3 days. He was discharged back to his housing

unit on the fourth day. Two days after his discharge, this patient was found vomiting in

his cell. Both Dr. Lavespere and Dr. McMurdo ordered EMTs not to transport the patient

to the hospital, and this patient died the next morning.90

                                            Patient #18

82.    Following multiple positive tests for HIV, Patient #18 was admitted to the infirmary

on December 2, 2013, presenting with pneumocystic pneumonia and life-threatening

abnormal vital signs.      Despite his condition, antiretrovirals therapy was not started for

four days. Less than one week after starting antiretrovirals therapy, this patient developed

a fever of 101 degrees, and he was transferred to an outside hospital on December 13,

2013, where he died one month later. While Patient #18 was in the infirmary at LSP, his

vital signs were monitored only once daily, and his medications were, at best, irregularly

administered.91

                                            Patient #11

83.    Patient #11 suffered from Chron’s Disease, which Dr. Puisis testified requires

chronic disease monitoring.92 This patient was admitted to the infirmary following a partial

colectomy. This surgery was necessary due to the failure of LSP physicians to timely and

properly monitor and treat his Crohn’s disease.              The Court finds that the evidence



90
   PX 6 at 0063; JX 10-ii-1 at 34748-49; PX 233 at 0112.
91
   PX 6 at 0039 – 40, 0083-84; Rec. Doc. No. 548, Testimony of Madeleine LeMarre at 172:11-22; 181:20-
21.
92
   Rec. Doc. No. 544 at 133:6-15.
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demonstrating LSP’s failures to take Patient #11’s history, perform adequate physical

examinations, document a treatment plan, provide indicated immunosuppressive therapy,

and failure to refer him to gastroenterologist resulted in a preventive death.93

                4.      Sick Call

84.     Sick call is the main process by which patients access the medical system at

Angola, and it is conducted cell side by EMTs. EMTs do not commonly consult doctors

during sick call visits, and the evidence shows that fewer than half of all sick call visits

from April to June 2016 were referred for provider review.94

85.     Expert testimony at trial established that inmate patients submitted repeated

Health Service Requests (“HSR”) for the same complaint.95

86.     Evidence also demonstrated that EMTs routinely did not have access to the

patient’s health record when conducting sick calls, resulting in patients being treated

repeatedly with the same medication regimen even if such regimens had failed in the

past. This was demonstrated by the following evidence at trial:

87.    Patient #17 complained of chest pain at sick call for over 16 months. Prior to these

complaints, the patient’s medical records indicated that he had a pulmonary nodule and

had been referred to a thoracic surgeon for a biopsy. This patient was seen repeatedly

by EMTs at sick call for complaints of chest pain for 16 months from 2102 to 2014. A

biopsy of the pulmonary nodule was finally performed in 2014, and this patient was

diagnosed with adenocarcinoma of the lung. He died a little over one week later.96



93
   PX 6 at 0044-45, 146; Rec. Doc. No. 544, Testimony of Mike Puisis at 133:6 – 139:9; JX 10-R.
94
   PX 41 at 0039-41.
95
   Rec. Doc. No. 548 at 185:15-186:10.
96
   PX 6 at 0193-99.
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88.     Patient #20 was seen by EMTs at sick call for over four months with repeated

complaints of significant abdominal pain. More than once, EMTs failed to refer the patient

to a physician despite his severe symptoms. After months of complaining of “burning”

pain, weight loss, and vomiting blood, the patient was admitted to a nursing unit. He died

the following day.97

89.     Patient #29 was seen 10 times by EMTs for sick calls in a one-month period. This

patient presented with symptoms consistent with exacerbation of congestive heart failure;

however, it took over a month for this patient to be hospitalized despite acute worsening

of symptoms.98

90.     Patient #18 was seen on multiple occasions by EMTs with complaints of chest

pain, shortness of breath, and a 55-pound weight loss. There is no documentation that

EMTs notified physicians of the patient’s abnormal vital signs, precipitous weight loss, or

the progressive worsening of his symptoms. The patient did not receive a timely or

meaningful clinical evaluation for his symptoms by a physician. Ultimately, Patient #18

was diagnosed with HIV, and he died a little over one month after this diagnosis.

According to the medical experts, a timely diagnosis of this patient’s HIV status and

corresponding anti-retroviral intervention could have prevented his death.99

91.     Plaintiff Shannon Hurd (deceased) repeatedly complained of substantial weight

loss and testicular swelling. After 2 years of presenting to EMTs with consistent and

worsening complaints, diagnostic testing revealed renal cancer. From the time that this

patient began complaining of symptoms until his ultimate diagnosis two years later, Hurd


97
   PX 6 at 0216-27.
98
   PX 6 at 0256-57.
99
   PX 6 at 0200-08.
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lost 61 pounds. During this period, Hurd saw doctors and EMTs on numerous occasions,

but they routinely failed to conduct meaningful testing or scrutinize his symptoms and

medical history. Even when tests did occur, doctors failed to provide the necessary follow

up.100

92.      Plaintiff Joseph Lewis (deceased) repeatedly complained for 33 months—nearly

three years—of symptoms consistent with laryngeal cancer. Lewis was mostly evaluated

cell side by EMTs at sick call who referred him to a physician on only a few occasions.

After 33 months of constant complaints, diagnostic testing was obtained which revealed

laryngeal cancer. Again, according to medical experts, timely diagnostics would likely

have prolonged Lewis’ life.101

93.      Regarding transport orders, the evidence showed that, when EMTs consulted LSP

physicians to request increased care or for additional patient assessment, the physicians

routinely gave “no transport” orders resulting in further diagnostic and treatment delays.

According to the undisputed expert opinions presented, these “verbal orders given to the

medics over the radio … advising that the patient not be transported from his cell,”102

“result[ed] in delay in care, lack of evaluation by a physician and in some cases death.”103

Record examples of the consequences of these “no transport” orders are as follows:

94.      Patient # 39 was a 65-year-old man with “a history of diabetes, [and] severe

coronary artery disease and heart failure.”104 In July of 2011, the patient was seen by

EMTs seven times with symptoms including a “temperature of 103.6,” “an altered mental


100
    PX 28 at 0018-22; see also Rec. Doc. No. 552, Testimony of David Thomas at 99:9-116:4.
101
    PX 28 at 0017-18.
102
    PX 6 at 0063.
103
    Id.; See also Rec. Doc. No. 547, Testimony of Susi Vassallo at 150:24-151:9, 174:24-178:7.
104
    PX 6 at 0063
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status,” “chest tightness,” and “breathing but unresponsive.” On one occasion, Patient 39

was observed lying on the floor of his cell “‘vomiting and won’t move [sic].’”105

Nevertheless, no-transport orders were given three times. After the third no transport

order in July 2011, this patient died in his cell. The medical records do not explain or

describe the reason for, or circumstances of, the death.106

95.     Patient # 34 made an emergency sick call for flank pain. LSP physician Dr. Toce

ordered an x-ray without seeing the patient,107 but he was subsequently seen by Dr.

Collins in the ATU the next day. Dr Collins noted that there was no bruising or injury that

could explain the patient’s pain.108 Three days later, Dr. Lavespere gave a no transport

order when the patient could not get out of bed. Three days after this no transport order,

the patient was found non-responsive in his cell. He died the following day.109

96.     Plaintiffs not only challenge the constitutionality of the medical response to sick

calls at LSP but also the constitutionality of the sick call policies, generally. Pursuant to

the DOC’s Access to Care and Clinical Services Policy,110 inmate patients are to have

daily access to routine and urgent services, with sick call requests triaged every day. Sick

Call carries a $3 co-pay, self-declared medical emergencies carry a $6 co-pay, and a new

medication (OTC or RX) carries a $2 co-pay regardless of the number of doses.111



105
    Id.
106
    Id. at 0063-64.
107
    PX 6 at 0267; Rec. Doc. No. 548, Testimony of Susi Vassallo at 57:5-58:16; JX 10-ee at 28686. It is
unclear when the patient suffered the broken ribs, and whether the rib fracture was related to his death; the
autopsy reports a “remote” fracture, suggesting that the rib injury may have been distant in time and
unrelated. See Rec. Doc. No. 548 at 57:5-58:16.
108
    JX 10-ee at 28685.
109
    Id. at 28678-81; see Rec. Doc. No. 548, Testimony of Susi Vassallo at 112:9-114:1; see also, e.g., PX
6 at 0201, 0236, 0238, 0254, 0257 (noting additional no transport orders).
110
    JX 5-A at 00020 ( HC-01).
111
    Id. at 00023.
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Plaintiffs argue that this co-pay system presents an unconstitutional barrier to care.

Based on the trial evidence submitted, the Court does not to find that these policies, in

and of themselves, create an unconstitutional (cruel and unusual) barrier to health care.

However, it is one factor that contributes to a delivery system that is, in this Court’s view,

woefully inadequate. Sick call policies requiring co-pays is not unconstitutionally cruel and

unusual. Even though the malingering policy is unenforced, the fact that it is on the books

arguably creates a disincentive for inmates to sick call. There was no evidence that the

policy creates access hesitance. Inasmuch as the policy is disfavored and not used, in

the Court’s view, LSP should amend its written policy to conform to its practice.

97.     In requesting a “sick call,” an inmate is required to acknowledge in writing: “I am

aware that if I declare myself a medical emergency and health care staff determine that

an emergency does not exist, I may be subject to disciplinary action for malingering.”112

In short, if an inmate is determined not to be “emergency” sick after complaining of

symptoms, the inmate can be sanctioned for “malingering.” Defendants contend the

actual use of malingering write-ups is rare. However, even the Defendants’ medical

expert, Dr. Thomas, agreed that the malingering policy at LSP should be discontinued.113

Plaintiffs’ medical expert opined that a policy which permits medical providers to punish

inmates for seeking access to care creates a conflict of interest and is a practice not seen

in other correctional facilities.114

98.     After weighing all evidence regarding this policy, the Court finds that, although

LSP’s malingering policy exists on paper, it is not enforced in practice. Accordingly, the


112
    PX 53.
113
    DX 14 at 02943.
114
    Rec. Doc. No. 545, Testimony of Puisis at 14:16-16:4.
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Court finds that Plaintiffs have failed to carry their burden of proving harm regarding this

policy.

99.       Nevertheless, although the Court finds that the unenforced malingering policy is

not unconstitutional, it is evidence of systemic health care structures that the Court does

find results in constitutionally infirm health care delivery. As evidenced by the malingering

policy, the medical department at LSP is controlled by LSP security rather than medical

care providers. Both Plaintiffs’ and Defendants’ experts agreed that this organizational

hierarchy, under which the medical department reports to security, is not working.115

Moreover, orderlies and EMTS also report to the security chain of command for

supervision,116 and correctional officers supervise the delivery of medications by other

correctional officers.117 Dr. Lavespere admitted that security personnel - not medical

personnel - are tasked with the initial assessment of whether an inmate is “really sick”

when they purport to have a medical emergency.118 Additionally, the Assistant Warden

makes resource-allocation decisions such as when nurses are required for pill call.119

The Court finds that this system where health care decisions are largely made by security

rather than qualified health care providers is unconstitutional.




115
    See e.g., DX 13 at 02845-46 (Dr. Moore describing the leadership as “most unusual” and creating
“difficulties,” including making the “success of the program [] primarily dependent upon the good will of the
wardens.”). She further explained that Wardens are not capable of assessing the quality of medical care
delivery. See also PX 6 at 0011-12.
116
    JX 4-gg, A. Cowan Depo. at 9:20-25, 10:16-20; JX 4-dd, D. Cashio Depo. at 73:18-74:18 PX 6 at 0015;
JX 4-ii, T. Falgout Depo. at 17:23-25 (Warden Falgout testifying that security deals with staffing and
assigning orderlies).
117
    Rec. Doc. No. 553,Testimony of Tammi Willis at 96:4-8; see also JX 4-ddd.
118
    JX 4-rr at 26:24-27:4.
119
    Rec. Doc. No. 551, Testimony of Randy Lavespere at 193:9-18.
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                5.      Emergency Care – Acute Treatment Unit (“ATU”)

100.    The ATU is not an emergency room (“ER”) and is, therefore, not equipped with

some of the equipment necessary to diagnose and treat serious medical conditions.120

Further, because the ATU does not operate as an ER, referral to outside hospitals

becomes necessary in emergency situations. However, the trial evidence demonstrates

that LSP often fails to refer patients to an outside ER when necessary. Addtionally, as

with sick calls, LSP employs EMTs as primary care providers in the ATU.

101.    In addition to sick call assessments, EMTs “perform all emergency response.”121

Plaintiffs agree that it is an “appropriate use of EMTs to respond to medical emergencies

on-site, such as in a cell or dorm.”122 However, Plaintiffs challenge the policy allowing

EMTs to deliver care and serve as the “primary providers” for patients in the ATU.123 It is

admitted that only serious medical conditions are seen in the ATU, and according to Dr.

Lavespere, as many as 76 patients may be seen in a day in the ATU.124

102.    Although a physician is assigned to provide on-call coverage to the ATU, the Court

finds from the trial evidence that physicians do not regularly or consistently staff the ATU,

and, as a result, patients in the ATU are not being consistently evaluated or treated by

physicians. The Court finds as a matter of fact that it is EMTs who are routinely delivering

patient care in the ATU, which “differs dramatically” from how prison EMTs are used in

emergencies in the rest of the country, according to Plaintiffs’ expert.125



120
    PX 6 at 0066.
121
    Id. at 0061.
122
    Rec. Doc. No. 573 at 110.
123
    Rec. Doc. No. 547, Testimony of Susi Vassallo at 141:25-142:4; Rec. Doc. No. 548 at 14:3-13.
124
    JX 4-rr, R. Lavespere Depo at 44:4-7.
125
    Rec. Doc. No. 548, Testimony of Susi Vassallo at 22:1-3.
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103.    The Court further finds that, regarding patients in the ATU, EMTs “continue to

manage the patient” and “make serial observations over many, many, many, many

hours,” which is not within their training or scope of practice.126 EMTs are simply not

trained “to render ongoing care for a number of hours.”127 The following examples

demonstrate the improper use of EMTs in the ATU.

104.    Patient #1 was managed by EMTs in the ATU for more than 24 hours for an

episode of diabetic ketoacidosis and acute renal failure - conditions which led to his death

one day later.128

105.    Patient #15 was managed by EMTs in the ATU overnight despite suffering from

acute coronary syndrome, and then discharged to his housing unit at 3:45 in the morning;

he returned to the ATU later that morning and then died en route to the hospital.129

106.    Patient #20 was managed by EMTs in the ATU overnight, despite a physician’s

telephone order that he be admitted to the nursing unit, because the nursing unit was full.

The patient’s symptoms suggested he was “internally bleeding and at risk of death,” and

he, in fact, died the following day.130

107.    Patients #38 and #42 were managed in the ATU for at least eight hours by EMTs,

despite both having symptoms suggestive of a stroke. Patient #38, who had a medical

history of strokes, died the following day. Patient #42 lived following this ATU stay but



126
    Rec. Doc. No. 547 at 160:13-161:1; see also, e.g., id. at 151:20-152:4 (“The problem at Angola is that
the EMTs continue to manage the patient. Now, there are exceptions to that, but most commonly the EMTs
will manage patients with calling to the doctors. They will be given verbal orders or telephone orders, and
so the doctor is relying on the information they are given by someone who is observing something but not
trained to make serial observations over many, many, many hours and to know what that means.”).
127
    Rec. Doc. No. 547, Testimony of Susi Vassallo at 142:5-12; see also PX 6 at 0041, 60-71.
128
    See PX 6 at 0069, 0091-94; JX 10-w at 51299-307.
129
    See PX 6 at 0069-71, 0187-90; JX 10-v at 18943-48.
130
    PX 6 at 0034-35, 0056, 0085, 0225-27.
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was left with long-term deficits due to lack of proper treatment.131

108.    The trial evidence also demonstrated several examples of the consequences of

delayed or failed emergency referrals. For example, Anthony Mandingo presented with

pneumonia. EMTs in the ATU administered two breathing treatments and returned him

to his dormitory. Several days later he was admitted to UMC New Orleans.132

109.    Danny Prince, who worked as a health care orderly on Ash 2 dormitory (an assisted

living/recovery dorm) during the relevant time period, testified at trial and described an

inmate with a tracheotomy in his throat who presented with a progressively worsening

cold and made repeated emergency sick calls. The inmate was seen in the ATU and

returned to his dormitory multiple times and ultimately died.133

110.    Regarding stroke patients, in August 2014, LSP was put on notice by Interim LSU

Hospital (“ILH”) that that they were not receiving stroke patients within the 4.5-hour

treatment window. Three Angola inmates within 45 days prior had arrived at outside

treatment facilities “with obvious stroke symptoms [but did not receive] emergen[cy] care

within the 4.5 [hour] window to attempt [to] prevent serious disability.”134 For example,

Lionell Parks presented to the infirmary on 3 consecutive days with stroke symptoms

before he was referred for emergency care.135 While the remote location of LSP accounts

for transportation delays, it is less than a one-hour drive to Baton Rouge, and the




131
    PX 6 at 0270-71 (Patient #38); PX 233 at 0095 (Patient #38); Rec. Doc. No. 547, Testimony of Susi
Vassallo at 153:6-164:24 (Patient #42); PX 6 at 0272-73 (Patient #42); JX 10-p at 15142, 15161-62, 15236-
39 (Patient #42).
132
    Rec. Doc. No. 551, Testimony of Mandingo at 89:2 – 91:13.
133
    Rec. Doc. No. 547, Testimony of Danny Prince at 101:14 – 102:5.
134
    PX 12 at 0002.
135
    PX 12 at 0001 – 02.
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transportation delay does not account for multi-day delays such as those experienced by

Parks.

111.     Patient #42 was found unresponsive in July 2015 at 11:18 p.m. He was brought to

the ATU, where he was managed for more than 10 hours by EMTs without a physician

consult. While in the ATU this patient was treated with four liters of intravenous saline

without having received any prior diagnosis. Patient #42 had suffered a stroke which

caused brain swelling, which may have been exacerbated by the intravenous saline

administered by EMTs.136

112.     Patient 44 attempted to hang himself in his cell. He was transported to the ATU

with “abnormal posturing,” which Dr. Vassallo testified is indicative of brain injury and

bruising of the cervical spine. EMTs managed this patient’s care in the ATU even though

a physician, Dr. Toce, was present in the ATU. EMTs failed to ensure proper ventilation

by failing to “bag” the patient. After about 15 minutes, Dr. Lavespere entered and started

“bagging” this patient. According to Dr. Vassallo, who witnessed this incident, this level

of inadequate ventilation most likely caused harm to the patient and exacerbated his brain

injury.137

113.     Trial evidence also established that some protocols repeatedly utilized in the ATU

are inappropriate under national standards.138 For example, inmates who present with

an altered mental status are routinely treated based on a presumption that they have




136
    Rec. Doc. No. 547, Testimony of Susi Vassallo at 164: 12-23.
137
    Id. at 165:19-173:9.
138
    Rec. Doc. No. 548, Testimony of Susi Vassallo at 22:8-17.
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ingested narcotics.139 The evidence established that the following treatments are routinely

administered without clinical indicators suggestive of illegal drug use: (1) routine

treatment of patients presenting with altered mental status with Narcan; (2) routine

subjecting patients who present with altered mental status to urine toxicology testing,

often by catheterization; and (3) common use of “lavage,” i.e., stomach pumping, on

patients presenting with altered mental status.140                      The following patient studies

demonstrate this problem.

114.    Patient #42 presented to the ATU unconscious but with a normal respiratory rate.

Although there were negative indications for an opiate overdose, the patient was treated

with Narcan and catheterized to perform urine toxicology. In fact, the patient had suffered

a stroke and went 10 hours without appropriate treatment.141

115.    Patient #37 presented to the ATU with seizures and was treated with

gastrointestinal lavage (stomach pumping) and Naloxone. During this treatment, the

patient developed decerebrate posturing and other symptoms indicative of brain damage.

A subsequent CT scan revealed intracerebral bleeding, and this patient ultimately died.

As Plaintiffs’ medical experts explain, “[l]avage for drugs and administration of naloxone

for new onset of seizures shows a gross lack of knowledge of emergency care. Lavage

of a patient with new onset seizures represents medical care with no basis in modern




139
    PX 6 at 0064; see also Rec. Doc. No. 548 at 8:13-15 (“When the patient had an altered mental status,
it was in my review of the records more than half the time. I don’t want to say universally, but it was extremely
common.”).
140
    PX 6 at 0064; compare JX 8-a at 00087, 00145 (EMT Drug Overdose Treatment Protocols, which does
not involve urine toxicology); see also Rec. Doc. No. 548 at 8:13-15 (“When the patient had an altered
mental status, it was in my review of the records more than half the time. I don’t want to say universally,
but it was extremely common.”).
141
    Rec. Doc. No. 547 at 155:9-157:6; see also JX 10-p at 15237-38; PX 6 at 0069.
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practice and delays transport to the hospital.”142

116.    Patient #30 presented to the ATU with focal motor seizures of the arm and face.

He was given naloxone with a plan for gastrointestinal lavage, despite having no

symptoms of opioid or any other overdose. As Plaintiffs’ medical experts concluded, “this

plan does not meet standard care” and was simply “incoherent.”143

117.    Plaintiffs also maintain that Defendants improperly attempt to obtain Do Not

Resuscitate (“DNR”) orders and offered Patients # 31 and #10 as proof of this. The Court

finds no constitutional violation as it relates to DNR orders in the ATU.

                6.       Chronic Care

118.    Plaintiffs complain that LSP’s chronic disease program is “woefully inadequate,”

arguing that Angola’s chronic care policy144 is vague and overly generic145 and that LSP

lacks a “true chronic disease tracking system.” Plaintiffs argue there is a “lack of chronic

care” attributed to “physician manpower shortages.” 146

119.    Notwithstanding the Court findings as to the unconstitutionality of care in Infirmary

2,147 and the Court’s findings with respect to particular patients with chronic conditions,148

the Court does not find constitutional deficiencies in the chronic care. The principal

evidence offered in support of the Plaintiff’s contention that LSP’s chronic care violates

the Eighth Amendment is LSP’s alleged failure to manage and treat patients with hepatitis



142
    PX 6 at 0064.
143
    Id. at 0065.
144
    JX 5-A at 00102-03 (HC – 11).
145
    Plaintiffs argue that LSP's chronic care manual (JX 8-L) contains guidelines for only 8 diseases and
omits guidelines for significant chronic diseases such as kidney disease, thyroid disease, sickle-cell disease
and lupus.
146
    DX 13 at 02865.
147
    See supra. pp. 20-24 of this Ruling.
148
    See e.g, supra. pp. 10-11 of this Ruling.
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C. The Court has previously reviewed numerous individual inmates’ Eighth Amendment

claims with respect to the care and management of Hep C at LSP. The Court declines to

revisit or reverse its prior holdings in those cases.149

                7.     Medical Leadership and Organizational Structure

120.    The Court also finds that Plaintiffs have demonstrated organizational and structural

deficiencies in the LSP health care system which underpin and contribute to Eighth

Amendment violations. The Court finds that the cumulative effect of leadership and

organizational deficiencies demonstrate the subjective component of deliberate

indifference.

121.    Regarding medical leadership, the Court finds that there is a lack of meaningful

mortality review. A mortality review entails reviewing the death of a patient to determine

if any of the problems arose in the course of the patient’s care that can be corrected in

order to prevent future deaths.150 The trial evidence established that LSP does not

conduct mortality reviews; rather, the physician who cared for the patient provides a short

narrative summary of the circumstances surrounding the death. There is no critical review

of the death or the care which preceded the death.151 Plaintiffs’ experts reviewed and

evaluated 28 death charts and they describe LSP’s review of death reports to be a

“noncritical evaluation.” Dr. Puisis testified that LSP does not look for problems and, thus,

finds none, which results in no process for continual improvement.152



149
    See, inter alia, Cormier v. Edwards, No. 17-241-SDD-EWD, 2019 WL 2438784 (M.D. La. June 11, 2019);
Henderson v. Tanner, No. 15-804-SDD-EWD, 2019 WL 885914 (M.D. La. Feb. 22, 2019); Peters v. Singh,
No. 16-842-SDD-RLB, 2020 WL 853517 (M.D. La. Feb. 20, 2020).
150
    Rec. Doc. No. 547 at 179:4-9.
151
    Rec. Doc. No. 545 at 30:19-24.
152
    Id. at 34:10-25.
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122.    In Louisiana, the inmate death rate nearly doubled from 361 deaths in 2001 to

nearly 600 deaths in 2008.153 The Court does not consider this statistic alone probative

of the quality of care; however, the Court finds that LSP’s failure to conduct meaningful

mortality reviews, coupled with its failure to engage in a meaningful quality improvement

program and analysis, in light of this statistic, is evidence of deliberate indifference.

123.    The Court finds that, while the failure to conduct meaningful and informative

mortality reviews is not unconstitutional care, the reticence of LSP medical providers to

conduct meaningful review as a means of quality control and improving care provides

fertile ground for the constitutional deficiencies in health care delivery found by the Court

and is demonstrative of wanton disregard.

124.    As discussed in previous sections of this opinion, the Court also finds that medical

management by corrections, rather than physicians, is inappropriate and also contributes

to the unconstitutional care provided. The Medical Department at LSP is managed by an

assistant Warden; the Deputy Warden, a layperson with no medical training, is the health

authority.154

125.    There is also a lack of peer review in the medical department at LSP. Dr. Puisis

explained that “peer review is groups of peers who evaluate the care of another peer or

colleague based on the clinical process that a certain individual has provided.”155 Further,

“there are two kinds of peer reviews. One is called professional evaluation program, or

PEP, by which, a physician's practice is evaluated typically on an annual basis.”156 This



153
    Rec. Doc. No. 573 at 82-83 (citing PX 466 at 26).
154
    PX 6 at 0012; Rec. Doc. No. 545 at 14:18.
155
    Rec. Doc. No. 545 at 25:8-10.
156
    Id. at 25:14-17.
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type of review evaluates the records of a physician’s care to determine whether the

treatment was appropriate. “A second type of peer review is when there has been a

sentinel event such as a death or an unusual morbid event that is unexpected and

suggests that there may have been problems; that type of peer review is a -- more of a

quasi-legal procedure where the physician may be reported for clinical actions that were

inappropriate, and a group of senior physicians would review that care to determine if a

reduction of privileges is necessary.”157 Dr. Puisis explained that the peer review at LSP

consists of the medical director coming in one time per year to review 15 records. The

director does not review the delivery of health care by any single physician; rather, it is

more akin to a facility review. Also troubling, “[a]t LSP, since 2010, peer review of

physician care has been performed only three times.”158

126.    The Court finds that the repeated failure of any meaningful or systematic review of

the medical care at LSP is evidence of wanton disregard and directly contributes to

conditions which cause harm to patients.

127.    LSP also lacks a quality improvement (“QI”) program. Plaintiffs’ experts reviewed

minutes of QI meetings from 2010 to 2015 which revealed the following: (1) the medical

director, Dr. Lavespere, did not participate in QI meetings;159 (2) nursing supervisors

participated in QI meetings;160 (3) there was no physician participation in QI meetings and

no clinical evaluation.161




157
    Id. at 25:25-26:7.
158
    Id. at 27:17-18.
159
    Id. at 36:21-25.
160
    Id. at 37:5-6
161
    Id. at 37:14-16.
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128.    Evidence also established that there is an absence of medical personnel

involvement in the development and allocations of the medical budget at LSP.162

129.    Finally, the Court finds that the LSP medical director, Dr. Lavespere, directly

contributed to constitutionally infirm health care at LSP in the following ways: (1) failure

to supervise; (2) failure to perform peer review; (3) failure to be aware of the credentialing

of physicians who worked for him; (4) failure to review and analyze sentinel events (a

serious episode that proceeded an adverse event); and (5) failure to conduct mortality

review.163 Additionally, there was no evidence of medical supervision by the DOC central

office.164 The buck stopped with Dr. Lavespere, and his medical supervision and quality

review was woefully inadequate.

130.    Regarding staffing levels, the Court finds that Plaintiffs failed to carry their burden

on this claim. Plaintiffs maintain that the per-physician caseload at LSP is excessive, but

this assertion was not supported by referencing documentation or other record evidence

to establish the caseload per LSP physician. Dr. Puisis testified that a reasonable staffing

level is 800 patients per provider165 and that staffing budgets at LSP are low compared to

other states.166 The fact that LSP may have spent less money on staffing is not probative

of constitutional care.

131.    As to credentialing, the Court finds that LSP fails to maintain provider credentialing

documentation. NCCHC standard number 4 requires that “the HRA maintains verification

of current credentials for all qualified health care professionals at a readily accessible


162
    PX 6 at 0012, 16, 27, 88; JX 4-rr, R. Lavespere Depo. at 97:12-14.
163
    Rec. Doc. No. 544 at 202:24-217:5.
164
    Id. at 218:18-219:10.
165
    Id. at 208:12-23.
166
    Rec. Doc. No. 545 at 21:15-22:13.
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location.”167 Pusis testified that he could not ascertain if providers were practicing within

their proper credentials because “there were no credential files so I couldn’t know what

credentials people had.”168

                8.      Defendants’ Subjective Knowledge

132. Considering the evidence discussed above, the Court finds that Defendants’

knowledge of the constitutionally inadequate practices set forth herein is established. The

evidence demonstrates that Defendants have been put on notice regarding the serious

risks of harm presented herein and have failed to take reasonable steps to address same.

133. On August 8, 1989, the Civil Rights Division of the United States Department of

Justice (“DOJ”) began an investigation into conditions of confinement at Angola, pursuant

to the Civil Rights of Institutionalized Persons Act (“CRIPA”), 42 U.S.C. § 1997.169

134. On May 13, 1991, the DOJ issued a findings letter that concluded that several

conditions at LSP deprived inmates of their constitutional rights, including the failure to

provide adequate medical and psychiatric care.170 The DOJ concluded that “serious flaws

in the provision of medical care” existed system-wide at LSP such that “inmates who need

medical care and attention are not receiving it,” and identified deficiencies regarding, inter

alia, staffing, sick call procedures, delays in treatment, and safeguards to ensure receipt

of proper medication and treatment. 171

135. A class action lawsuit was filed against LSP in January 1992 alleging that the

medical care provided by LSP was constitutionally deficient. The DOJ intervened as a


167
    Rec. Doc. No. 544 at 215:19-21.
168
    Id. at 216:2-3.
169
    PX 239.
170
    Id. at 0002.
171
    Id. at 0002-04.
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plaintiff, and the case was tried in September 1994.172 In connection with this lawsuit, Dr.

Puisis, acting as an expert for the DOJ, made investigatory visits to LSP and identified

several deficiencies in the delivery of medical care that have been alleged in the current

lawsuit, and the trial evidence established continue to persist.173

136. The DOJ prepared a report of its findings, which included: significant delays in

treatment because security decided the manner and time of patients’ transportation;

inmates forced to wait for excessive and unacceptable periods for elective and

radiological services; and delays in treatment caused by the practice of placing patients

in the infirmary who should have been sent to the hospital.174 The report also criticized

the use of EMTs, finding: EMTs were “not adequately trained nor sufficiently experienced

to recognize serious medical illness or triage sick call,” and they could not differentiate

“between acute, chronic, and minor illnesses.”175 The report concluded that LSP had “no

policies or procedures specifically designed to guide health care practitioners in managing

care on the infirmary unit;”176 there was “no quality assurance”177 and no peer review

system to monitor the quality of medical care.178

137. In 1998, a settlement was reached resolving the 1992 lawsuit. The agreement

required specific improvements be made to the system of medical care at LSP, including:

sick call reviews; implementing contemporary standards of care; establishing mortality

review and an effective quality assurance program; automatic referrals to external


172
    PX 17.
173
    See PX 19.
174
    PX 20 at 0006, 0009, & 0014.
175
    Id. at 0002.
176
    Id. at 0007.
177
    Id. at 0012.
178
    Id. at 0016.
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physicians; documentation of deviations from outside provider orders and communication

of those deviations to the outside provider; removing discipline of inmates for malingering

without an evaluation by an outside physician, and the provision of “adequate medical

leadership.”179

138. Given the fact that many of the complaints in this lawsuit – and the deficiencies

proven at trial - are the same as those “settled” in 1998, the Court finds that Defendants

have been aware of these deficiencies in the delivery of medical care at LSP for decades.

139. Defendants were also on notice of the very deficiencies shown at trial, as evidenced

by a report of findings issued by the Wexford Consulting Group in 2009, an entity retained

by LSP to assess the medical care provided by the DOC at LSP and other prisons.180

140. On numerous occasions, outside providers also provided notice to LSP of medical

care deficiencies. In January 2014, Defendants were notified that outside providers had

to cancel several procedures and surgery dates “due to inadequate preparation and/or

following of instructions,” in a wide variety of settings, including cardiac catheterization

labs, endoscopy, and surgical procedures.181 Defendant Stacye Falgout was specifically

advised of the need for staff to “be aware of instructions and follow through with the

specific time frames for preps, stopping [anticoagulants], adding [m]edications, etc.…”182

141. In August 2014, Defendant Singh received notice from the Director of the Louisiana

Emergency Response Network and the Stroke Program Coordinator at ILH LSP patients

were arriving at ILH with “obvious stroke symptoms” based on LSP staff failing to


179
    PX 17 at 0003-05.
180
    PX 265. The Court ruled during trial that the Wexford report was admitted only for the Defendants’
knowledge, not for the truth of its contents. See Rec. Doc. No. 546 at 181:16-183:17.
181
    PX 142 at 0001.
182
    Id.
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determine or realize that inmates were having strokes.183 Defendants were advised that

stroke patients “need to get emergent care within [4.5 hours] to attempt [to] prevent severe

disability,” and that the patients arriving at ILH all suffered “pretty significant deficits” due

to the lack of recognition and transport.184

142. Also in 2014, LSUP received notice via written communication from LSU’s Chairman

of Oral Surgery to Dr. Singh and Stacye Falgout that LSP had sent a number of inmates

“with 3 week old fractures that are already infected and thus use a lot of resources to fix

something that could have been treated easily if diagnosed sooner.”185

143. Dr. Catherine Jones, a doctor at University Medical Center in New Orleans, who

frequently treats patients from LSP, testified at trial about multiple attempts to contact Dr.

Lavespere to discuss the delayed diagnoses of LSP inmate patients, but those calls are

often unanswered.186

144. Current and former LSP medical personnel also documented and/or testified

regarding treatment backlogs and other deficiencies.187 Former Assistant Warden for

Healthcare Services Kenneth Norris testified that patients “did not get the timely

treatment” because Defendants refused to authorize hernia surgery “until, you know, it

becomes a life-threatening deal.”188



183
    PX 12 at 0001-02.
184
    Id. at 0002.
185
    PX 13 at 0001-0002.
186
    Rec. Doc. No. 550, Testimony of Dr. Catherine Jones at 145:6-16.
187
    PX 36; PX 37; PX 42 (Dr. Singh on 12/13/13: “Some of the offenders at LSP were waiting for CT scan
and MRI or cancer care since late 2011. … As far as I know no [colonoscopies] were done at LSP for 2
years or longer. Once access has been restored, even then we can not [sic] get all 600 colonoscopies done
immediately.”) id.at 0001; PX 26 (Ms. Lamartiniere: “[W]e will temporarily suspend the entering of screening
referrals [for colonoscopies] until notified by [headquarters] to resume.” Id. at 0001); PX 32 (summary of
the cataract backlog).
188
    JX 4-tt, Norris Depo at 37:22-38:4.
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145. The lack of meaningful, in-depth mortality review is further evidence of deliberate

indifference by Defendants; by failing to critically review causes of death, Defendants

avoid documenting existing deficiencies within the health care system that need to be

addressed and corrected. Indeed, not a single Medical Summary Report reviewed by

Plaintiffs’ experts noted a problem with patients’ care, despite the serious errors and

delays in treatment discovered in nearly every death these experts reviewed.189 This

inference is supported by Dr. Singh’s recommendation to Secretary LeBlanc that the DOC

not “dig too deep” in investigating a death because “liability is still ours.”190 Dr. Vassallo

credibly testified at trial regarding the frequency of death summaries that “misrepresented

the facts of the patient’s death.”191

                9.      Laboratory Services

146.    The Court finds that Plaintiffs failed to carry their burden of demonstrating

constitutional violations regarding the laboratory services provided at LSP. According to

Dr. Puisis, the laboratory is CLIA certified, and both the laboratory and radiology

departments functioned properly during the relevant time period.192

                10.     Pain Medication Management

147.    The Court also finds that Plaintiffs failed to carry their burden of demonstrating

constitutional violations in the management of pain medicine provided at LSP. The trial

evidence demonstrated that narcotic pain management is not available to patients in the

general population due to LSP’s policy prohibiting the dispensation of narcotics in general



189
    PX 6 at 0084-87.
190
    PX 66 at 0001.
191
    Rec. Doc. No. 547 at 178:19.
192
    Rec. Doc. No. 544, Testimony of Puisis at 196:4-13.
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population. However, LSP policy does allow for the availability of narcotics to hospice

care patients.193

Facts Relating to ADA Claims

             1.     Effect of DOJ ADA Investigation and Settlement with LSP

148.    In May 2010, the United States Department of Justice (“DOJ”) conducted a site

visit at LSP to assess whether LSP complied with Title II of the ADA and its implementing

regulations.194 Although no settlement between the DOJ and LSP had been reached at

the close of discovery in this matter, evidence was admitted at trial demonstrating that

LSP had been working since the DOJ’s 2010 site visit to address compliance issues

identified by the DOJ.195

149.    Plaintiffs’ architectural expert Mazz admitted that the DOJ conducted a far more

expansive assessment of LSP facilities than he, as the DOJ reviewed the entire property

for programmatic access.196 However, the Court rejects Defendants’ argument that the

DOJ’s investigation renders Mazz’s investigation and findings moot or that any facts found

by this Court would be necessarily duplicative of the DOJ’s investigation and findings.

150.    The Court limited the trial of this matter to the discovery period, and any post-

discovery remedial measures are more appropriately addressed at the remedy phase;

such measures do not inform the Court regarding liability in this matter.197 Furthermore,

Defendants’ architectural expert Nolan conducted a review of both the DOJ’s findings and



193
    Rec. Doc. No. 545 at 20:15-17; 131:2-3.
194
    PX 7 at 0008.
195
    See JX 12-e. The Court notes that, at the remedy phase of this matter, any remedial measures
undertaken by LSP will certainly be recognized and credited where appropriate.
196
    Rec. Doc. No. 546 at 60:18-25; 76:25-77:4.
197
    Rec. Doc. No. 419 at 3.
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Mazz’s findings and concluded there is little overlap – at most, 11 items out of 190.198

Additionally, Defendants presented no evidence at trial to dispute or controvert Mazz’s

findings.

                  2.     Architectural Barriers to LSP’s Programs, Services, and Activities

                        a.      Facilities

151.    Trial evidence demonstrated that certain areas of the buildings Mazz surveyed

have been altered since the 1991 ADA Standards took effect. In 2016, LSP’s facilities

maintenance staff compiled a list of renovations completed at Main Prison and the

outcamps between 2010 and May 2016.199                 Odis Ratcliff, an Assistant Facilities

Maintenance Manager designated by the DOC to testify regarding the compliance of

LSP’s facilities with the ADA,200 confirmed that the list includes alterations made since

2010 to attempt to bring the facilities into compliance with the ADA and fire marshal

regulations.201    Notably, the bathrooms and JPay Stations in Ash 2 and Cypress 2

dormitories were modified after the 1991 Standards took effect.202

152.    Mazz surveyed Dormitories Ash 2 and Cypress 2, focusing on sleeping areas and

shower and bathroom areas, as well as the accessible routes from those dormitories to

the public check-in desk, associated recreation yards, van transit parking, law library, and

visiting area.203 He also surveyed portions of the visiting area and law library used by

residents of those dormitories.204 Ash 2 and Cypress 2 are two of three dormitories


198
    Rec. Doc. No. 546 at 80:15-81:5.
199
    JX 12-e.
200
    JX 4-aaa, O. Ratcliff Depo. at 6:23-25.
201
    Id. at 10:16-11:18.
202
    JX 12-e.
203
    PX 7 at 0009; Rec. Doc. No. 546 at 18:7-19:15.
204
    Id.; Rec. Doc. No. 546 at 20:13-21:1.
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designated as “medical dormitories” or “offender assistance dormitories” and house

inmates with mobility impairments and other disabilities.205 Of the three dormitories, Ash

2 is reserved for patients who require the most assistance with the activities of daily

living.206 Mazz also surveyed Dormitory 1 at Camp F, a trustee dorm that has been used

to house blind and otherwise vulnerable individuals.207 Mazz also reviewed various cells

and showers in LSP’s Transition Unit (“TU”),208 including in the Protection Tier and Mental

Health Tier.209 The TU operates as transitional housing for inmates with severe mental

illness or developmental disabilities,210 and it frequently houses inmates with physical and

mental disabilities, including blind patients211 and patients in wheelchairs, like Plaintiff

Reginald George.212 Mazz surveyed Wards I and II on the Nursing Unit at the R.E. Barrow

Treatment Center.213 Ward I operates as LSP’s infirmary, while Ward II houses patients

requiring long-term nursing care and assistance with basic life functions, including LSP’s

hospice patients.214




205
     Rec. Doc. No. 547, Testimony of Danny Prince at 95:1-4; JX 4-c, A. Brent Depo. at 75:17-76:23
(identifying Ash 2 and Cypress 2 as the dormitories housing disabled individuals receiving care from inmate
health care orderlies); JX 6-eee (LSP Directive 13.088) at 00269 (establishing offender assistance
dormitories to provide housing “for offenders who require assistance with activities of daily living”).
206
    Rec. Doc. No. 547 at 95:5-8.
207
    PX 7 at 0009; Rec. Doc. No. 546 at 22:5-23:1; id. at 139:4-5, 152:3-154:5 (Tonubbee describing his
experience assisting former Named Plaintiff Alton Batiste around Camp F after he went blind).
208
    In his report, Mr. Mazz identified the TU as the “Treatment Unit,” consistent with the floor plans that were
provided to him. See JX 7 at 0009.
209
    PX 7 at 0009; Rec. Doc. No. 546 at 20:7-10.
210
    See JX 6-y (LSP Directive 13.037) at 00140 (designating the TU as a housing area for “offenders with
severe mental illness or developmental disabilities”).
211
    PX 85 at 0003.
212
    PX 231 at 1354 (ARP paperwork reflecting that Mr. George was housed in the TU).
213
    PX 7 at 0009; Rec. Doc. No. 546 at 19:24-20:5.
214
    JX 6-v (LSP Directive 13.033) at 00130-32 (describing the purpose and admission criteria for Wards I
and II); JX 7-b (LSP Directive 07.004) at 00002 (stating that “severely handicapped inmates” will be housed
at the Treatment Center). See also Rec. Doc. No. 546, Testimony of Francis Brauner, at 97:22-25
(explaining that Ward II houses “some of the worst cases of, you know, illnesses, stroke victims, cancer
victims, heart problems, you name it, me, paralyzed, wounds.”).
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153.    Mazz testified that, in the correctional setting, he typically looks at access to

services, programs, and activities ranging from toilets and showers to law libraries, visiting

areas, and classrooms.215 At LSP, he specifically considered housing at various security

levels, including toilets, showers, bathtubs and sinks; water fountains; mail services; meal

services; medication administration; medical services; telephones; JPay stations;216

recreation areas; transportation services; the law library; and the visiting area.217

154.    As detailed in Attachment 2 to his report,218 Mazz identified 190 architectural

barriers impeding independent access to a range of programs, services, and activities,

including housing, toilets, showers, phones, JPay stations, common areas, drinking

fountains, recreation areas, transportation, the law library, visiting areas, medication

administration, meals, medical services, and mail services.219 Photographs documenting

each violation are included in his report as Attachment 3.220 Because Mazz’s findings

were uncontroverted by Defendants’ expert Nolan and any other evidence presented by

Defendants at trial, the Court adopts the findings of violations as detailed in Mazz’s report.

155. Anecdotal evidence in the form of the testimony of Named Plaintiffs and Subclass

Members generally confirmed Mazz’s findings. Aaron Brent, a former LSP health care

orderly, testified that the showers in Ash 2 were not usable for patients with disabilities

because there were “showers you couldn’t reach.”221 Farrell Sampier testified at trial

about the difficulty he experienced navigating the paved walkways between the medical


215
    Rec. Doc. No. 546 at 12:16-13:4.
216
    Id. at 34:14-23.
217
    See PX 7.
218
    Id. at 0018-39.
219
    Id.; Rec. Doc. No. 546 at 23:2-10.
220
    PX 7 at 0040-112; Rec. Doc. No. 546 at 27:8-14.
221
    JX 4-c, A. Brent Depo. at 32:10-33:10.
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wards and other areas while in his wheelchair, stating that he had to perform “wheelies”

to maneuver over various humps and obstacles to get across the sidewalk such that

Sampier usually had to ask for someone to push him to get around the property.222

Former inmate Francis Brauner, who uses a wheelchair, described problems regarding

the accessibility of Ward II; for example, he was unable to access the shower or bathtub,

which caused him to give himself bed baths and shave and wash his hair in the sink.

However, the sinks were positioned above chest level for those in wheelchairs, making

them difficult to use. Sampier also testified that he could not reach the mirrors or the water

fountains.223

156.    Testimony from Subclass members also demonstrated that the physical barriers

at LSP deny them access to a variety of programs. At trial, Sampier testified that, while

living on the medical wards, he was not allowed to attend any classes offered at the

prison, including programs such as anger management, victim awareness, and substance

abuse classes.224 Brauner testified that he and other patients living on the ward could not

attend church services or sporting events available to other inmates.225 Barrera, who was

housed on Ward II until December 2015, also testified that he was not permitted to leave

the ward to attend classes or church services. Further, he was required to take anger

management and substance abuse courses to be eligible for release; however, LSP

would not come to the ward to teach the class because there were not enough patients

on the ward who needed the courses to warrant the accommodation.226


222
    Rec. Doc. No. 544, Testimony of Farrell Sampier at 63:11-19; 82:15-24.
223
    Rec. Doc. No. 546 at 100:22-102:25.
224
    Rec. Doc. No. 544, Testimony of Sampier at 48:13-16; 62:13-24.
225
    Rec. Doc. No. 546, Testimony of Francis Brauner at 108:5-19.
226
    Id., Testimony of Otto Barrera at 213:8-214:23.
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157.    Current and former officials at LSP also confirmed ADA noncompliance issues.

LSP Warden Darryl Vannoy admitted that “Angola has a lot of work to do on a physical

plant to be ADA, to meet the ADA requirements.”227 Former LSP ADA Coordinator Donald

Barr testified that there were “access problems for wheelchairs within the main prison” at

the time the DOJ reviewed LSP’s facilities.228 Although LSP’s own policies require the

medical dormitories to be “handicap accessible,”229 Defendants acknowledged that LSP

is “operating Medical Dorms in dormitories designed for general, unimpaired

population.”230

                         b.      Use of Inmate Orderlies as Alternative Means to Access

158.    LSP assigns inmate health care orderlies to the medical dorms and Wards I and II

to assist sick and disabled patients with the activities of daily living.231 Health care

orderlies are not assigned to all areas Mazz surveyed, such as the Camp F dormitories

and the TU.

159.    LSP’s health care orderly program trains inmates to assist sick and disabled

inmates with activities of daily living, such as bathing, toileting, transfers, feeding, and

personal hygiene.232      This training program was modeled after a Certified Nursing

Assistant (“CNA”) course.233 Training topics include: Abuse and Neglect, Negligence,




227
    JX 4-ccc, D. Vannoy Depo. at 71:18-20.
228
    JX 4-z, D. Barr Depo. at 39:5-9.
229
    JX 6-eee (LSP Directive 13.088) at 00269.
230
    PX 15 at 0002 (Proposal to Open EHCC Building Four).
231
    JX 6-eee (LSP Directive 13.088 – Offender Assistance Dorm) at 00269-70; JX 6-vv (LSP Directive
13.076 – Use of Offenders in Health Care) at 0236-37.
232
    Rec. Doc. No. 553, Testimony of Falgout at 192:8-193:18; 205:11-19; see also JX 4-ii at 10:9-22.
233
    Id. at 193:4-8.
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Activities of Daily Living, Patient Safety, Ambulation, Bathing the Patient, and Feeding a

Patient.234

160.    The orderly program is severely understaffed. Aaron Brent, a former health care

orderly in Ash 2, testified that he and three other orderlies were responsible for 43 patients

requiring assistance, including 29 or 30 in wheelchairs, and others who used walkers.235

Brent and the other orderlies were responsible for distributing meals; changing bed linens;

counseling patients regarding their medication; providing emotional support to patients;

delivering patients to religious services, scheduled medical appointments, and

unscheduled emergency visits to the ATU; and actually attending appointments with

patients.236 Disabled inmates suffer neglect because orderlies are shorthanded.237

Evidence demonstrated inmates filed ARPs complaining about being unable to access

LSP facilities without orderlies assisting by pushing their wheelchairs, to no avail.238

161.    Trial evidence and testimony also revealed that orderlies are often “overwhelmed”

and spread too thin to provide proper assistance to disabled inmates. Trial evidence

showed that orderlies would sometimes leave inmates sitting in their own feces and




234
    JX 15 at 5, 10, 104, 107, 158, 164, 182.
235
    JX 4-c, A. Brent Depo. at 75:18-76:23. Danny Prince, another former Ash 2 health care orderly, also
testified at trial that the dorm housed 43 patients and 43 non-patients. Rec. Doc. No. 547, Testimony of
Danny Prince, at 95:11-12. He explained that two orderlies would cover the night shift, and during the day
there could be anywhere from three to five orderlies, depending on whether the positions were fully staffed
at the time. Id. at 96:19-24.
236
    JX 4-c, A. Brent Depo. at 34:7-19; 35:16-36:10; 42:2-14; 68:7-70:8; 75:17-76:4; 76:24-77:15. See also
Rec. Doc. No. 547, Testimony of Danny Prince, at 116:3-13 (explaining that as an Ash 2 health care orderly,
he would transport patients in wheelchairs to medical callouts and other areas of the prison, help patients
in and out of their wheelchairs from the bed or shower, and clean up after patients who urinate or defecate
in bed or on themselves, among other tasks).
237
    Prince testified that that accompanying patients to their appointments often would require the full
attention of two orderlies, leaving just one orderly in the dorm to look after the remaining patients. Rec.
Doc. No. 547 at 98:6-19.
238
    PX 231 at 1936-1940 (ARP of L.L.); id. at 1995-1996 (ARP of T.P.); Rec. Doc. No. 547 at 102:14-17.
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urine;239 it was common for orderlies to be called to respond to another emergency before

properly completing assistance in changing disabled inmates, resulting in disposing of

dirty diapers or pads on the floor of Ward I.240 Disabled inmates observed orderlies

cursing at patients, becoming aggressive, and in some instances, nearly dropping

patients they were assisting.241 Disabled inmates often had to transfer themselves from

their beds to wheelchairs because the orderlies were assisting others and unavailable;

disabled inmates often relied on other, untrained inmates for assistance.242

162. Trial evidence also established that disabled inmates are often subjected to neglect

and abuse by some orderlies. Prince testified that he had observed verbal and physical

altercations between orderlies and patients.243 Brauner testified that he and others in

Ward II regularly heard an elderly inmate attempt to defend himself from an orderly who

molested him in the shower,244 and Brauner personally witnessed the same orderly

fondling the inmate in his bed.245 Brauner also testified that he witnessed an orderly pour

a bucket of bleach on a mentally impaired inmate who had defecated on himself.246

163.    Some orderlies tasked with assisting sick and disabled inmates appear unwilling

to perform their duties. Subclass member Benny Prine testified that most of the orderlies

demand a bribe to assist him in pushing him from his dorm to other locations.247



239
    See Rec. Doc. No. 544, Testimony of Farrell Sampier, at 46:9-12.
240
    Id. at 46:12-16.
241
    Id. at 65:5-8.
242
    See Rec. Doc. No. 546, Testimony of Francis Brauner, at 101:6-25; Rec. Doc. No. 544, Testimony of
Farrell Sampier at 65:21-66:2 (explaining that he and other patients on the ward would assist each other
with feeding, covering up, and other tasks when the orderlies were not available).
243
    Rec. Doc. No. 547 at 97:15-23.
244
    Rec. Doc. No. 546 at 99:17-25.
245
    Id. at 100:1-8.
246
    Id. at 100:9-21.
247
    JX 4-q, B. Prine Depo. at 71:25-72:5, 74:10-14.
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Deceased Named Plaintiff Shannon Hurd testified via video deposition that many

orderlies on Ward II did not fulfill their responsibilities and were in the program only for

the air conditioning available on the ward.248 Brent testified that he had to report orderlies

who did not perform their jobs and needed to be removed from the program.249 Prince,

testified at trial that, while some orderlies go above and beyond their assigned duties,

others seem to be looking for an easy job and are unwilling to assist patients.250

164.    Trial testimony and evidence established that Tracy Falgout, who runs the health

care orderly training program and testified on behalf of the DOC regarding the training

and qualifications of orderlies, is aware of the deficiencies within this program. He

acknowledged that orderlies may have “different angles” when joining the program and

may try to “strong-arm” vulnerable patients;251 there is a prison culture of “not being a rat,”

and there may be consequences for inmates or orderlies who report misconduct.252

Warden Falgout advises patients and orderlies to “figure out a way to get it to somebody

who can take care of it,” but he admitted that “sometimes it just is going to be what it is,”

if “somebody out there is not doing what they are supposed to be doing.”253 Although

Warden Falgout did not know the percentage of orderlies who are removed from the

position for infractions,254 he acknowledged that he is “continually training” new orderlies




248
    JX 4-u, S. Hurd Depo. at 60:25-61:4. Brauner also testified that some orderlies take the job for the
access to air conditioning and are unwilling to assist patients. Rec. Doc. No. 546 at 99:11-16.
249
    JX 4-c, A. Brent Depo. at 46:5-22.
250
    Rec. Doc. No. 547 at 97:3-14.
251
    JX 4-ii, T. Falgout Depo. at 27:25-28:7; see also Rec. Doc. No. 554, Testimony of Tracy Falgout, at 41:8-
14.
252
    Id. at 28:12-15; Rec. Doc. No. 554 at 42:18-43:4.
253
    Id. at 28:17-25; Rec. Doc. No. 554 at 43:5-7.
254
    Rec. Doc. No. 554 at 43:8-19 (explaining that he only becomes aware that orderlies have left the program
when security gives him a new list of candidates to train).
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because “we do have that percentage of guys who don’t play by the rules.”255 Warden

Falgout knew that at least one orderly has been accused by a patient of sexual assault

but admitted there could be other allegations of which he is unaware as such complaints

generally go to security.256

165.    Trial evidence clearly demonstrated that the architectural barriers at LSP puts

disabled inmates at risk of injury, notwithstanding health care orderly assistance.

Evidence demonstrated falls from wheelchairs caused by gaps and/or other problems in

walkways and ramps occur often, as do slips and falls in the showers and bathrooms of

dorms.257

166.    The Court finds that LSP uses inmate orderlies to attempt to accommodate or work

around the access barriers, but the orderly program creates an unnecessary risk of harm

to disabled and vulnerable inmates.

                        c.      Segregation without Justification

167.    Trial evidence also demonstrated that LSP unjustifiably segregates its disabled

population as it relates to housing.          Inmates with long-term physical disabilities are

typically housed in the medical dormitories or on Ward II.258 As set forth above, this

excludes inmates on nursing wards from participating in a host of activities and programs

at LSP.



255
    JX 4-ii, T. Falgout Depo. at 34:2-4.
256
    Id. at 41:4-14; 33:12-18; 34:16-24; 42:1-13.
257
    JX 4-q, B. Prine Depo. at 64:12-65:2; PX 231 at 2263-65 (ARP of J.W.); JX 4–c, A. Brent Depo. at 78:4-
80:21; Rec. Doc. No. 547, Testimony of Danny Prince, at 104:10-19; PX 231 at 2358-64, 2437-39 (ARP of
J.W.); PX 231 at 1794-1809 (ARP of C.H.); PX 231 at 1609-13 (ARP of S.G.); PX 231 at 1846-55 (ARP of
E.J.); PX 231 at 1887 (ARP of T.K.).
258
    JX 7-b (LSP Directive 07.004) at 00002; JX 6-eee (LSP Directive 13.088) at 0269-70; see also JX 4-z,
D. Barr Depo. at 49:10-18 (deaf inmates housed in medical dorms); JX 4-ii, T. Falgout Depo. at 119:3-7
(blind inmates housed in medical dorms).
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168.    Disabled or impaired inmates housed in the medical dorms do not receive many

of the services that are used to justify this segregation. Defendants claim placing disabled

inmates in the medical dorms is justified because these dorms are handicap accessible

and allow for assistance with personal care, meals, and medication administration. Also,

the medical dorms are close in proximity to LSP’s treatment center.259 Despite these

claims, the trial evidence demonstrated that inmates are still transported to the ATU for

services,260 and neither doctors nor nurses make rounds in the medical dorms.261 That

inmate orderlies are available to assist in the medical dorms is a justification that is not

substantiated based on the Court’s findings regarding the inmate orderly program.262

                3.      Methods of Administration

169.    LSP has systemically failed to provide access and accommodations to disabled

inmates by failing to follow both Title II’s implementing regulations and its own policies

and procedures relating to ADA compliance.

                        a.       ADA Coordinator

170.    LSP had a designated ADA Coordinator during the relevant time periods; however,

evidence established that these Coordinators all lacked sufficient education, training, and

qualifications to carry out the obligations with which the ADA Coordinator is charged.

Defendants concede that ““[t]here are no specific qualifications of LSP’s ADA Coordinator



259
    JX 6-eee at 00269.
260
    JX 4-c, A. Brent Depo. at 75:14-76:4; see also Rec. Doc. No. 551, Testimony of Randy Lavespere at
205:17- 20, 208:17-21.
261
    JX 4-c at 73:25-76:4. See also Rec. Doc. No. 547, Testimony of Danny Prince at 98:20-24 (explaining
that no doctors or nurses come to Ash 2 dormitory “unless there’s like a tour or something coming through”).
EMTs only visit the dormitories to conduct regular sick call. JX 4-c, A. Brent Depo. at 74:8-12.
262
    The Court does not conclude that no justifiable reasons could exist for segregation; however, based on
the evidence at trial, the Court finds that the offered justifications are unsubstantiated. The Court is
confident that the segregation issues will be addressed during the remedial phase.
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or interim ADA coordinator,”263 and the ADA Coordinator “do[es] not receive any formal

ADA training upon taking office or on a regular basis.”264

171.     As ADA Coordinator from 2015-2016, Deputy Warden Peabody identified only a

basic four-hour training course he received;265 he did not attend trainings regarding

disability law and acknowledged that he was not “kept in some sort of loop” on updates

in disability law.266 Peabody showed a general lack of familiarity with assessment forms

he was responsible for evaluating and approving, and often concluded that inmates’

disabilities were purely medical conditions not in need of accommodations.267 The Court

finds that Warden Peabody had an overall lack of knowledge and understanding of the

ADA and its requirements, particularly regarding accommodations.

172.    Warden Barr, who followed Peabody as ADA Coordinator, was likewise

insufficiently trained for this position. Barr received no ADA training other than the

standard annual hour that all staff receives;268 received no training manual;269 testified

that “[t]he Warden came to me and told me that he appointed me to that position and

pretty much that was it”;270 and, when he took on this role, his workload was unaffected

as he viewed this position as simply an “extra assignment.”271 The Court finds that



263
     PX 403 at 0004. However, LSP Directive 01.016 states: ”The ADA coordinator shall possess the
educational background, experience and skills necessary to carry out all of the duties and responsibilities
of the position, and have knowledge and experience in dealing with the legal rights of persons with
disabilities and the obligations of public entities under Federal and State disability laws.” JX 7-a at 1.
264
    Rec. Doc. No. 242-2 at ¶ 16.
265
    JX 4-ww, R. Peabody Depo. at 12:23-13:11.
266
    Id. at 13:16-23.
267
    JX 4-vv, R. Peabody Depo. at 19:25-20:12; 21:4-7; 22:6-24.
268
    JX 4-z, D. Barr Depo. at 10:23-11:2, 16:13-17:3.
269
    Id. at 11:7-9.
270
    Id. at 11:15-17.
271
    Id. at 12:20-23. Barr was unaware of basic information such as the availability of materials in Braille,
including books and the RFA form. Id. at 43:14-24. He could not say how a blind inmate would file an ARP,
Id. at 45:19-23, and was unsure whether deaf inmates were permitted to work. Id. at 49:5-9.
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Warden Barr was likewise ill-informed and ill-equipped on matters of ADA compliance.

173.    Current ADA Coordinator Asst. Warden Falgout took on this role in September

2016. At his October 2016 deposition, Falgout testified that he received no training or

manual when he took office and did not discuss the role with Warden Barr.272 He was

unfamiliar with the ADA Amendments Act and the Rehabilitation Act;273 as well as the

individualized response plans he was required to create for disabled patients pursuant to

LSP Directive 01.016;274 and the need for an ADA transition plan as defined in 28 C.F.R.

§ 35.150(d).275

174.    The Court finds that Asst. Warden Falgout is juggling far too many competing

responsibilities to adequately fulfill his obligations as ADA Coordinator for the LSP.276

The Court also finds that LSP failed to provide adequate training and resources to any of

its ADA Coordinators, and none of the ADA Coordinators during the relevant time period

possessed the knowledge or experience necessary to oversee and ensure ADA

compliance.




272
    JX 4-jj, T. Falgout Depo. at 8:2-19.
273
    Id. at 11:15-12:3.
274
    Id. at 58:12-14.
275
    Id. at 37:1-16; 28 C.F.R. § 35.150(d).
276
    Rec. Doc. No. 554, Testimony of Tracy Falgout at 12:10-14:1, 32:15-36:16. During the relevant time
period, Falgout was responsible for: supervising a mental health nurse; overseeing LSP’s Quality
Improvement program, which involved formulating studies, collecting data for as many as six studies at a
time, preparing reports, and leading quarterly meetings; preparing and maintaining files to demonstrate
compliance with the ACA’s medical standards, both for annual internal audits and the triennial ACA audit;
making level of care determinations for individuals being transferred from LSP to other facilities, which
required thousands of record reviews every year; providing nursing staff training and continuing education;
running the health care orderly and hospice volunteer training programs; leading re-entry classes;
performing patient histories and assessments as part the intake process for transfers to LSP, at times on a
weekly basis; teaching basic and advanced life support classes; processing and evaluating accommodation
requests, and conducting as many as 50 or more hearing tests per month in connection with many of those
requests.
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                        b.      ADA Advisory Committee

175.    Although not required by ADA regulations, LSP Directive 01.016 requires LSP to

maintain an ADA Advisory Committee consisting of the ADA Coordinator, the Deputy

Warden for Operations, a staff attorney, the Safety Director, and the Health Information

Management Supervisor.277 The purpose of this committee is to review ADA compliance

on a monthly basis and recommend corrective action to the warden where appropriate.278

Despite this Directive, neither LSP’s ADA Coordinator279 nor its past or present

wardens,280 were aware of the existence of such a committee, and Defendants have

admitted that “[n]o such committee existed during the pendency of this lawsuit.”281

                        c.      Inadequate Training

176.    LSP staff are inadequately trained to assist with disabled inmates. Falgout testified

that both security and medical staff receive an hour of training, annually, on “special needs

offenders,”282 which is based upon the same 13-page handout that includes three pages

of instructions relating to illegal drug use.283 The handout places far more emphasis on

handling security concerns than evaluating and assisting with the accommodations and

care necessary for disabled inmates.

177.    Several LSP representatives confirmed this lack of ADA training. At his August

2016 deposition, Falgout testified that he was unaware of any formal ADA training for

staff, stating simply: “[a]ll staff have the ability to review the policy.”284 Assistant Facilities


277
    JX 7-a (LSP Directive 1.016) at 4.
278
    Id.
279
    JX 4-ii, T. Falgout Depo. at 93:23-25; JX 4-jj, T. Falgout Depo. at 36:1-9.
280
    JX 4-ccc, D. Vannoy Depo. at 72:17-20; JX 4-bb, B. Cain Depo. at 48:24-49:1.
281
    Rec. Doc. No. 242-2 at ¶ 18; see also PX 403 at 0003.
282
    Rec. Doc. No. 554, Testimony of Tracy Falgout at 6:13-7:1; 8:18-24.
283
    See DX 103 at 03275-77.
284
    JX 4-ii, T. Falgout Depo. at 93:16-22.
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Maintenance Manager Odis Ratcliff, who testified as the DOC’s 30(b)(6) witness

regarding the accessibility of LSP’s facilities, admitted that no one in his department

receives training on the ADA’s architectural accessibility requirements.285 The DOC’s

orientation training materials focus almost entirely on hearing-impaired inmates.286

                        d.      Failure to Inform Disabled Inmates of ADA Rights/Procedures

178.    Plaintiffs failed to carry their burden of demonstrating that LSP systemically fails to

inform patients of their ADA rights and procedures. Falgout testified at trial that, in

accordance with LSP policy,287 every new inmate is asked at intake if he has a physical

limitation or need for accommodation:288

        We ask the questions on everyone coming in, do you have any physical
        limitations, do you have any issues as far as being able to ambulate. Some
        of it is quite evident. If they come in with a wheelchair or a cane or walker,
        we know that. We’ll take that into consideration. We also, like I said, we’ll
        ask them questions if they have any physical limitation.289

If the inmate is cognitively impaired or cannot read or write, the procedures are explained

verbally.290 Falgout testified:

        If in the process of doing medical intake, there appears to be that there is
        some type of cognitive deficit as far as this offender’s ability to understand,
        we will take our time and slow things down, read it for them. If there’s still
        that issue, we bring mental health in on that … to help him as much as
        possible comprehend what’s going on with the intake process and make
        sure he gets the information.291




285
    JX 4-aaa, O. Ratcliff Depo. at 9:4-11.
286
    JX 12-f.
287
    See JX 7-a (LSP Directive 1.016).
288
    JX 4-jj at 19:2-17; see also JX 4-ii at 94:20-95:20.
289
    Rec. Doc. No. 553, Testimony of Falgout, 163:19-25.
290
    JX 4-ii at 98:20-99:3.
291
    Rec. Doc. No. 553, Testimony of Falgout, at 169:11-21.
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179.    During intake, an inmate is provided a Request for Accommodation form and

advised that he may request an accommodation at that time or later, if necessary.292

Class member Otto Barrera testified at trial that he received this form at intake, although

he also testified he did not understand it.293

180.    While Request for Accommodation forms are available in all housing areas,

Falgout testified that the form itself “is not a necessity for access.”294 Rather, an inmate

can request an accommodation verbally, through a sick call form, or even “on a blank

piece of paper.”295 “Any means of communication” satisfies the initiation of a request for

accommodation, and a request may even be made by suggestion of a correctional officer

on behalf of an inmate.296 This process was explained in detail by the documentary

evidence submitted.297          Inmates whose accommodations requests are denied are

allowed to appeal through the ARP process.298

                        e.      Failure to Properly Handle Accommodation Requests

181.    Although the request for accommodation process is explained in the above

manner, Plaintiffs presented evidence that LSP does not comply with the steps set forth

in this process; rather, nearly all accommodations requests are initiated through the ARP

process.299 Defendants’ training materials instruct LSP staff to direct inmates to the ARP

process to request an accommodation.300 Former ADA Coordinator Peabody



292
    JX 4-jj at 20:5-15; JX 12-a at 00001.
293
    Rec. Doc. No. 547, Testimony of Otto Barrera, at 49:17-50:22; JX 10-d-1 at 03748.
294
    Rec. Doc. No. 553, Testimony of Falgout at 174:18-175:1; JX 4-jj at 19:18-20:23.
295
    JX 4-jj at 19:18-20:23.
296
    Id. at 29:5-18; see also, Rec. Doc. No. 553 at 175:2-12.
297
    JX 12-a; JX 7-a (LSP Directive 1.016).
298
    JX 7-a at 8; JX 4-jj at 24:8-13, 28:1-8.
299
    JX 5-d at 0321-22.
300
    JX 12-f at 00313.
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acknowledged that “a lot” of requests for accommodations are filed as ARPs.301 Despite

the prison policy and procedure requiring a specific routing process for accommodation-

request ARPs,302 Warden Peabody testified that, during his time as ADA Coordinator, an

ARP involving a request for accommodation would be “treated just like every other

administrative remedy procedure,”303 and he never saw an ARP routed to his office.304

He admitted that ARPs or other complaints would not come to him unless they included

“magic words” such as disability or ADA, even if they might be legitimate accommodation

requests.305 Indeed, he admitted that there was “no excuse for it, other than we were not

coordinating the two efforts together.”306 When testifying as the DOC’s 30(b)(6) witness

on ADA implementation, Warden Falgout similarly testified that he was unaware how

ARPs were routed to his office, who was responsible for routing them, or whether that

person had any familiarity with the ADA.307

182.    Trial evidence demonstrated that ADA Coordinators and medical staff routinely fail

to recognize when medical issues trigger the ADA. Warden Peabody admitted that “we’re

so used to inmates making medical requests for duty status based upon a medical

condition that I don’t necessarily see it as an ADA issue.”308 Warden Peabody did not

think requests for restricted duty statuses should come to him, even though they “could

be” considered requests for accommodations.309 He stated that “[t]his is a confusing issue



301
    JX 4-vv, R. Peabody Depo. at 12:21-24.
302
    JX 12-f at 00313; JX 5-d at 00321-22.
303
    JX 4-ww, R. Peabody Depo. at 62:5-15.
304
    Id. at 63:2-4.
305
    Id. at 75:23-77:1.
306
    Id. at 62:20-24.
307
    JX 4-jj, T. Falgout Depo. at 60:7-16.
308
    JX 4-vv, R. Peabody Depo. at 22:21-24.
309
    JX 4-ww, R. Peabody Depo. at 55:3-12.
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for me and for staff as determining when something is an ADA request and when it isn’t.

Generally speaking, it gets treated as an ADA request when the inmate puts in something

about ADA in the request and basically says he wants an accommodation.”310

183.    Even when a screening officer recognizes an ADA issue and routes such a request

to the ADA Coordinator, the LSP procedure is not utilized in addressing such a request.311

Although DOC policies provide that “[s]taff who are aware of or have reason to believe

that an offender has a disability for which he may need accommodation are required to

advise the unit ADA Coordinator, who will evaluate the circumstances to determine if

auxiliary aids and services and reasonable accommodations are required,”312 Warden

Peabody testified that, in over ten years of serving as ADA Coordinator, he was never

contacted by a LSP staff member, rather than an inmate, indicating that an inmate had a

disability and required assistance.313

184.    Although DOC policy requires that an inmate’s disability be documented in his

medical record,314 and the ADA Coordinator is responsible for developing an

individualized response plan which must be included in the medical record,315 Plaintiffs’

medical experts did not find “clear documentation of disability accommodations” in a

single chart they reviewed, or “evaluations or assessments of needs in that respect,”316


310
    Id. at 58:11-17.
311
    JX 4-vv, R. Peabody Depo. at 19:25-20:12 (Warden Peabody was not familiar with Form B-08-010-A);
See, e.g., PX 231 (ARP of M.B.) at 2563-72 (denying request to use TTY phone and to have his duty status
reinstated); PX 231 (ARP of J.T.) at 2200-11 (rejecting complaint that patient was denied access to TU’s
“handicap accessible shower” with one-sentence response); PX 231 (ARPs of B.A.) at 2604-40 (denying
request for access to TTY phone and television with closed captioning); id. at 1832-45 (ARP of T.J.)(patient
waited approximately 8 months to receive a first step response to his ARP.).
312
    JX 5-d at 00320.
313
    JX 4-ww, R. Peabody Depo. at 39:5-40:16.
314
    JX 12-f at 00312-13.
315
    JX 7-a at 3-4.
316
    PX 6 at 0059 n.74.
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and Warden Falgout testified that he was not familiar with the concept of an individualized

response plan.317

                          f.     Lack of Tracking System

185.    The DOC requires LSP’s ADA Coordinator to maintain a tracking system for all

accommodation requests318 and to record such information in a database using Form B-

08-010-B.319 However, in practice, there appears to be no such tracking system, and the

database is severely inadequate to effectively track disabled inmates’ ADA needs.320

After becoming ADA Coordinator, Warden Falgout did not recognize the first part of the

list;321 and he described the second part as “an alphabetized master list of everybody who

has requested ADA for one reason or another.”322 He admitted this list does not provide

a full picture of each individual’s disability and was not really a tracking database for

individuals,323 and he acknowledged one would have no way of knowing whether an

individual’s needs were being met by looking at the list.324 Further, staff at DOC

headquarters appeared to be either unaware of the database’s existence or unable to

utilize it to determine the number of patients with various disabilities and accommodations

at a given facility.325




317
    JX 4-jj, T. Falgout Depo. at 58:12-14.
318
    JX 7-a at 3.
319
    JX 5-d at 00324, 00329.
320
    JX 12-b.
321
    JX 4-jj, T. Falgout Depo. at 37:17-38:4.
322
    Id. at 40:8-17.
323
    Id. at 41:8-42:6.
324
    Id. at 44:15-23.
325
    PX 306 at 0002 (June 27, 2014 email from S. Falgout to staff at LSP and other facilities, asking if those
facilities “keep up with the number of offenders that are blind, handicapped, in a wheelchair,” and if they
could provide those numbers).
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186.    Trial evidence demonstrated that many requests never get recorded into the

tracking database. In 2014, DOC audits of LSP indicated that the ADA database was “not

being used for offender request[s].”326 During his tenure, Warden Peabody noted that the

database would not include any ARPs.327 Warden Barr admitted that he was not involved

in recording information in the database and did not know who was.328 Likewise, Warden

Falgout acknowledged that an ARP would not be recorded in the database if the

screening officer did not recognize the request as indicating an ADA issue.329

                        g.       Copays

187.    Plaintiffs failed to carry their burden of demonstrating that disabled inmates are

required to pay co-pays for accommodation requests to be addressed. To the extent co-

pays are being charged based on LSP staff misidentifying or failing to recognize that a

medical issue implicates the ADA, this issue can be addressed during the remedy phase

of this matter.

                4.      Failure to Accommodate

        Plaintiffs argue they carried their trial burden of demonstrating that LSP

systemically fails to accommodate disabled inmates in the following ways: (1) providing

assistive devices and auxiliary aids ranging from wheelchairs and wheelchair gloves to

tapping canes and informational materials in Braille; (2) work assignments; (3) dietary

needs (4) when transporting patients; (5) in prison procedures ranging from medication

administration to evacuation plans to the filing of ARPs; and (6) when imposing discipline.


326
    JX 33 at 0001. The March 25, 2014 report indicates that the failure to utilize the ADA database had been
referenced in previous reports, and corrective action was still pending. Id.
327
    JX 4-ww, R. Peabody Depo. at 65:10-66:15.
328
    JX 4-z, D. Barr Depo. at 23:20-24:12.
329
    JX 4-jj, T. Falgout Depo. at 65:8-14.
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                         a.      Assistive Devices/Auxiliary Aids

188.    Plaintiffs failed to establish that LSP systemically fails to provide auxiliary aids and

assistive devices to disabled inmates.330 Further, Plaintiffs’ evidence that LSP does not

provide Braille for blind inmates does not satisfy their burden; rather, Plaintiffs must show

specific instances where blind inmates required Braille and were not accommodated in

this, or another appropriate, manner.

189.    Signs are posted throughout LSP advising that auxiliary aids are available on

request.331 Inmates are provided adaptive devices on a case-by-case basis.332

190.    Inmates suffering with mobility impairment may be provided wheelchairs, walkers,

canes, or specialty footwear according to physicians’ orders.333 LSP offers training in the

use of adaptive devices.334

191.    Hearing-impaired inmates are accommodated through a variety of ways: onsite

hearing tests or referrals to off-site audiologists, where necessary;335 assistive listening

devices, access to closed captioned television, FM radio adapters, and amplified

telephone headsets, and TTY phones;336 batteries for hearing aids if inmates arrived at

LSP with a hearing aid;337 American Sign Language training by a professional sign




330
    Plaintiffs claim that Falgout testified that LSP does not provide hearing aids under any circumstances in
JX 4-jj, T. Falgout Depo. at 108:18-20. However, in this deposition, Falgout testified that an accommodation
could be a hearing aid. Id. at 30:7. Further, LSP is required to accommodate the needs of hearing-impaired
inmates, but LSP may choose the manner in which it accommodates, as long as it is effective.
331
    JX 4-jj, T. Falgout Depo. at 29:19-30:8; JX 12-h.
332
    Id. at 17:11-18:1.
333
    JX 12-b at 00012-13.
334
    JX 4-ii at 122:23-23:7; JX 11-c at 00261.
335
    JX 4-ii at 110:22- 112:6.
336
    Id. at 101:23-102:13, 104:11-14; JX 7-a at 6.
337
    Id. at 108:11-13; JX 7-a at 7.
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language interpreter.338

192.    In the majority of inmates’ experiences specified by Plaintiffs, the Court finds that

the evidence does not demonstrate a failure to accommodate a disability under the ADA;

rather, most incidents involve a disagreement by the inmate with the accommodation

provided and/or the medical treatment dispensed.

193.    Sampier testified that prison officials refused to provide him the specific paraplegic

wheelchair he requested along with specialized gloves to accompany this specific

wheelchair.339 However, Defendants presented evidence establishing that Sampier was

provided a wheelchair and a trapeze bar, and he was able to purchase gloves in the

commissary.340 Sampier may have disagreed with his accommodation, but LSP is not

required to provide an inmate’s specific, preferred accommodation.

194.    Francis Brauner testified that LSP initially refused to provide him a wheelchair, but

ultimately a wheelchair was provided that was hard to maneuver.341                       Brauner also

complained that he was denied his request for gloves because he was told “it wasn’t in

the budget.”342     Again, the evidence reflects that Brauner was dissatisfied with his

accommodation, but he was accommodated.

195.    The incidents regarding Karl Clomberg’s foot and Michael Johnson’s propensity to

pass out occurred outside the relevant time period. Further, the Court finds that the

evidence surrounding these inmates’ experiences demonstrates a disagreement with



338
    Id. at 104:20-105:9; Dr. Daniel Burch was under contract to provide sign language training at LSP for
the period of August 2015 – August 2018. See JX 12-c at 00166-71.
339
    Rec. Doc. No. 544, Testimony of Farrell Sampier at 81:18-82:11; 59:11-60:2.
340
    Id. at 60:4-10, 59:18-20, 81:22-24.
341
    Rec. Doc. No. 546, Testimony of Francis Brauner, at 103:1-104:12.
342
    Id. at 104:13-25.
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medical treatment, not a violation of the ADA.

196.    John Tonubbee, who claims he suffers from bunions, a hammer toe, and knee

pain,343 was provided a pair of Apex shoes rather than the specific shoes he requested.344

Thus, Tonubbee was accommodated, disagreement notwithstanding. Further, the Court

finds that Tonubbee’s complaint constitutes a disagreement with medical treatment rather

than a violation of the ADA.

197.    Plaintiffs failed to demonstrate that Derrick Woodberry’s hemorrhoids constitute a

disability under the ADA.       Further, the evidence demonstrates a disagreement with

medical treatment, not a violation of the ADA.

                       b.      Work Assignments

198.    Plaintiffs failed to demonstrate that LSP systemically fails to accommodate

disabled inmates in work assignments or duty statuses.

199.    At LSP, assignment of duty status begins at intake.345 When an inmate arrives at

LSP, he is not assigned a duty status until he evaluated by a health care provider.346 If

an inmate believes his duty status is being violated, he may utilize the ARP process.347

200.    Adrian Dunn, who suffers from diabetes and asthma, testified that his out-of-field

duty status was revoked after 13 years even though he continues to have asthma attacks

exacerbated by dust.348 Dunn’s medical records were not admitted into evidence in this

matter.



343
    Rec. Doc. No. 546, Testimony of John Tonubbee, at 147:7-149:13.
344
    JX 10-ddd-3 at 56892.
345
    Rec. Doc. No. 553, Testimony of Falgout at 216:10-14.
346
    Id. at 216:14-21; JX 4-ii at 94:1-19.
347
    JX 4-jj at 46:13-17.
348
    JX 4-h, A. Dunn Depo. at 27:5-24, 28:18-29:25.
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201.    The medical records of Karl Clomberg and Michael Johnson are not in evidence in

this matter. Additionally, the complaints of these inmates fall outside the relevant time

period.349

202.    Jason Hacker was denied a restricted duty status and assigned field work despite

a medical determination that he was blind.350 However, Hacker filed a separate lawsuit

against these Defendants on the same complaints, and the Fifth Circuit affirmed a jury

verdict finding that Hacker was not disabled.351

203.    Although Hymel Varnado testified that he was required to lift heavy locker boxes

as part of his orderly duties, despite having a duty status restriction of no heavy lifting,352

Varnado also testified this issue came up in 2010,353 and he has reported no physical

problems with his duty status during the relevant time period.354

204.    Anthony Mandigo, who suffers from sickle cell disease causing ulcers to develop

on his legs and ankles,355 testified at trial that he was assigned to be a tier walker, which

involved walking up and down a prison tier for 10-hour shifts, despite having a duty status

mandating “no prolonged walking.”356            However, Mandigo’s duty status provides for

intermittent rest,357 and he testified that if he complained of pain, “I might get a duty status

of no duty, and go see the clinic every day to get a dressing change.”358 Thus, evidence




349
    See JX 4-j at 10, 24; JX 4-f at 28 for dates of incidents.
350
    JX 4-i, Hacker Depo., at 55:7-58:11.
351
    Hacker v. Cain, 759 Fed. Appx. 212, 216-218 (5th Cir. 2018).
352
    JX 4-s at 21:8-23:23.
353
    Id. at 19:8-20:22.
354
    Id. at 26:19-25, 29:2-5.
355
    Rec. Doc. No. 550, Testimony of Anthony Mandigo at 82:4-24.
356
    Id. at 85:4-19.
357
    See JX 6-oo (LSP Directive 13.063) at 00203.
358
    Rec. Doc. No. 550 at 86:1-2.
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demonstrates that Mandigo’s physical limitations were accommodated in his work

assignment.

205.    Charles Butler testified that he was injured while hanging drywall pursuant to his

Squad A duty status work assignment, and he was required to hang drywall sheets

weighing 20 to 25 pounds, despite a lifting restriction of ten pounds.359                       However,

Defendants presented evidence that a Squad A duty status inmate is restricted to lifting

“objects weighing less than 30 pounds.”360 Thus, evidence demonstrated that Butler’s

duty status restrictions were not violated by this work assignment, as his lifting restriction

was thirty pounds, not ten.

                        c.       Dietary Accommodations

206.    Plaintiffs have failed to carry their burden of demonstrating that LSP systemically

fails to accommodate dietary restrictions for disabled inmates.

207. Plaintiffs offered testimony of four class members who claim their disabilities require

dietary accommodations that have not been met by LSP. Further, it was only established

that one class member, Adrian Dunn, would require a dietary accommodation based on

a disability – diabetes.361 Evidence relating to Clomberg, Brauner, and Barrera362 failed

to connect the purported dietary requirements to a disability as defined by the ADA.




359
    Rec. Doc. No. 547, Testimony of Charles Butler at 63:22-64:23.
360
    JX 6-oo (LSP Directive 13.063) at 00205 (emphasis in original).
361
    JX 4-h, A. Dunn Depo. at 22:13-20.
362
    Trial evidence established that Barrera preferred to receive a regular tray and cut up his own food. JX
10-d-1 at 03971-03972. Further, evidence demonstrated that Barrera was accommodated by receiving
Ensure protein drinks 2-3 times a day, see id. at 03783; 03779; JX 10-d-4 at 04449, and Barrera routinely
ignored doctor’s orders regarding his diet by eating freely and taking food off other inmates’ trays, eating
fried chicken, and purchasing commissary food items inconsistent with his dietary restrictions. See JX 4-
pp at 20:20-23:18; JX 10-d-1 at 03966 – 67; Rec. Doc. No. 547, Testimony of Otto Barrera at 42:23-45:18.
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Further, no evidence was presented that these class members filed ARPs to complain

about their dietary needs.

                        d.       Lack of Handicapped-Accessible Transportation

208.    Benny Prine, who is capable of walking but uses a wheelchair due to issues with

his left knee and right hip,363 testified that on two occasions, he was transported to an

outside medical appointment in a regular van, which caused him pain due to the inability

to keep his bad leg extended.364 However, Prine never requested an accommodation

and did not answer the question whether he had reported his discomfort to anyone at

LSP.365

209.    Hymel Varnado testified that he was transported to the hospital in a regular van,

handcuffed and shackled, while he suffered from a ruptured spleen and internal

bleeding.366 Following surgery, Varnado was transported back to LSP in the back of a

car.367 There is no evidence that Varnado was disabled under the ADA; the evidence

demonstrates that LSP provided poor medical care and transportation to a patient in need

of surgery.

210.    The transport incidents involving Sampier and Barrera occurred outside of the

relevant time period.

211.    Danny Prince, a former health care orderly, testified that, when the handicap van

was not available, an inmate with a call-out appointment would “have their trip cancelled




363
    JX 4-q, B. Prine Depo. at 12:15-17.
364
    Id. at 84:3-85:20.
365
    Id. at 85:21-86:6.
366
    JX 4-s at 31:21-33:1.
367
    Id. at 33:11-34:13.
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or rescheduled.”368        Prince’s testimony demonstrates that LSP was mindful of the

necessity to provide disabled inmates safe transportation. This evidence, while probative

of the failure to provide adequate care under the Eighth Amendment is not probative of

an ADA violation.

212.    Plaintiffs failed to carry their burden of demonstrating a systemic failure to

accommodate disabled inmates in providing safe transportation. Instances described

above fail to indicate a disability under the ADA and/or reference circumstantial scenarios

where improper care was provided or where substandard or unavailable transportation

impeded adequate care.

                        e.       Accommodations in Prison Procedures/Discipline

213.    Plaintiffs presented no evidence of a disabled inmate who was not accommodated

in the prison procedures of pill call, sick call, or head count.369

214.    While the LSP evacuation plan does not explicitly set forth a protocol for the safe

evacuation of disabled inmates, the plan describes how the evacuation should proceed

in all buildings on the property, including those that house disabled inmates.370 To the

extent architectural barriers, such as ramps and ledges, create an unsafe evacuation plan

for disabled inmates, that issue is adequately addressed above regarding physical and

architectural barriers to access.




368
    Rec. Doc. No. 547, Testimony of Danny Prince at 103:4-8.
369
    Plaintiffs offered testimony of Barr and Falgout that they could not identify a specifical accommodation
made during these procedures for deaf or blind patients; however, Plaintiffs failed to demonstrate an actual
failure to accommodate a deaf or blind inmate in these procedures to the Court’s satisfaction.
370
    PX 16.
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215.    All disciplinary decisions are left to the sole discretion of security personnel, without

oversight by medical staff as to the appropriateness of discipline for disabled inmates.371

216. In the case of one disabled inmate, evidence demonstrated that the inmate suffered

from severe mental health issues, including schizophrenia, and total blindness due to

glaucoma; however, this inmate was “gassed” for refusing to shave. The email indicates

that the nurse was “looking into this as security should had (sic) checked with MH first.”372

The Court finds that LSP fails to take disability into account in its disciplinary decisions.

217.    Plaintiffs’ medical experts noted the case of Patient # 24, a quadriplegic with a

tracheostomy tube who was disciplined by being placed in a locked isolation room with

no call system.373 The experts opined that there was “no way to notify the nurses if his

trach tube became clogged and he had trouble breathing. The solid door is locked and

the nurses cannot hear him even if he screams.”374 The Court finds that isolated housing

as a form of discipline fails to accommodate many disabled inmates.

218.    Defendants’ evidence that both security and nurses perform rounds every couple

of hours, and inmates can (only) verbally scream if they require assistance,375 fails to

persuade the Court that such procedures comply with LSP’s ADA obligations.




371
    See JX 4-ii, T. Falgout Depo. at 123:12-19; JX4-jj, T. Falgout Depo. at 14:20-15:14; JX 4-z, D. Barr
Depo. at 40:13-41:24; JX 4-uu, C. Park Depo. at 13:14-21, 14:4-19.
372
    PX 85 at 0002-03.
373
    PX 6 at 0081. The Court overrules Defendants’ hearsay objection to this exhibit which was admitted at
trial.
374
    Id.
375
    See JX 4-ll, K. Hart Depo. at 34:12-35:23, 40:8-41:9.
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               5.      Exclusionary Policies

                       a.      Hobby Craft

219.    Participation in hobby craft376 at LSP is a privilege, not a right,377 and is operated

on a “first come/first serve basis” after submission of a written request to participate.378

Further, LSP maintains a policy of ensuring the safe and secure operation of hobby craft

which includes “the temporary interruption of an inmate utilizing the hobbyshop when

under medical care and/or treatment, requiring a duty status, until such time as the inmate

is returned to regular duty without restrictions.”379 The policy further provides: “No inmate

receiving medical care and/or treatment requiring a restriction in the inmate’s regular

duties will be allowed to utilize the hobbyshops, until such time the inmate is returned to

regular duty without restrictions.”380

220.    LSP Directive 13.063 does, however, provide a caveat to this exclusion: “Offenders

assigned restrictive duty will not be allowed to participate in sports and/or recreational

activities, unless specified by the treating health care provider. Participation in these

activities could worsen or cause a recurrence of an injury or other medical condition. If

medically indicated, the treating provider may also restrict sports activities of an offender

on regular duty.”381

221.    Nurse Cynthia Park, APRN, testified that she “look[s] at the entire picture of the

patient” when making her recommendations for duty statuses to Dr. Lavespere.382 She


376
    The terms “hobby craft” and “hobby shop” are used interchangeably.
377
    JX 4-ii, T. Falgout Depo. at 107:23-108:1.
378
    JX 7-d at 00015.
379
    PX 7-c (LSP Directive 9.036) at 00004 (emphasis in original).
380
    Id. at 00005.
381
    JX 6-oo (LSP Directive 13.063) at 00204.
382
    JX 4-uu, C. Park Depo. at 30:8-9.
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acknowledged that she will sometimes recommend that a hobby craft restriction be

waived for an inmate “based on [the] patient’s situation.”383

222.    Dr. Lavespere makes the final decision regarding an inmate’s duty status.384 In

evaluating an inmate’s medical condition for purposes of assigning duty status, Dr.

Lavespere testified that: “I try to be as objective as I can without a punitive bone in my

body, and try to be fair with every one of them.”385 Dr. Lavespere emphasized that he

considers the safety of the inmate in applying duty status restrictions.386

223.    Subclass member Brauner testified that he requested to participate in hobby craft

but was denied and “told that anyone that has a duty status is not allowed to participate

in hobby craft.”387 Brauner testified that no other reason was given for this denial.388

However, on cross-examination, Brauner admitted that he never asked a doctor to adjust

his duty status and never filed an ARP.389

224.    Another Subclass member (C.F.) filed an ARP to challenge his exclusion from the

hobby shop based on his restricted duty status because he had a work assignment that

required him to sweep, mop, scrub, and walk during the day.390 Plaintiffs suggest that,

upon initial review and appeal, C.F. was summarily denied access to hobby craft based

solely on citation to LSP Directive #09.036.391




383
    Id. at 32:12-21.
384
    Id. at 31:19-32:3.
385
    JX 4-qq, Lavespere Depo. at 15:12-14.
386
    Id. at 15:12-18:25.
387
    Rec. Doc. No. 546 at 107:15-20.
388
    Id. at 107:21-22.
389
    Id. at 126:10-128:12.
390
    PX 231 at 1462. It should be noted that this incident occurred well before the designated relevant time
period in this case.
391
    Id. at 1464, 1513-14.
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225.       C.F.’s medical records, reviewed in consideration of his hobby craft ARP,

demonstrate that he suffers from “L5-S1 degenerative disc disease. Moderately large

right lateral recess at L5-S1 disc herniation with right S1 nerve root compression.”392 In

his initial ARP denial, the First Step Response states:393




C.F.’s medical records and First Step Response does not demonstrate a blanket denial

citing only to the general LSP Directive; it includes a medical evaluation of his medical

conditions which resulted in the denial. That C.F. disagreed with the result does not

establish that it was discriminatory.

226.       While the evidence presented demonstrates that medical staff are making

individualized assessments to determine eligibility to apply for hobby craft, it also

demonstrates that a blanket exclusion exists, and an inmate must challenge their

classification via ARP to obtain relief. However, the Court finds that the hobby craft


392
      Id. at 1506.
393
      Id. at 1512 (interlineation in original).
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privilege is not the same kind of program/activity/service as the others complained of

because all inmates, disabled or not, must apply for hobby craft and are screened prior

to allowing participation. Further, evidence demonstrates that when a disabled inmate

requests to be permitted to participate in hobby craft, LSP providers give thoughtful

consideration to the inmate’s medical conditions and/or impairments in determining the

safety of participation in hobby craft.394

                         b.      Duty Status/Work Release Program

227.    All blind inmates at LSP are placed on “no duty” status.395

228.    Inmates on “no duty” are not permitted to work and are unable to earn incentive

wages,396 but they receive no discounts for phone calls or at the canteen.397

229.    Inmates with duty status restrictions are excluded from participation in LSP’s work

release program, which allows inmates with less than two years left on their sentences to

work outside the prison as part of their integration back into the community.398

230.    Dr. Singh issued a blanket prohibition on approving HIV-positive individuals for

work release.399

231.    Dr. Lavespere’s opinion that the most desirable work assignment at LSP is “no

duty status”400 is irrelevant to this issue and does not justify blanket denials and




394
    While LSP’s requirement that a disabled inmate file an ARP to apply for hobby craft is not the best policy
or practice, the Court does not find that it is a violation of the ADA because all inmates at LSP must apply,
are subject to screening, and must gain approval before participation is allowed.
395
    JX 4-z, D. Barr Depo. at 44:6-10; JX 4-ww, R. Peabody Depo. at 53:22-54:7.
396
    JX 4-z, D. Barr Depo. at 44:11-13.
397
    Id. at 47:3-6.
398
    JX 4-jj, T. Falgout Depo. at 59:11-25.
399
    PX 99 (June 8, 2010 email from Sonya Bufalo to Amanda Amman).
400
    JX 4-qq at 20.
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prohibitions of access to programs that are not based on individualized medical

determinations.

232.    Defendants did not refute the evidence presented by Plaintiffs on this issue

wherein present and past ADA Coordinators acknowledged blanket denials of access

regarding these programs.

III.    CONCLUSIONS OF LAW

        A. Eighth Amendment Standard

        As expressed by the Supreme Court in Brown v. Plata,

        As a consequence of their own actions, prisoners may be deprived of rights
        that are fundamental to liberty. Yet the law and the Constitution demand
        recognition of certain other rights. Prisoners retain the essence of human
        dignity inherent in all persons. Respect for that dignity animates the Eighth
        Amendment prohibition against cruel and unusual punishment. “‘The basic
        concept underlying the Eighth Amendment is nothing less than the dignity
        of man.’”401

Prisoners are dependent on the State for necessary medical care, and

        A prison's failure to provide sustenance for inmates “may actually
        produce physical ‘torture or a lingering death.’”402 Just as a prisoner
        may starve if not fed, he or she may suffer or die if not provided
        adequate medical care. A prison that deprives prisoners of basic
        sustenance, including adequate medical care, is incompatible with
        the concept of human dignity and has no place in civilized society.403

        If a State cannot meet this obligation, “the courts have a responsibility to remedy

the resulting Eighth Amendment violation.”404 While “[c]ourts must be sensitive to the



401
    563 U.S. 493, 510 (2011)(quoting Atkins v. Virginia, 536 U.S. 304, 311, 122 S.Ct. 2242, 153 L.Ed.2d
335 (2002) (quoting Trop v. Dulles, 356 U.S. 86, 100, 78 S.Ct. 590, 2 L.Ed.2d 630 (1958) (plurality
opinion))).
402
    Id. (quoting Estelle v. Gamble, 429 U.S. 97, 103, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976) (quoting In re
Kemmler, 136 U.S. 436, 447, 10 S.Ct. 930, 34 L.Ed. 519 (1890)); see generally A. Elsner, Gates of Injustice:
The Crisis in America's Prisons (2004)).
403
    Id. at 510-511.
404
    Id. at 511 (citing Hutto v. Finney, 437 U.S. 678, 687 n. 9, 98 S.Ct. 2565, 57 L.Ed.2d 522 (1978)).
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State's interest in punishment, deterrence, and rehabilitation, as well as the need for

deference to experienced and expert prison administrators faced with the difficult and

dangerous task of housing large numbers of convicted criminals,”405 courts must

“nevertheless … not shrink from their obligation to ‘enforce the constitutional rights of all

“persons,” including prisoners.’”406         Indeed, “[c]ourts may not allow constitutional

violations to continue simply because a remedy would involve intrusion into the realm of

prison administration.”407

        Deliberate indifference to “serious medical needs of prisoners constitutes the

‘unnecessary and wanton infliction of pain’ proscribed by the Eighth Amendment.”408 This

inquiry consists of both an objective and a subjective test. The objective test requires

showing that the prisoner has “serious medical needs,”409 and “either has already been

harmed or been ‘incarcerated under conditions posing a substantial risk of serious

harm.’”410 To prove an Eighth Amendment violation, Plaintiffs must prove that prison

officials “1) show[ed] a subjective deliberate indifference to 2) conditions posing a

substantial risk of serious harm to the inmate.”411 An official is not liable for deliberate

indifference “unless the official knows of and disregards an excessive risk to inmate health

or safety; the official must both be aware of facts from which the inference could be drawn

that a substantial risk of serious harm exists, and he must also draw the inference.”412 To


405
    Id. (citing Bell v. Wolfish, 441 U.S. 520, 547–548, 99 S.Ct. 1861, 60 L.Ed.2d 447 (1979)).
406
    Id. (quoting Cruz v. Beto, 405 U.S. 319, 321, 92 S.Ct. 1079, 31 L.Ed.2d 263 (1972) (per curiam)).
407
    Id.
408
    Estelle v. Gamble, 429 U.S. 97, 104 (1976) (quoting Gregg v. Georgia, 428 U.S. 153, 173 (1976)); see
also Jackson v. Cain, 864 F.2d 1235, 1244 (5th Cir. 1989).
409
    Estelle, 429 U.S. at 104.
410
    Braggs v. Dunn, 257 F. Supp.3d 1171, 1189 (M.D. Ala. 2017) (quoting Farmer v. Brennan, 511 U.S.
825, 834 (1994)).
411
    Gates v. Cook, 376 F.3d 323, 333 (5th Cir. 2004) (citing Farmer v. Brennan, 511 U.S. at 833-34).
412
    Farmer v. Brennan, 511 U.S. 825, 837, 114 S. Ct. 1970, 1979 (1994).
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meet his burden, “the plaintiff must show that the officials ‘refused to treat him, ignored

his complaints, intentionally treated him incorrectly, or engaged in any similar conduct

that would clearly evince a wanton disregard for any serious medical needs.”413

        Whether or not officials knew of the risk is considered the subjective component of

the deliberate indifference standard,414 which requires a state of mind amounting to

recklessness as used in criminal law.415 The subjective test requires a showing that prison

officials had requisite knowledge of the risk of harm and either (1) disregarded it or (2)

failed to act reasonably to abate it.416 Willful blindness to the risk posed to inmates is not

a valid defense to a deliberate indifference claim.417

        Systemic deficiencies in a prison’s health-care system can provide the basis for a

finding of deliberate indifference at an institutional level.418 The cumulative effect of

different deficiencies can demonstrate the subjective component of deliberate

indifference, as the Supreme Court acknowledged in Wilson v. Seiter.419 In class actions

challenging systemic health care deficiencies, deliberate indifference to inmates’ health


413
    Domino v. Tex. Dep’t of Criminal Justice, 239 F.3d 752, 756 (5th Cir. 2001) (quoting Johnson v. Treen,
759 F.2d 1236, 1238 (5th Cir. 1985)).
414
    Farmer, 511 U.S. at 848.
415
    Williams v. Hampton, 797 F.3d 276, 281 (5th Cir. 2015) (en banc) (citing Farmer, 511 U.S. at 839–40);
see also Hacker v. Cain, No. 3:14-00063-JWD-EWD, 2016 WL 3167176, at *10 (M.D. La. June 6, 2016)
(“An intent to harm or animus towards a particular inmate is not itself required so long as such reckless
disregard for his or her medical needs can be shown.”); Hall v. Johnson, No. 12-00099-BAJ-RLB, 2013 WL
870230, at *3 (M.D. La. Mar. 6, 2013).
416
    Farmer, 511 U.S. at 844-45; see also Braggs v. Dunn, 257 F. Supp. 3d 1171, 1250 (MD. Ala. 2017)(“To
establish deliberate indifference, plaintiffs must show that defendants had subjective knowledge of the harm
or risk of harm, and disregarded it or failed to act reasonably to alleviate it.”).
417
    See Farmer, 511 U.S. at 843 n.8 (a prison official “would not escape liability if the evidence showed that
he merely refused to verify underlying facts that he strongly suspected to be true, or declined to confirm
inferences of risk that he strongly suspected to exist”).
418
    See Gates v. Cook, 376 F.3d 323, 333 (5th Cir. 2004)(“Conditions of confinement may establish an
Eighth Amendment violation ‘in combination’ when each would not do so alone, but only when they have a
mutually enforcing effect that produces the deprivation of a single, identifiable human need . . . .”).
419
    501 U.S. 294, 300 (1991) (rejecting a distinction between “one-time” or “short-term” conditions of
confinement and “continuing” or “systemic” conditions).
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needs may be shown by proving “repeated examples of negligent acts which disclose a

pattern of conduct by the prison medical staff,” or by proving there are such “systemic

and gross deficiencies in staffing, facilities, equipment, or procedures that the inmate

population is effectively denied access to adequate medical care.”420

        The fact that a risk is obvious is sufficient to allow a fact finder to conclude that

prison officials knew of the risk.421 Plaintiffs may also demonstrate knowledge through

inference from circumstantial evidence.422 If there is proof of a problem that is

“longstanding, pervasive, well-documented, or expressly noted by prison officials in the

past, and the circumstances suggest that the defendant-official being sued had been

exposed to information concerning the risk and thus ‘must have known’ about it, then

such evidence could be sufficient to permit a trier of fact to find that the defendant-official

had actual knowledge of the risk.”423

        Plaintiffs herein have demonstrated that “systemwide deficiencies in the provision

of medical . . . care . . . taken as a whole, subject sick prisoners in [LSP] to ‘substantial

risk of serious harm’ and cause the delivery of care in [LSP] to fall below the evolving

standards of decency that mark the progress of a maturing society.”424 To prevail on their

Eighth Amendment claim, Plaintiffs proved (1) the existence of serious medical needs

among members of the Class and (2) that Defendants were deliberately indifferent to a




420
    Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir. 1980) (citations omitted); Lawson v. Dallas Cnty., 112 F.
Supp. 2d 616, 635 (N.D. Tex. 2000); see, e.g., Williams v. Edwards, 547 F.2d 1206, 1215-16 (5th Cir.
1977).
421
     Farmer, 511 U.S. at 842; Hinojosa v. Livingston, 807 F.3d 657, 667 (5th Cir. 2015); Gates, 376 F.3d at
333; Robinson v. Babin, No. 12-00629-BAJ-RLB, 2014 WL 2769099, at *4 (M.D. La. June 18, 2014).
422
    Farmer, 511 U.S. at 842.
423
    Hinojosa, 807 F.3d at 665 (quoting Farmer, 511 U.S. at 842-43) (internal quotation marks omitted).
424
    Rec. Doc. No. 573 at 247 (quoting Brown v. Plata, 563 U.S. 493, 505 n.3 (2011)).
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substantial risk of serious harm stemming from the inadequacies in LSP’s medical care

system.425

        Turning to the objective test, the Fifth Circuit has defined a “serious medical need”

as “one for which treatment has been recommended or for which the need is so apparent

that even laymen would recognize that care is required.”426 Given that this is a class

action, Plaintiffs must demonstrate that that serious medical needs exist on a widespread

basis, rather than on an individual basis. Plaintiffs must also show that Defendants acted

with deliberate indifference to the serious medical needs of the class and must establish

that Defendants exposed the Class to “a substantial risk of serious harm.”427

        To establish a substantial risk of serious harm, “it does not matter whether the risk

comes from a single source or multiple sources.”428 “[M]ultiple policies or practices that

combine to deprive a prisoner of a ‘single, identifiable human need,’ such as [medical

care], can support a finding of Eighth Amendment liability.”429 Moreover, the Fifth Circuit

has long recognized that “the totality of circumstances concerning medical care” may

violate the Eighth Amendment.430 The Court of Appeals for the Fifth Circuit has defined

that a “serious medical need” is one “for which treatment has been recommended or for




425
    Id. (citing e.g., Carlucci v. Chapa, 884 F.3d 534, 538 (5th Cir. 2018); Lawson v. Dall. Cty., 286 F.3d 257,
262 (5th Cir. 2002); Braggs, 257 F. Supp. 3d at 1189.).
426
    Gobert v. Caldwell, 463 F.3d 339, 345 n.12 (5th Cir. 2006).
427
    Id. at 345.
428
    Farmer, 511 U.S. at 843; see also Wilson v. Seiter, 501 U.S. 294, 304 (1991) (“Some conditions of
confinement may establish an Eighth Amendment violation ‘in combination’ when each would not do so
alone, but only when they have a mutually enforcing effect that produces the deprivation of a single,
identifiable human need such as food, warmth or exercise[.]” (emphasis in original)).
429
    Braggs, 257 F. Supp. 3d at 1192 (quoting Gates v. Cook, 376 F.3d at 333).
430
    Williams v. Edwards, 547 F.2d 1206, 1215 (5th Cir. 1977).
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which the need is so apparent that even laymen would recognize that care is required.”431

The “seriousness” of an inmate's medical need may also be determined by reference to

the effects of a delay in treatment.432 “Serious medical needs” also include conditions that

threaten to cause health problems in the future.433

       As for the subjective test, Plaintiffs must demonstrate that Defendants have a

“sufficiently culpable state of mind.”434 “In prison-conditions cases that state of mind is

one of deliberate indifference to inmate health or safety.”435 Even in situations where

awareness is shown, prison officials will not be liable “if they responded reasonably to the

risk.”436 However, prison officials cannot escape liability simply by demonstrating that

they eventually took some form of “corrective action” in response to a risk of harm.437

Efforts to correct systemic deficiencies that “simply do not go far enough,” when weighed

against the risk of harm, also constitute deliberate indifference438 because such

insufficient efforts are not “reasonable measures to abate” the identified substantial risk

of serious harm.439 Further, “[i]nsisting upon a course of action that has already proven

futile is not an objectively reasonable response under the deliberate-indifference

standard” and would support a finding of liability under the Eighth Amendment.440




431
    Gobert, 463 F.3d at 345 n. 12 (citing Hill v. Dekalb Regional Youth Detention Center, 40 F.3d 1176,
1187 (11th Cir.1994), abrogated on other grounds by Hope, 536 U.S. 730, 122 S.Ct. 2508, 153 L.Ed.2d
666 (2002)).
432
    Hill, 40 F.3d at 1187.
433
     See Farmer, 511 U.S. at 843.
434
    Id. at 834 (internal citation and quotation marks omitted).
435
    Id. (internal citation and quotation marks omitted).
436
    Id. at 844.
437
    Bradley v. Puckett, 157 F.3d 1022, 1026 (5th Cir. 1998).
438
    Laube v. Haley, 234 F. Supp.2d 1227, 1251 (M.D. Ala. 2002).
439
    Farmer, 511 U.S. at 847.
440
    Braggs, 257 F. Supp. 3d at 1260.
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        In this case, deliberate indifference may also be established “by proving that there

are such systemic and gross deficiencies in staffing, facilities, equipment, or procedures

that the inmate population is effectively denied access to adequate medical care.”441 “In

challenges to a correctional institution’s provision of medical care, evidence of systemic

deficiencies can also establish the ‘disregard’ element of deliberate indifference.”442 “As

an evidentiary matter, these systemic deficiencies may be identified by a ‘series of

incidents closely related in time’ or ‘[r]epeated examples of delayed or denied medical

care.’”443 “[A]lthough one-off negligent treatment is not actionable, . . . frequent

negligence, just like a single instance of truly egregious recklessness, may allow the court

to infer subjective deliberate indifference.”444 Deliberate indifference may also be

“demonstrated straightforwardly, through direct evidence that an administrator was aware

of serious systemic deficiencies and failed to correct them.”445

        The “long duration” of unconstitutional conditions can also demonstrate

correctional officials’ knowledge of the deficiencies that cause a substantial risk of

harm.446    Thus, if Plaintiffs show that a substantial risk of unreasonable harm was

“longstanding, pervasive, well[-]documented, or expressly noted by prison officials in the

past” and that “the circumstances suggest that the [prison officials] . . . had been exposed

to information concerning the risk . . . , then such evidence could be sufficient to permit a

trier of fact to find that the defendant-official had actual knowledge of the risk.”447


441
    Id. at 1251 (internal citation and quotation marks omitted).
442
    Id. (citing Harris v. Thigpen, 941 F.2d 1495, 1505 (11th Cir. 1991)).
443
    Id. at 1251-52 (quoting Rogers v. Evans, 792 F.2d 1052, 1058-59 (11th Cir. 1986)).
444
    Dunn v. Dunn, 219 F. Supp.3d 1100, 1129 (MD. Ala. 2016).
445
    Id.
446
    Alberti v. Sheriff of Harris Cty., 937 F.2d 984, 998 (5th Cir. 1991).
447
    Farmer, 511 U.S. at 842-43; see also Williams, 547 F.2d at 1216 (concluding that the Eighth Amendment
may be violated on a showing of “evidence of rampant and not isolated deficiencies”).
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        Applying the law to the findings of fact set forth above, the Court concludes as a

matter of law that Defendants have violated Plaintiffs’ Eighth Amendment rights. LSP’s

deficiencies as to medical health care are widespread; Defendants’ manner and means

of the delivery of health care to Plaintiffs creates a substantial risk of serious harm to

Plaintiffs; and Defendants have been deliberately indifferent to the serious medical needs

of Plaintiffs in failing to address and/or correct known deficiencies. As the evidence

demonstrates, Defendants have continuously acted with deliberate indifference toward

the standards of care “within modern and prudent professional standards” by delaying or

denying access to medical attention to serious and urgent medical needs of inmates.448

The record is replete with instances showing failure by Defendants to take the necessary

steps to provide access or avoid delay in access to medical and health care. Specifically,

the trial testimony and evidence demonstrate constitutionally inadequate care and/or

access to care as it relates to the following: providing timely and adequate access to

clinical, inpatient/infirmary, emergency, and specialty care and the lack of medical

leadership, administration, and organizational structure. Evidence at trial satisfied both

the objective and subjective standards for deliberate indifference.

                1.      Clinical Care

        In Gates v. Cook, the Fifth Circuit recognized that a combination of conditions may

“have a mutually enforcing effect” that violates the Eighth Amendment.449                          This

combination of conditions regarding clinical care is amply demonstrated by the evidence

supporting the Court’s findings of fact, generally, that: (1) exam rooms lack privacy and


448
   Morales Feliciano v. Rossello Gonzales, 13 F.Supp.2d 151, 208 (D. Puerto Rico 1998).
449
   376 F.3d 323, 333 (5th Cir. 2004); See also, e.g., Williams, 547 F.2d at 1215; Braggs, 257 F. Supp.
3d at 1192.
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standard medical equipment; (2) there are often no medical records available to the

providers making cell side visits; (3) hygiene and spacing issues abound; and (4)

physicians/providers treat complaints episodically rather than the underlying state of

diseases. Several specific practices or failings by LSP are identical or similar to matters

that have been held to violate the Constitution. These include: (1) the failure to provide

adequate facilities and equipment for necessary medical care;450 (2) the failure to ensure

that medical records are available to providers treating the inmate, which permeates

numerous aspects of health care delivery;451 and (3) the use of unqualified or untrained

staff or inmate orderlies who provide medical care outside the scope of their

qualifications.452


450
    Langley v. Coughlin, 888 F.2d 252, 254 (2d Cir.1989); Inmates of Allegheny County Jail v. Wecht, 874
F.2d 147, 153 (3d Cir.1989) (inadequate space for mental health facilities supported an order closing the
jail), vacated and remanded on other grounds, 493 U.S. 948, 110 S.Ct. 355, 107 L.Ed.2d 343 (1989);
Newman v. Alabama, 503 F.2d 1320. 1331 (5th Cir.1974); Tillery v. Owens, 719 F.Supp. 1256, 1307
(W.D.Pa.1989) (condemning infirmary's lack of space, unsanitary conditions, and deficiencies in equipment
and supplies), aff'd, 907 F.2d 418 (3d Cir.1990); Coleman v. Schwarzenegger, 922 F.Supp.2d 882, 887-88
(inmates “receive inadequate medical care in substandard facilities that lack the medical equipment
required to conduct routine examinations or afford essential medical treatment”).
451
    The record is replete with evidence that Defendants have failed to maintain medical records in a manner
that assists in providing constitutionally adequate health care at LSP. In Newman v. Alabama, the Fifth
Circuit found that, in the prison setting, medical records that are “incomplete, inaccurate and not
standardized” contribute to constitutionally inadequate delivery of health care. 503 F.2d 1320, 1323 (5th
Cir. 1974)(“The consequences of inadequate medical records are manifest in two ways. First, because
inmates transferred to and released from Mt. Meigs are accompanied by paltry records, personnel at the
receiving institutions are unaware of the diagnosis, treatment previously rendered, and the treatment
prescribed for the future. Second, there can be little or no monitoring of whether receiving facilities are
complying with a physician's orders. Indeed, the evidence indicates that such noncompliance is rampant.”)
Id. at n 4. See also, Miranda v. Munoz, 770 F.2d 255, 261 (1st Cir.1985) (prison officials' knowledge of
continuing problem of prisoners arriving at hospital without their medical records cited as a basis for damage
liability); Brown v. Coughlin, 758 F.Supp. 876, 882 (S.D.N.Y.1991) ( “failure to transfer necessary medical
records in a timely fashion” supported a deliberate indifference claim); see Burks v. Teasdale, 492 F.Supp.
650, 676 (W.D.Mo.1980) and cases cited (noting that medical records are essential to continuity of medical
care).
452
    Cooper v. City of Cottage Grove, No. 6:13-cv-551-TC, 2014 WL 4187558, *6 (D. Or. Aug. 21, 2014)(“The
essential function of EMTs is to stabilize an ill or injured person for transport to the emergency room, not to
provide medical diagnosis or treatment. They are not the equivalent of a physician or other medical
professional.”); Laaman v. Helgemoe, 437 F.Supp. 269, 312-313 (D. N.H. 1977)(citations omitted)(“ A
failure to staff a prison around the clock with qualified personnel trained to identify and cope with medical
emergencies and reliance upon unqualified and untrained inmates, civilians and employees of the prison
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                2.      Sick Call

        The failure to provide a sick call system that ensures that prisoners receive needed

care violates the Constitution.453 The trial evidence established that Defendants have

failed to provide a sick call system that ensures access to care and effectively handles

emergencies, which results in the endangerment to the health of inmates by denying or

delaying access to health care. Specifically, a combination of the following conditions

“have a mutually enforcing effect” that violates the Eighth Amendment: (1) improper use

of unqualified EMTs for diagnosis and treatment; (2) multiple requests by numerous

inmates for treatment of the same problems; and (3) medical records being unavailable

to the providers, which functionally impairs the provider’s ability to evaluate and treat

underlying conditions and instead promotes a “band-aid” approach to treating complaints

episodically. The Seventh Circuit and D.C. Circuit courts have held that this type of

deficiency supports a finding of deliberate indifference.454

                3.      Specialty Care

        “A prison inmate can demonstrate an Eighth Amendment violation by showing that

a prison official refused to treat him, ignored his complaints, intentionally treated him

incorrectly, or engaged in any similar conduct that would clearly evince a wanton

disregard for any serious medical needs.”455 This applies to failing to provide referrals to


to make medical decisions and to perform medical functions infringe upon the constitutional rights of
prisoners.”).
453
    Bass by Lewis v. Wallenstein, 769 F.2d 1173, 1184–86 (7th Cir.1985) (known deficiencies in sick call
system supported a finding of deliberate indifference).
454
    See id. at 1186; see also Inmates of Occoquan v. Barry, 717 F.Supp. 854, 867 (D.D.C.1989)(deliberate
indifference shown by sick call system which relied heavily on medical technical assistants by allowing them
to diagnose and dispense medication without proper supervision by trained medical staff).
455
    Blackstock v. Corrections Corp. of America, 660 F.Supp.2d 764, 769-70 (W.D. La. 2009)(citing Easter
v. Powell, 467 F.3d 459, 464 (5th Cir.2006)(citing Domino v. Tex. Dep't of Criminal Justice, 239 F.3d 752,
756 (5th Cir.2001); Chapman v. Johnson, 339 Fed.Appx. 446, 448, 2009 WL 2391496, *2 (5th Cir.
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specialty care providers, where medically necessary,456 failing to implement follow-up

treatment instructions of specialists,457 and the general lack of medical records. The Fifth

Circuit has held that, “‘[u]nder certain circumstances, allegations of deliberate indifference

may be shown when prison officials deny an inmate recommended treatment by medical

professionals.’”458

        In Hadix v. Caruso, a case involving prison inmates’ right to constitutionally

adequate medical care, the district court for the Western District of Michigan noted that

“specialty care referrals are not negligible matters. They relate to care for cancer, cancer

diagnosis, HIV treatment, cardiology, ophthalmology and other serious medical

conditions as to which a failure to treat timely will contribute toward unnecessary death,

disease and suffering.”459 Further, in Morales Feliciano v. Rossello Gonzalez, the court

applied Eleventh Circuit jurisprudence and held that the failure to provide access to

specialized care required by a prisoner’s medical condition violates the Constitution.460


2009)(fact that defendant was aware that inmate had a serious injury and was instructed to provide pain
relieve medication, but did not do so, could demonstrate an Eighth Amendment violation)).
456
    See Oxendine v. Kaplan, 241 F.3d 1272, 1277-79 (10th Cir. 2001)(finding the defendant deliberately
indifferent where the plaintiff alleged he persistently informed the defendant about his worsening condition
and requested a referral to a specialist, but the defendant only referred the plaintiff to a specialist after it
was too late).
457
    See Blackstock, 660 F.Supp.2d at 770 (failure to follow neurologist’s treatment recommendations);
Lewis v. Pacheco, No. 08-cv-1151, 2010 WL 771227 at *4 (W.D. La. Mar. 2, 2010)(doctor’s decision to
ignore specialist’s orders indicates possible deliberate indifference)(citing Gil v. Reed, 381 F.3d 649, 662-
64 (7th Cir.2004)(reasonable fact-finder could infer deliberate indifference where prison doctor canceled
specialist's prescriptions and substituted medication which specialist had specifically warned was
dangerous for persons with plaintiff's condition) and Jones v. Simek, 193 F.3d 485, 491 (7th
Cir.1999)(allegations that prison doctor refused to provide the specific treatments ordered by specialists
alleges facts sufficient to survive a motion for summary judgment)).
458
    Vanderhoff v. Prentice, 251 Fed.Appx. 861, 862 (5th Cir. 2007)(quoting Payne v. Lynaugh, 843 F.2d
177, 178 (5th Cir.1988).
459
    No. 4:92-cv-110, 2007 WL 710136, * 4 (W.D. Mich., Mar. 6, 2007).
460
    13 F.Supp.2d 151, 210 (D. P.R.1998)(citing Howell v. Evans, 922 F.2d 712, 723 (11th Cir.1991) (failure
to provide access to a respiratory therapist could constitute deliberate indifference), vacated as settled, 931
F.2d 711 (11th Cir.1991); Waldrop v. Evans, 871 F.2d 1030, 1036 (11th Cir. 1989)(non-psychiatrist was not
competent to evaluate significance of a prisoner's suicidal gesture; prison officials must “inform competent
authorities” of medical or psychiatric needs), rehearing denied, 880 F.2d 421 (11th Cir.1989); Tillery v.
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         The Court concludes that Defendants have been deliberately indifferent to the

serious risk of harm in failing to provide constitutionally adequate access to specialty care

in failing to follow orders of specialty care providers. The evidence and testimony at trial

overwhelmingly demonstrated deficiencies in: (1) timeliness and adequacy in evaluating

the need for specialty care, (2)           scheduling and tracking appointments, (3) timely

complying with testing and other diagnostic requirements, (4) executing appropriate

follow-up directions from specialty care providers; and (5) general failure to coordinate

care.

                4.      Emergency Care

         The Supreme Court has held that access to emergency medical care falls within

the “minimal civilized measure of life’s necessities.”461 The Fifth Circuit holds that, when

a gatekeeper to emergency care knowingly disregards a prisoner’s complaints, he acts

with deliberate indifference to that prison’s medical needs.462 The evidence in this case

demonstrates that Defendants have been deliberately indifferent to Plaintiffs’ care in

emergency evaluation and treatment. As set forth above, Defendants primarily rely on

EMTs to staff the ATU and evaluate medical emergencies; they fail to consistently and

adequately staff the ATU. Patients are often not properly evaluated or timely transported

to emergency facilities for proper treatment. The Court observed during its site visit that

the ATU is not a properly equipped emergency room capable of treating serious medical




Owens, 719 F.Supp. 1256, 1307 (W.D.Pa.1989) (services of cardiologist and dermatologist should be
provided), aff'd, 907 F.2d 418 (3d Cir.1990).
461
    See Wilson v. Seiter, 501 U.S. 294, 298 (1991).
462
    See Rodrigue v. Morehouse Det. Ctr., No. 09-985, 2012 WL 4483438, at *6 (W.D. La. 2012), aff'd, 557
Fed.Appx. 341 (5th Cir. 2014) (prison officials were not entitled to qualified immunity where they ignored
prisoner's requests for medical care for his obviously dire condition).
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emergencies; hence, referral and transport to an off-site emergency room is required but

transportation and referral to outside emergency services is irregular and incompetent.

Further, Plaintiffs demonstrated that it is the general practice at LSP for EMTs and

providers to hold patients in the ATU for observation for several hours instead of transport

them off-site immediately, where appropriate. Such practices have inexorably led to

preventable deaths and avoidable exacerbation of conditions.

                5.       Inpatient/Infirmary Care

        The Court concludes that inpatient/infirmary care at LSP is constitutionally deficient

because it provides significantly inadequate staffing, which results in the inappropriate

use of inmate orderlies. Courts have held that deliberate indifference to serious medical

needs may be shown by proving a policy of deficiencies in staffing or procedures such

that the inmate is effectively denied access to adequate medical care.463

                6.       Medical Leadership/Organizational Structure

        The lack of “adequate organization and control in the administration of health

services” in a prison can support the finding of an Eighth Amendment violation.464 The

Court concludes that the cumulative effect of the lack of medical leadership and

organizational structure of the health care system at LSP meets the subjective component

of deliberate indifference based on a combination of the following deficiencies: (1) lack




463
    Ancata v. Prison Health Services, Inc., 769 F.2d 700, 704 (11th Cir.1985); see also Garcia v. Salt Lake
County, 768 F.2d 303, 308 (10th Cir.1985); White v. Cooper, No. 08–CV–1321, 2009 WL 1230008, *4-5
(W.D. La. May 5, 2009)(holding that inmate stated a viable claim under the Eighth Amendment where prison
understaffed medical infirmary); cf Braggs, 257 F. Supp. 3d at 1212 (noting that understaffing of mental
health care workers “created a substantial risk of serious harm,” including a “greater risk for continued pain
and suffering”).
464
    See DeGidio v. Pung, 920 F.2d 525, 529 (8th Cir.1990).
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of meaningful mortality review, quality control, and quality improvement of care;465 (2) use

of correctional personnel to manage medical decisions;466 (3) lack of peer review;467 (4)

absence of medical personnel involvement in the development and allocation of medical

budget funds;468 (5) lack of medical supervision by Lavespere;469 and (6) failure to

maintain proper credentialing.470

        Accordingly, Plaintiffs are entitled to injunctive relief to remedy the Eighth

Amendment violations discussed above.

        B.      ADA

        “The ADA is a ‘broad mandate’ of ‘comprehensive character’ and ‘sweeping

purpose’ intended ‘to eliminate discrimination against disabled individuals, and to


465
    See Braggs, 257 F. Supp. 3d at 1257 (prison’s “quality-control process is hopelessly inadequate in
implementing corrective actions”); see also, Madrid v. Gomez, 889 F.Supp. 1146, 1258 (N.D. Cal.
1995)(“First, ‘[a] primary component of a minimally acceptable correctional health care system is the
implementation of procedures to review the quality of medical care being provided.’ Lightfoot, 486 F.Supp.
at 517–18. Reviews of records to evaluate the delivery of care are essential. Capps, 559 F.Supp. at 912
(lack of chart review is part of violation); Lightfoot, 486 F.Supp. at 517 (lack of chart review is element of
violation); Todaro, 431 F.Supp. at 1160 (failure to audit system part of violation); see also Palmigiano, 443
F.Supp. at 975. In addition, peer review and death reviews should be instituted to improve the quality of
care. Capps, 559 F.Supp. at 912 (lack of peer review part of violation); Lightfoot, 486 F.Supp. at 517–18
(noting lack of peer review and expressing court's “alarm[ ]” at the “lack of regular system of review of
deaths”).
466
    See Hartman v. Correctional Med. Servs., Inc., 960 F. Supp. 1577, 1582-83 (M.D. Fla. 1996)(holding
medical provider could be found deliberately indifferent based on evidence that it permitted a person with
only a master’s degree and no processional licenses to have substantial authority over mental health
system); see also Hernandez v. County of Monterey, 110 F.Supp.3d 929, 949 (N.D. Cal. 2015)(granting
summary judgment and injunctive relief where plaintiffs’ expert found it a “major problem” that correctional
officers were conducting intake screenings: “Officers are not trained to identify persons at risk for
withdrawal, to evaluate persons who appear to be intoxicated, or to make medical decisions with respect
to isolation for this purpose. This should be done by medical professionals[,] not custody officers.”).
467
    See fn 461, supra.
468
    See Tillery v. Owens, 719 F.Supp. 1256, 1293 (W.D. Pa. 1989)(the prison staff is not involved in the
budgetary process and medical budget is prepared without any input from the hospital administrator).
469
    See id. at 1305-06; Braggs, 257 F.Supp. at 1257; Madrid, 889 F.Supp. at 1258.
470
    See Plata v. Schwarzenegger, No. C01-1351-TEH, 2005 WL 2932253, * 21 (N.D. Ca. Oct. 3, 2005)(high
number of incompetent or unqualified doctors is due in part to failure to track physician credentials and
board certifications); Tillery, 719 F.Supp.3d at 1306 (court recognized need for medical director to provide
education and assess credentials for inhouse medical staff); Laaman v. Helgemoe, 437 F.Supp. 269, 289
(D. N.H. 1977)(staff of persons with “less than full academic credentials for their positions” contributed to
constitutionally inadequate health care).
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integrate them into the economic and social mainstream of American life.’”471 Title II, in

particular, “focuses on disability discrimination in the provision of public services.”472

Section 504 of the RA complements Title II by “prohibit[ing] disability discrimination by

recipients of federal funding.”473 These laws “are judged under the same legal

standards, and the same remedies are available under both.”474

        As another section of this Court so aptly explained in George v. Louisiana

Department of Public Safety and Corrections:

        Under well-established precedent, prisoners may bring claims against their
        jailors for disability discrimination under Title II of the ADA and Section 504
        of the RA. Pa. Dep't of Corrections v. Yeskey, 524 U.S. 206, 209-10, 118
        S. Ct. 1952, 1954-55, 141 L.Ed. 2d 215 (1998); see also, e.g., Frame v. City
        of Arlington, 657 F.3d 215, 224-25 (5th Cir. 2011). Title II prohibits
        discrimination by “public entities,” 42 U.S.C. § 12131(1), and state punitive
        institutions fall squarely within this statutory definition, Yeskey, 524 U.S. at
        210. Typically, a plaintiff proceeding under Title II must “show that: (1) he or
        she is a ‘qualified individual with a disability’; (2) he or she is being excluded
        from participation in, or being denied the benefits of some service, program,
        or activity by reason of his or her disability; and (3) the entity which provides
        the service, program or activity is a public entity.” Douglas v. Gusman, 567
        F. Supp. 2d 877, 889 (E.D. La. 2008).

        Beyond these general guiding principles, precedent establishes two other
        cardinal rules. First, while the ADA's reasonable accommodation
        requirement does not apply under Title II, its “reasonable modifications”
        requirement—“A public entity shall make reasonable modifications in
        policies, practices, or procedures when the modifications are necessary to
        avoid discrimination on the basis of disability, unless the public entity can
        demonstrate that making the modifications would fundamentally alter the
        nature of the service, program, or activity,” 28 C.F.R. § 35.130(b)(7); 42
        U.S.C. § 12182(b)(2)(A)(ii); PGA Tour, Inc. v. Martin, 532 U.S. 661, 682,
        121 S. Ct. 1879, 1893, 149 L.Ed. 2d 904 (2001)—has been held to apply in
        the prison context. Garrett v. Thaler, 560 Fed.Appx. 375, 382 (5th Cir.

471
    Frame v. City of Arlington, 657 F.3d 215, 223 (5th Cir. 2011) (en banc) (quoting PGA Tour, Inc. v. Martin,
532 U.S. 661, 675, 121 S.Ct. 1879, 149 L.Ed.2d 904 (2001)).
472
    Id. at 224.
473
    Id.
474
    Kemp v. Holder, 610 F.3d 231, 234 (5th Cir. 2010) (citing Delano-Pyle v. Victoria Cnty., Tex., 302 F.3d
567, 574 (5th Cir. 2002)). Thus, the Court analyzes the ADA Subclass ADA and RA claims under one rubric.
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        2014). Consequently, while the ADA “does not require prisons to provide
        new services or programs for disabled prisoners,” these same entities “do
        have an affirmative obligation to make reasonable modifications ... so that
        a disabled prisoner can have meaningful access to existing public services
        or programs.” Borum v. Swisher Cnty., No. 2:14-CV-127-J, 2015 U.S. Dist.
        LEXIS 8628, at *21, 2015 WL 327508, at *9 (N.D. Tex. Jan. 26, 2015)
        (emphasis added). Second, the Fifth Circuit has held that a defendant's
        failure to make the reasonable modifications necessary to adjust for the
        unique needs of disabled persons can constitute intentional discrimination
        under the ADA. See, e.g., Melton v. Dall. Area Rapid Transit, 391 F.3d 669,
        672 (5th Cir. 2004); Garrett v. Thaler, 560 Fed.Appx. 375, 382 (5th Cir.
        2014). A different kind of intent, in other words, governs in ADA cases. See
        Garrett, 560 Fed.Appx. at 385.475

        In Pennsylvania Department of Corrections v. Yeskey, the Supreme Court held

that Title II applied to correctional facilities, recognizing that “[m]odern prisons provide

inmates with many recreational ‘activities,’ medical ‘services,’ and educational and

vocational ‘programs,’ all of which at least theoretically ‘benefit’ the prisoners (and any of

which disabled prisoners could be ‘excluded from participation in’).”476 In light of Yeskey,

numerous courts have recognized that:

        [b]ecause of the unique nature of correctional facilities, in which jail staff
        control nearly all aspects of inmates’ daily lives, most everything provided
        to inmates is a public service, program or activity, including sleeping, eating,
        showering, toileting, communicating with those outside the jail by mail and
        telephone, exercising, entertainment, safety and security, the jail’s
        administrative, disciplinary, and classification proceedings, medical, mental
        health and dental services, the library, educational, vocational, substance
        abuse and anger management classes and discharge services.477


475
     No. 3:14-00338-JWD-EWD, 2016 WL 3568109 at *8 -*9 (M.D. La. June 23, 2016).
476
     524 U.S. 206, 210 (1998).
477
     Hernandez, 110 F. Supp. 3d at 935-36; see also Armstrong v. Schwarzenegger, 622 F.3d 1058, 1068
(9th Cir. 2010) (noting that jails provide inmates “with various positive opportunities, from educational and
treatment programs, to opportunities to contest their incarceration, to the fundamentals of life, such as
sustenance, the use of toilet and bathing facilities, and elementary mobility and communication”); Phipps
v. Sheriff of Cook Cty., 681 F. Supp. 2d 899, 916 (N.D. Ill. 2009) (collecting cases holding that in the prison
setting, “services, programs, and activities” include facilities such as showers, toilets, and sinks); Jaros v.
Ill. Dep’t of Corrs., 684 F.3d 667, 672 (7th Cir. 2012) (same); Arce v. La. State, 226 F. Supp. 3d 643, 650
n.7 (E.D. La. 2016) (holding that “[t]he use of prison telephones is a service or activity protected by the
ADA.”)(citing Spurlock v. Simmons, 88 F. Supp. 2d 1189, 1195 (D. Kan. 2000)).
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Title II implementing regulations note that:

        [D]etention and correctional facilities are unique facilities under Title II.
        Inmates cannot leave the facilities and must have their needs met by the
        corrections system, including needs relating to a disability. If the detention
        and correctional facilities fail to accommodate prisoners with disabilities,
        these individuals have little recourse, particularly when the need is great
        (e.g., an accessible toilet; adequate catheters; or a shower chair). It is
        essential that corrections systems fulfill their nondiscrimination and program
        access obligations by adequately addressing the needs of prisoners with
        disabilities, which include, but are not limited to, proper medication and
        medical treatment, accessible toilet and shower facilities, devices such as
        a bed transfer or a shower chair, and assistance with hygiene methods for
        prisoners with physical disabilities.478

        It is generally undisputed479 in this matter that the members of the ADA Subclass

are qualified individuals with disabilities that substantially limit one or more major life

activities and that LSP is a public entity. Thus, the necessary determination for the Court

is whether Plaintiffs carried their burden of demonstrating that members of the Subclass

are being excluded from participation in, or being denied the benefits of some service,

program, or activity by reason of their disabilities. Notably, as the law pertains to a class

of disabled inmates, rather than separate individual claims, Plaintiffs’ burden is to

demonstrate a systemic failure; they are not required to demonstrate a failure of policies

applied to each class member individually.480


478
    28 C.F.R Part 35, App. A.
479
    Defendants do dispute that certain conditions complained of by specific Plaintiffs in this matter do not
constitute disabilities under the ADA. The Court will address those below, where appropriate.
480
    See P.V. ex rel. Valentin v. School Dist. of Philadelphia, 289 F.R.D. 227, 233–34 (E.D. Pa. 2013)
(“Defendants fail to recognize, however, that the central tenant of Plaintiffs' Complaint alleges a systemic
failure, not a failure of the policy as applied to each member individually.”); see also Parsons v. Ryan, 754
F.3d 657, 680 (9th Cir. 2014)(explaining that plaintiffs sufficiently proved the system-wide policies alleged
with “formal [prison] policies, admissions by [prison] officials in discovery documents, declarations by the
named plaintiffs ... and [plaintiffs'] expert report”); Brand v. Comcast Corp., Inc., 302 F.R.D. 201, 219
(N.D.Ill.2014) (relying on class members' testimony to find “significant proof of the common question of
whether a hostile work environment existed”); Olson v. Brown, 284 F.R.D. 398, 400 (N.D.Ind.2012) (finding
that the named plaintiff showed that a jail's practices “caused inmates to suffer the same potential injury,
which tie[d] all their jail standards claims together”).
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       1.      Architectural Barriers/Facilities/Segregation

       Under its ADA rulemaking power, the DOJ has promulgated rules requiring public

entities such as prisons to comply with certain architectural accessibility standards.481

Construction or alterations that began after July 26, 1992, but prior to September 15,

2010, must comply with either the 1991 ADA Standards for Accessible Design (“1991

Standards”) or the Uniform Federal Accessibility Standards (“UFAS”).482 If physical

construction or alterations commenced on or after September 15, 2010, and before March

15, 2012, the new construction or alterations must comply with either the 2010 ADA

Standards for Accessible Design (“2010 Standards”), UFAS, or the 1991 Standards.483 If

physical construction or alterations commenced on or after March 15, 2012, the new

construction or alterations must comply with the 2010 Standards.484

       If an existing facility has not been altered since these standards first took effect, it

must still operate each service, program, or activity in a manner that, when viewed in its

entirety, the service, program, or activity is readily accessible to and usable by individuals

with disabilities.485 A public entity may fulfill this “programmatic access” mandate by

constructing new facilities or altering its existing facilities to bring them into compliance

with the accessibility requirements of Section 35.151, or through alternative methods such

as “redesign or acquisition of equipment, reassignment of services to accessible

buildings, assignment of aides to beneficiaries, home visits, [or] delivery of services at




481
    See 42 U.S.C. § 12134(a).
482
    28 C.F.R. § 35.151(c)(1). Courts often refer to the 1991 Standards and the ADAAG interchangeably.
483
    28 C.F.R. § 35.151(c)(2).
484
    Id. § 35.151(c)(3).
485
    Id. § 35.150(a).
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alternate accessible sites.”486

        There are, however, exceptions to the general principle of affording existing

facilities greater flexibility in providing programmatic access. In choosing among methods

of compliance, the facility must give priority to methods that provide program access in

the most integrated setting appropriate.487 Further, the facility must provide “meaningful

access” to the programs and services offered.488 Finally, the facility’s programs and

services must be “readily accessible.”489

        The implementation of Title II and the construction and access requirements, as it

pertains to ensuring public facilities are accessible to individuals with disabilities, are

articulated in the ADAAG regulations. These regulations provide the minimum technical

requirements for ADA compliance for newly constructed facilities and for alterations made

to existing facilities. 28 C.F.R. pt. 36 app. A. In Greer v. Richardson Independent School

Dist., the Fifth Circuit explained:

        When enacting the ADA, Congress acknowledged that some public entities
        operating then-existing buildings and structures would be unable to comply
        with all technical aspects of the new ADAAG regulations. Accordingly, the

486
    Id. § 35.150(b)(1).
487
    Id.
488
    See, Melton v. Dall. Area Rapid Transit, 391 F.3d 669, 672 (5th Cir. 2004)(“Supreme Court precedent
suggests that denial of “meaningful access” is equivalent to a full denial of access under the ADA.”)(citing
Choate, 469 U.S. at 301 (stating in the context of the Rehabilitation Act that a benefit cannot be offered in
a way that “effectively denies” otherwise qualified handicapped individuals the “meaningful access” to which
they are entitled)); Wright v. N.Y. State Dep't of Corr. & Cnty. Supervision, 831 F.3d 64, 73 (2d Cir. 2016)
(recognizing that “meaningful access” requires the provision of accommodations that overcome structural
impediments limiting access to a prison’s services); Chaffin v. Kan. State Fair Bd., 348 F.3d 850, 857 (10th
Cir. 2003) (collecting cases holding that ADA requires more than mere physical access, and concluding
that barriers to accessible dining, restrooms, and parking prevented “meaningful access” to state
fairgrounds, even though wheelchair users were able to attend).
489
    See Chaffin, 348 F.3d at 861 (quoting Shotz v. Cates, 256 F.3d 1077, 1080 (11th Cir. 2001)). In Chaffin,
the Court held that “the ‘individual elements’ that [were] not handicap accessible add[ed] up to a wholesale
exclusion of disabled individuals from buildings, restrooms, dining areas, and seating areas across the
entire fairgrounds.” Id. See also Saunders v. Horn, 959 F. Supp. 689, 697 (E.D. Pa. 1996) (allegation that
prison did not provide “readily accessible bathroom and shower facilities” stated a claim under Title II’s
program access requirement).
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          regulations promulgated by the United States Attorney General to
          implement the requirements of Title II differentiate between structures built
          prior to the Act taking effect in January 1992 (“existing facilities”) and
          facilities built or altered after January 1992. Tennessee v. Lane, 541 U.S.
          509, 531–32, 124 S.Ct. 1978, 158 L.Ed.2d 820 (2004); 28 C.F.R. § 35.104.
          The accessibility requirements for existing facilities are less stringent and
          more flexible than for new facilities. “[I]n the case of older facilities, for which
          structural change is likely to be more difficult, a public entity may comply
          with Title II by adopting a variety of less costly measures, including
          relocating services to alternative, accessible sites and assigning aides to
          assist persons with disabilities in accessing services.” Lane, 541 U.S. at
          532, 124 S.Ct. 1978 …

          When considering ADA compliance for such existing structures, the
          touchstone is thus not the facility's technical compliance with the ADAAG,
          but is instead “program accessibility.” “A public entity shall operate each
          service, program, or activity so that the service, program, or activity, when
          viewed in its entirety, is readily accessible to and usable by individuals with
          disabilities.” 28 C.F.R. § 35.150(a). Making a program or activity accessible
          under this standard does not require a public entity to make all of its existing
          facilities accessible to disabled individuals nor does it require a public entity
          to take an action that would place an undue burden on the entity. Id. at
          (a)(1), (3). Furthermore, the regulations do not provide any objective criteria
          for evaluating program accessibility. While an existing facility's compliance
          with the ADAAG regulations may be informative, program accessibility is
          ultimately a subjective determination by viewing the program or activity at
          issue in its entirety and not solely by evaluating individual elements of the
          facility where the program is held.490

          The Court acknowledges the requirement in Greer that program accessibility

should be viewed in its entirety and not solely by evaluating individual elements of a

facility. However, that Mazz did not survey LSP entirely does not undermine his findings

and conclusions regarding the medical dormitories that house disabled inmates. Mazz

testified that he did not have access to the construction or alteration dates of LSP’s

facilities; thus, he assumed that all facilities would be subject to the more flexible

programmatic access requirement that applies to existing constructions.491                       Mazz


490
      472 Fed.Appx. 287, 291-92 (5th Cir. 2012).
491
      Rec. Doc. No. 546 at 15:1-7; 12:5-15; 14:15-15:22. See also PX 7.
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followed the industry-standard methodology for evaluating programmatic access, and

Defendants have acknowledged that courts routinely rely on the 1991 Standards for

guidance in determining whether a facility’s programs are accessible.492

        Defendants maintain they have overcome architectural barriers in these facilities

by way of alternative methods of compliance in the form of using trained health care

orderlies to assist disabled inmates with their needs.

        The Court rejects Plaintiffs’ assertion that providing alternative methods of access

to disabled inmates through health care orderlies does not comply with the law “in

theory.”493      As set forth above, “a public entity may comply with Title II by adopting a

variety of less costly measures, including … assigning aides to assist persons with

disabilities in accessing services. Only if these measures are ineffective in achieving

accessibility is the public entity required to make reasonable structural changes.”494

Further, courts must be “sensitive to the fact that prisons are unique environments with

heightened security and safety concerns.”495               However, “because the ADA and RA

‘unmistakably’ apply to State prisons and prisoners,496 [DOC] is statutorily required to

ensure that all of their inmates, including [plaintiffs], have the opportunity effectively to

access the services and programs [DOC] provides.”497

        Applying this jurisprudence to facts found above, the Court finds that it is a

generally acceptable and lawful practice to implement a health care orderly assistance


492
    Rec. Doc. No. 497 at 40 (citing Greer, 472 F. App’x at 292 n.3).
493
    Rec. Doc. No. 573 at 272.
494
    Garrett v. Thaler, 560 Fed. Appx. 375, 382 (5th Cir. 2014)(internal citations and quotations omitted).
495
    Wright v. N.Y. State Dep't of Corr., 831 F.3d 64, 75 (2d Cir. 2016)(citing Pierce v. Cty. of Orange, 526
F.3d 1190, 1216–17 (9th Cir. 2008)).
496
    Id. (quoting Yeskey, 524 U.S. at 209).
497
    Id.
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program to provide disability access.              However, Plaintiffs carried their burden of

demonstrating that this program, in practice, is ineffective in achieving accessibility with

respect to assistance in the dorms themselves (i.e., bathing, showering, using bathrooms,

transfers,    and     transport).    This     is   largely       due    to   understaffing   and   the

abuse/neglect/misconduct of the orderlies. As to training, the Court finds the training

program itself to be adequate in content but finds lacking the “as-needed” explanation for

how often training occurs. Further, the Court finds that more oversight of the orderlies in

this program is glaringly necessary to prevent the too-often instances of abuse, neglect,

and misconduct.

        Certainly, where reasonable alternative methods achieve compliance, structural

changes to existing facilities need not be made.498 However, where there is no evidence

to conclude that such methods are shown to ameliorate barriers presented by structural

deficiencies, alterations must be made.499 In Pierce v. County of Orange, the Ninth Circuit

highlighted how the use of deputy or other inmate assistance cannot overcome all

physical barriers to access: “Plaintiffs …presented evidence to show that deficiencies

were not remedied.”500 Whether there was testimony that witnesses observed

“detainees—not deputies—struggling to lift a fellow wheelchair-bound detainee over a

foot-high retention wall in one of Ward C's inaccessible showers” and disabled inmates

“forced to rely on fellow inmates for assistance when faced with inaccessible bathroom

facilities,” the court concluded that: “The impediment posed by such a barrier highlights




498
    28 C.F.R. § 35.150(b)(1).
499
    Pierce v. County of Orange, 526 F.3d 1190 (9th Cir. 2008).
500
    Id. at 1219.
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the inadequacy of deputy or other inmate assistance.”501 In this case, the Court finds that

orderly assistance has been inadequate to overcome the structural barriers to access for

disabled inmates.

        Regarding segregation of disabled inmates, which denies them access to

programs and services provided to non-disabled inmates at LSP, the Court finds that the

manner in which disabled inmates are segregated violates the ADA. Along with several

other regulations promulgated under Title II of the ADA is the “integration regulation,”

which provides that: “A public entity shall administer services, programs, and activities in

the most integrated setting appropriate to the needs of qualified individuals with

disabilities.”502 “[T]he most integrated setting appropriate” is “a setting that enables

individuals with disabilities to interact with non-disabled persons to the fullest extent

possible.”503     Evaluating this regulation, the Supreme Court has concluded that:

“Unjustified isolation ... is properly regarded as discrimination based on disability.”504

Many courts thereafter have acknowledged that the unnecessary segregation of the

disabled in institutions is a form of illegal discrimination against the disabled under the

ADA.505      Unnecessary segregation of individuals with disabilities in the provision of

public services is itself a form of “discrimination” within meaning of ADA and RA,

independent of discrimination that arises when individuals with disabilities receive

different services from those provided to individuals without disabilities.506 Based on the


501
    Id. at 1219-20.
502
    Henderson v. Thomas, 913 F.Supp.2d 1267, 1287 (M.D. Ala. 2012)(quoting 28 C.F.R. § 35.130(d)).
503
    28 C.F.R. Pt. 35, App. B (2011).
504
    Olmstead v. L.C. ex rel Zimring, 527 U.S. 581, 597 (1999).
505
    See, e.g., Fisher v. Oklahoma Health Care Authority, 335 F.3d 1175 (10th Cir. 2003)
506
    Helen L. v. DiDario, 46 F.3d 325, 335 (3rd Cir. 1995), rehearing and rehearing in banc denied, certiorari
denied, 516 U.S. 813.
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findings of fact above, the Court concludes that Defendants have failed to demonstrate

the necessity of, and justify the proffered reasons for, the segregation of disabled inmates

in the manner LSP employs. The proximity of the medical dorms to the ATU and

purported availability of inmate orderly assistance does not overcome the general denial

of access to various programs, activities, and services available to non-disabled inmates.

        2.      Methods-of-Administration Claim

        The Subclass Plaintiffs’ methods-of-administration claim is comprised of the

following allegations which, analyzed together, operate to deny programmatic access to,

and discriminate against, disabled inmates: LSP (1) fails to maintain a qualified and

adequately trained ADA Coordinator; (2) fails to maintain and ADA advisory committee

as required by its own policies; (3) inadequately trains its staff regarding the ADA; (4) fails

to inform patients of their rights and the procedures for requesting accommodations; (5)

fails to appropriately process accommodation requests and disability-related grievances;

(6) fails to identify and track patients’ disabilities and accommodation requests; and (7)

charges patients co-pays to evaluate their accommodation requests.507 The Court found

that Plaintiffs carried their burden on all of the above, except (4) and (7).

        “A public entity may not ... utilize criteria or methods of administration ... [t]hat have

the purpose or effect of defeating or substantially impairing accomplishment of the

objectives of the public entity's program with respect to individuals with disabilities.”508 “In

other words, a public entity cannot actively undercut the ability of a public program to

benefit those with disabilities.”509 Some of Plaintiffs’ complaints regarding methods of


507
    Rec. Doc. No. 573 at 283-85.
508
    28 C.F.R. § 35.130(b)(3)(ii).
509
    Van Velzor v. City of Burleson, 43 F.Supp.3d 746, 752 (N.D. Tex. 2014).
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administration trigger obligations imposed on LSP by Title II’s self-evaluative regulations

which, Defendants argue, as a court in the Southern District of Texas held, that “[t]he Fifth

Circuit has not specifically ruled on whether there is a private cause of action under”510

the “self-evaluative procedures required by 28 C.F.R. §§ 35.105-107.”511                     While not

specifically addressing the numbered regulations at issue herein, the Fifth Circuit did hold,

generally, in Frame:

        As mentioned, there is no question that Title II and § 504 are enforceable
        through an implied private right of action. Moreover, to the extent Title II's
        implementing regulations “simply apply” Title II's substantive ban on
        disability discrimination and do not prohibit conduct that Title II permits, they
        too are enforceable through Title II's private right of action. This is
        because when Congress intends a statute to be enforced through a private
        right of action, it also “intends the authoritative interpretation of the statute
        to be so enforced as well.”512

In so ruling, the Frame court relied on the Supreme Court’s decision in Alexander v.

Sandoval, where it explained:

        Such regulations, if valid and reasonable, authoritatively construe the
        statute itself, see NationsBank of N.C., N.A. v. Variable Annuity Life Ins.
        Co., 513 U.S. 251, 257, 115 S.Ct. 810, 130 L.Ed.2d 740 (1995); Chevron
        U.S.A. Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 843–
        844, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984), and it is therefore meaningless
        to talk about a separate cause of action to enforce the regulations apart
        from the statute. A Congress that intends the statute to be enforced through
        a private cause of action intends the authoritative interpretation of the
        statute to be so enforced as well.513




510
    Rec. Doc. No. 556 at 183 (quoting Green v. City of Mission, No. 7:18-CV-00049, 2018 WL 2200094, at
*11 (S.D. Tex. May 14, 2018)).
511
    Id.
512
    Frame, 657 F.3d at 224 (internal citations omitted)(emphasis added).
513
    Alexander v. Sandoval, 532 U.S. 275, 284 (2001)(citing NationsBank of N.C., N.A. v. Variable Annuity
Life Ins. Co., 513 U.S. 251, 257, 115 S.Ct. 810, 130 L.Ed.2d 740 (1995); Chevron U.S.A. Inc. v. Natural
Resources Defense Council, Inc., 467 U.S. 837, 843–844, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984)). While
this case addressed the implementing regulations for Title VI, the Court cited to cases involving the ADA
and RA to support the general principle.
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Accordingly, the Court interprets the language in Frame to extend a private cause of

action under Title II’s implementing regulations where the claims relate to a systemic

failure to comply with the ADA.

           Alternatively, as the court stated in Dunn v. Dunn, assuming for the sake of

argument that Defendants are correct that these regulations do not create a private right

of action:

           This would not, however, have made them irrelevant. They are binding
           regulations promulgated by the Department of Justice (which would be
           empowered to bring an enforcement action). When courts have found them
           not to be privately enforceable, as in Ability Ctr. of Greater Toledo v. City of
           Sandusky, 385 F.3d 901, 913–14 (6th Cir.2004) (relying on Alexander v.
           Sandoval, 532 U.S. 275, 121 S.Ct. 1511, 149 L.Ed.2d 517 (2001)), they
           have reasoned that the regulations are designed to facilitate, but do more
           than merely describe, compliance with the ADA, such that “it is conceivable
           that a public entity could fully satisfy its obligations to accommodate the
           disabled while at the same time fail to put forth a suitable transition plan.”

           All this means is that the Department's failure to implement a transition plan
           would not have constituted a per se violation; plaintiffs could not have
           shown liability merely by proving that the Department had no transition plan,
           without showing that the Department had, as a result, failed to
           accommodate prisoners with disabilities. That said, plaintiffs could have
           argued, and proven at trial, that the Department's failure to do the things
           required by these regulations had the effect of discriminating.514

           Following this reasoning, even if Defendants are correct that no private cause of

action exists to enforce the self-evaluation regulations at issue, clearly the violation(s) of

such regulations can support a claim of general, system-wide noncompliance, and courts

across the country have not been unwilling to order injunctive relief mandating compliance

therewith.




514
      318 F.R.D. 652, 663-64 (M.D. Al. 2016)(internal citations omitted).
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         Furthermore, privately enforceable methods-of-administration regulation would

give rise to the claims Plaintiffs have raised. The Dunn court stated:

         Indeed, there is another—privately enforceable—ADA regulation which
         makes clear that policies and practices (or their absence) which result in
         discrimination against people with disabilities are actionable under the ADA,
         even if the policies and practices (such as the three regulations discussed
         above) are not themselves required by the statute. Under this regulation,
         plaintiffs in an ADA case can challenge a policy or practice—whether it is
         one described in another regulation or simply one articulated by the plaintiffs
         themselves—if it causes the public entity to discriminate against them,
         including by failing to accommodate them.515

         Additionally, “an omission as well as a commission can be an actionable method

of administration.”516 The Dunn court noted:

         The methods-of-administration regulation makes clear that a know-nothing,
         do-nothing policy of non-administration is a privately actionable violation of
         the ADA, at least when plaintiffs can show that it has the effect of
         discriminating. As Justice Marshall explained in Alexander v. Choate,
         Congress designed the Rehabilitation Act, the predecessor statute to the
         ADA, to address not only “invidious animus,” but also, more commonly,
         “thoughtlessness and indifference—[ ] benign neglect.” 469 U.S. 287, 295,
         105 S.Ct. 712, 83 L.Ed.2d 661 (1985). Courts have consistently explained
         that “Title II [of the ADA] imposes affirmative obligations on public entities
         and does not merely require them to refrain from intentionally discriminating
         against the disabled.” Ability Ctr. of Greater Toledo v. City of Sandusky, 385
         F.3d 901, 910 (6th Cir.2004); see also Disabled in Action v. Bd. of Elections
         in City of N.Y., 752 F.3d 189, 200–01 (2d Cir.2014); Toledo v. Sanchez, 454
         F.3d 24, 32 (1st Cir.2006); Bennett–Nelson v. La. Bd. of Regents, 431 F.3d
         448, 454–55 (5th Cir.2005); Constantine v. Rectors & Visitors of George
         Mason Univ., 411 F.3d 474, 488 (4th Cir.2005). Under the ADA, a public
         entity must be “proactive.” Clemons v. Dart, 168 F.Supp.3d 1060, 1068–69,
         2016 WL 890697, at *6 (N.D.Ill. Mar. 9, 2016) (Tharp, J.).517

         A prison’s failure to follow its own, internal procedures is also relevant to this overall

determination. In Holmes v. Godinez, an ADA class challenge brought by handicapped



515
    Id. at 664.
516
    Id. at 665.
517
    Id. at 665 n. 12.
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inmates against the prison, the plaintiffs alleged violations of the ADA by a system-wide

policies and practices, including the prison’s failure to follow its own, internal ADA

directives and/or policies or failure of those policies to adequately remedy barriers to

access: “Whether the ADA Directive—an express and undisputed statement of IDOC

system-wide policy—satisfies IDOC's obligations under the ADA is indeed a common

question apt to drive resolution of the litigation.518

           Applying the foregoing law and jurisprudence to the facts found above, the Court

finds that the LSP methods of administration at LSP violate the ADA and RA by failing to

provide adequate access and accommodations to its disabled inmates due to neglect

and/or failure to follow both Title II’s implementing regulations and failure to follow some

of LSP’s own ADA Directives. As the court noted in Holmes v. Godinez:

           Plaintiffs present a slew of different programs, activities, and services for
           which they contend IDOC fails to provide reasonable accommodations
           under the ADA. These include: (1) reception and classification; (2)
           orientation; (3) educational and vocational programs; (4) work programs; (5)
           counselor services; (6) medical, mental health, and rehabilitative services;
           (7) religious services; (8) telephones; (9) televisions; (10) library services;
           (11) disciplinary proceedings; (12) emergency and routine notification
           services; (13) grievance process; and (14) pre-parole services. (See Compl.
           ¶¶ 63–140.) In conducting our analysis, we consider Plaintiffs' claims
           as to each one of these programs separately. See Fed. R. Civ. P. 56(g);
           Phipps, 681 F.Supp.2d at 919 (ruling separately on wheelchair-bound
           plaintiffs' three claims that prison did not provide them shower chairs,
           shower bars, and accessible sinks). We reiterate that an ADA violation
           exists only if the defendant's action or inaction prevents the plaintiff from
           participating in a program, activity or service. Certain of Plaintiffs'
           complaints, such as IDOC's alleged failure to properly train its employees
           and centrally track hearing impaired offenders, do not specifically target
           programs, activities, or services, and thus cannot alone sustain a claim
           under the ADA. (See SJ Reply at 4, Dkt. 258.) Despite this limitation, that
           evidence is still relevant to the extent such inaction contributed to a


518
      311 F.R.D. 177, 219 (N.D. Ill. 2015).
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        widespread denial of access to the programs, activities, and services
        that Plaintiffs do challenge.519

                a.      ADA Coordinator/Advisory Committee

        Public prisons are required by ADA implementing regulations to maintain an ADA

Coordinator. 28 C.F.R. § 35.107 provides that:

        A public entity that employs 50 or more persons shall designate at least
        one employee to coordinate its efforts to comply with and carry out its
        responsibilities under this part, including any investigation of any complaint
        communicated to it alleging its noncompliance with this part or alleging any
        actions that would be prohibited by this part.520

Additionally, LSP Directive 01.016 states:

        The ADA coordinator shall possess the educational background,
        experience and skills necessary to carry out all of the duties and
        responsibilities of the position, and have knowledge and experience in
        dealing with the legal rights of persons with disabilities and the obligations
        of public entities under Federal and State disability laws.521

        Although it is undisputed that LSP has maintained a designated ADA Coordinator

for all time periods relevant to this litigation, the Court finds that the ADA Coordinators

are mere “window dressing.” They have not been sufficiently trained and educated to

effectively carry out their obligations under the ADA; in some instances, this role has been

secondary to other roles at LSP, and oversight is lacking. The lack of a qualified ADA

Coordinator contributes to LSP’s system-wide failure to comply with the ADA. Likewise,

the inexplicable ignorance of the LSP Directive requiring an ADA advisory committee,

while not violative by itself, demonstrates and contributes to LSP’s systemic failure to

ensure compliance with the ADA.



519
    Id. at 226 (emphasis added).
520
    Emphasis added.
521
    JX 7-a at 1.
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                        b.      Staff Training

        The Court found that LSP staff are not adequately trained to identify ADA issues

within the disabled inmate population. This lack of training contributes to the systemic

failure to accommodate disable inmates as required by the ADA. In Clark v. California,

the court found that staff training, including ADA training similar to the training exhibited

in this case, was “essential to the provision of necessary services … and “apparently

insufficient on its own to meet the statutory minimal levels of care.”522 The court also

stated that: “The current training regimen is clearly inadequate to prepare staff members

to adequately preserve Plaintiffs' rights,” and the court ordered further injunctive relief

regarding the training issue.523 Similarly, in Armstrong v. Davis, the district court found

an ADA violation where some staff received a one-hour training that many employees

could not recall, while others received “virtually no general training pertaining to the

identification and accommodation of disabled prisoners and parolees,” because “[w]ithout

training, even when staff have sufficient information before them to identify and

accommodate disabilities, they do not do so because they lack the necessary skills.”524

The Ninth Circuit affirmed in relevant part the district court’s order requiring all personnel

with relevant roles to undergo training “in the general requirements of the ADA, disability

awareness, the appropriate method of determining whether a prisoner adequately

understands written and verbal communications, and other relevant policies and

procedures.”525


522
    739 F.Supp.2d 1168, 1231 (N.D. Cal. 2010).
523
    Id. at 1234.
524
    No. 94-2307 CW,1999 WL 35799705 at *31 (N.D. Cal. Dec. 22, 1999).
525
    275 F.3d 849, 859 (9th Cir. 2001), abrogated on other grounds by Johnson v. California, 543 U.S. 499
(2005)).
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                c.       Failures of Notice/Processing/Tracking

        While Plaintiffs failed to carry their burden of demonstrating that Defendants fail to

provide notice of their ADA rights and LSP’s procedures in widespread fashion, Plaintiffs

did prove that Defendants do not follow their own procedures in practice, fail to

appropriately process accommodation requests, and fail to track inmates’ disabilities and

accommodation requests, all of which contribute to LSP’s systemic failure to comply with

the ADA. In Armstrong v. Brown, the Ninth Circuit affirmed the district court’s finding that

class members’ ADA rights were violated where they lacked access to “functional and

timely grievance procedures at county jails to request and obtain disability

accommodations.”526 Similarly, in Armstrong v. Davis, the Ninth Circuit held that the

prison’s accommodations procedures violated ADA where the practice was “to rely

primarily on Department employees untrained in issues of disability to determine whether

an individual is disabled or not, what accommodations are appropriate if he is, and

whether those accommodations will be provided.”527 The court also held that: “Because

the regulations implementing the ADA require a public entity to accommodate individuals

it has identified as disabled, some form of tracking system is necessary in order to enable

the Board to comply with the Act.”528

                         3.      Failure to Accommodate

        “The     ADA       provides      for    reasonable       accommodation,           not    preferred


526
    857 F.Supp.2d 919, 933 (N.D. Ca. 2012).
527
    275 F.3d at 863.
528
    Id. at 876. See also Hernandez, 110 F. Supp. 3d at 960 (requiring defendants to propose a remedial
plan that would include a “system for identifying and tracking all inmates who are qualified individuals with
disabilities,” as well as “a system for identifying and tracking the reasonable accommodations necessary
for qualified inmates with disabilities to participate in programs, services and activities offered by
Defendants at the jail”).
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accommodation.”529 Even in a prison setting, “[t]he accommodation of the inmate's

disability need not be ideal; instead, it need only be reasonable and effective.530 Further,

a correctional facility is afforded deference in its determination of an appropriate

accommodation.”531 However, in evaluating a disability for purposes of the ADA, courts

should be cautious not to confuse a disagreement with, or inadequate medical treatment

for, a disability with intentional discrimination because of a disability. Indeed, this Court

held in George v. Louisiana Dep't of Pub. Safety & Corr., “[g]enerally, the ADA prohibits

discrimination because of disability, not inadequate treatment for disability. Thusly

interpreted by sundry courts, the ADA is not violated by a prison failing to attend to the

medical needs of its disabled prisoners.”532

                         a.      Availability of Assistive Devices and Auxiliary Aids

        28 C.F.R. § 35.160(b)(1) requires that “[a] public entity shall furnish appropriate

auxiliary aids and services where necessary to afford individuals with disabilities,

including applicants, participants, companions, and members of the public, an equal

opportunity to participate in, and enjoy the benefits of, a service, program, or activity of a

public entity.” Indeed, “[t]he ADA does not create a remedy for medical malpractice.”533


529
    Stafford v. King, No. 11–242, 2013 WL 4833863, at *2 (S.D. Miss. Sept. 11, 2013) (citing EEOC v. Agro
Distrib., 555 F.3d 462, 471 (5th Cir. 2009)).
530
    Arce v. Louisiana, 226 F.Supp.3d 643, 651 (E.D. La. 2016)(citing Wells v. Thaler, 460 Fed.Appx. 303,
313 (5th Cir. 2012)).
531
    Id. (citing Wells, at 313).
532
    No. CV-3:14-00338-JWD-EWD, 2016 WL 3568109, at *10 (M.D. La. June 23, 2016).
533
    Walker v. LeBlanc, No. 13-553-JJB-RLB, 2015 WL 1276578, *8 (M.D. La. Mar. 19, 2015)(quoting Brown
v. Wilson, 2012 WL 6719464, *3 (N.D.Tex. Dec. 27, 2012)(quoting Moore v. Prison Health Services, Inc.,
24 F.Supp.2d 1164, 1168 (D.Kan.1998), affirmed, 201 F.3d 448 (10th Cir.1999))(internal quotation marks
omitted); see also Nottingham v. Richardson, 499 Fed. Appx. 368, 377 (5th Cir.2012)(finding that “[t]he
ADA is not violated by ‘a prison's simply failing to attend to the medical needs of its disabled prisoners'”);
Hay v. Thaler, 470 Fed. Appx. 411, 418 (5th Cir.2012) (finding no ADA violation where the plaintiff
complained that prison officials refused to provide him with dentures but where the plaintiff made no
showing that the refusal was “by reason of his disabilities”); Moore v. Prison Health Services, Inc., 201 F.3d
448 (5th Cir.1999)(noting that the ADA “afford[s] disabled persons legal rights regarding access to programs
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         Another section of this Court noted in Hacker v. Cain that “’[t]he ADA prohibits

discrimination because of disability, not inadequate treatment for disability.’”534 Thus,

“neither the RA nor the ADA is violated by a prison's simply failing to attend to the medical

needs of its disabled prisoners.”535 Just like in medical indifference cases, “it ‘does not

create a remedy for medical malpractice,’”536 and “‘purely medical decisions ... do not

ordinarily fall within the scope of the ADA or the Rehabilitation Act.’”537 On the other hand,

as the Court noted in Cleveland v. Gautreaux:

        Despite this body of law, however, a contrary principle controls in
        accommodations cases: in case after case, “the Fifth Circuit has held that a
        defendant's failure to make the reasonable modifications necessary to
        adjust for the unique needs of disabled persons can constitute intentional
        discrimination under the ADA.” Hacker, 2016 U.S. Dist. LEXIS 73014, at
        *40, 2016 WL 3167176, at *13 (citing Melton v. Dall. Area Rapid Transit,
        391 F.3d 669, 672 (5th Cir.2004), and Garrett v. Thaler, 560 Fed.Appx. 375,
        382 (5th Cir.2014)). As one court explained, “failure to make reasonable
        accommodations to the needs of a disabled prisoner may have the effect of
        discriminating against that prisoner because the lack of an accommodation
        may cause the disabled prisoner to suffer more pain and punishment than
        non-disabled prisoner.” McCoy v. Tex. Dep't of Crim. Justice, No. C–05–
        370, 2006 WL 2331055, at *7 (S.D.Tex. Aug. 9, 2006); see also United
        States v. Georgia, 546 U.S. 151, 157, 126 S.Ct. 877, 880–81, 163 L.Ed.2d
        650, 658 (2006). In fact, “where the defendant otherwise had knowledge of
        the individual's disability and needs but took no action,” not even the failure
        to expressly request a specific accommodation (or modification) fatally
        undermines an ADA claim. Greer v. Richardson Indep. Sch. Dist., 472
        Fed.Appx. 287, 296 (5th Cir.2012); see also Borum v. Swisher Cnty., No.



and activities enjoyed by all, not a general federal cause of action for challenging the medical treatment of
their underlying disabilities”)).
534
     No. 3:14-00063-JWD-EWD, 2016 WL 3167176, at *19 (M.D. La. June 6, 2016)(quoting Simmons v.
Navajo Cnty., Ariz., 609 F.3d 1011, 1022 (9th Cir. 2010)).
535
    Id. (citing Grzan v. Charter Hosp. of Nw. Ind., 104 F.3d 116, 121, 123 (7th Cir. 1997) (as to Section 504);
Bryant v. Madigan, 84 F.3d 246, 249 (7th Cir. 1996) (as to the ADA); see also, e.g., Kiman v. N.H. Dep't of
Corr., 451 F.3d 274, 284 (1st Cir. 2006) (emphasizing that “courts have differentiated ADA claims based
on negligent medical care from those based on discriminatory medical care”); Lesley v. Chie, 250 F.3d 47,
55 (1st Cir. 2001) (“[A] plaintiff's showing of medical unreasonableness [under the Rehabilitation Act] must
be framed within some larger theory of disability discrimination.”)).
536
    Id. (quoting Bryant, 84 F.3d at 249).
537
    Id. (quoting Fitzgerald v. Corr. Corp. of Am., 403 F.3d 1134, 1144 (10th Cir. 2005)).
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           2:14–CV–127–J, 2015 WL 327508, at *9 (N.D.Tex. Jan. 26, 2015); Hinojosa
           v. Livingston, 994 F.Supp.2d 840, 843–44 (S.D.Tex.2014).538

           Plaintiffs failed to carry their burden in proving that LSP systemically fails to

accommodate disabled inmates with auxiliary and/or assistive devices. In light of the

Court’s findings of fact set forth above, the Court finds that most of the evidence Plaintiffs

presented on this issue demonstrates a disagreement with medical treatment and/or

dissatisfaction with not receiving a preferred accommodation, rather than blatant failures

to accommodate in the provisions of such aids/devices.

                           b.      Work Assignments/Duty Status

           “A ‘duty status’ is a written designation assigned by a prison medical doctor

indicating an inmate's physical or mental ability to perform hard labor in accordance with

his sentence. Duty statuses are generally assigned by physicians following a medical

evaluation, and they are subject to change depending on changes in the medical

condition of a particular inmate. Duty statuses may range from no duty (indicating a need

for bed rest), to light duty or regular duty with restrictions, and finally to regular duty

without restrictions (indicating the inmate is capable of performing any and all hard

labor).”539

           Although the inmate testimony and evidence presented by Plaintiffs regarding

failures to accommodate disabled inmates in work assignments and duty statuses failed

to demonstrate a violation of the ADA, the Court notes that this is not because Plaintiffs

failed to establish that certain inmates suffered from a disability, as argued by Defendants

regarding diabetes and asthma. Notably, and contrary to Defendants’ contentions and


538
      198 F.Supp.3d 717, 746 (M.D. La. 2016).
539
      Armant v. Stalder, 287 Fed. Appx. 351, 352 n. 1 (5th Cir. 2008).
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outdated jurisprudence, both diabetes and asthma can be considered disabilities under

the ADA. “The ADA Amendments Act of 2008 (“ADAAA”) essentially broadened the

definition of ‘disability’ to make it easier for an individual seeking protection under the ADA

to establish that he or she has a disability.540 The ADAAA did not alter the definition of

disability, but it added provisions 42 U.S.C. § 12102(2)-(4) to supersede cases that

interpreted the scope of ‘disability’ narrowly.”541 Under these amendments, the term

“‘disability’ now includes an impairment that is episodic or in remission if it would

substantially limit a major life activity when active; examples include epilepsy,

hypertension, asthma, diabetes, major depression, bipolar disorder, schizophrenia, and

cancer.”542 The Fifth Circuit has noted that diabetes is a qualifying disability affecting the

endocrine system.543

        Nevertheless, pursuant to the facts found above, Plaintiffs failed to demonstrate a

systemic ADA violation in the failure to accommodate disabled inmates in work

assignments and duty statuses.

                                     c. Dietary Accommodations

        While the ADA clearly requires dietary accommodations where an inmate’s

disability warrants,544 Plaintiffs failed to demonstrate more than two instances where such

needs at LSP were ostensibly unmet. Thus, the evidence presented failed to demonstrate



540
    McNeal v. Louisiana Department of Public Safety and Corrections, No. 20-312-JWD-EWD, 2021 WL
359737, at *13 (M.D. La. Feb. 2, 2021)(citing Neely v. PSEG Texas, Ltd. P'ship, 735 F.3d 242, 245–46 (5th
Cir. 2013)).
541
    Id. (citing Neely, 735 F.3d 245).
542
    Weed v. Sidewinder Drilling, Inc., 245 F.Supp.3d 826, 834 (N.D. Tex. 2017)(citing ADA Amendments
Act of 2008, §§ 4, § 3(4)(D), 122 Stat. 3553, 3555; 29 C.F.R. § 1630(j)(5))(emphasis added).
543
    Marlowe v. LeBlanc, No. 18-00063-BAJ-EWD, 2020 WL 6276956, at *10 (M.D. La. Oct. 26, 2020)(citing
Clark v. Champion Nat'l Sec., Inc., 952 F.3d 570, 578 n.15 (5th Cir. 2020)).
544
    See e.g., id., 2020 WL 6276956 at *10-*11.
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a general, systemic failure by LSP to accommodate disabled inmates’ dietary restrictions.

However, the Court rejects Defendants’ contention that diabetes is not disability subject

to a dietary accommodation as contradicted by the jurisprudence set forth above.

                                d. Disability Accessible Transportation

        "Because public entities must make modifications that are necessary to avoid

discrimination on the basis of disability, liability does not depend on evidence of

purposeful discrimination.”545 Rather, “a plaintiff must simply show that ‘but for’ his

disability, he would not have been deprived of the services or benefits he desired.546 In

the prison context, failure to accommodate the needs of a disabled prisoner is

discrimination if it causes the disabled prisoner to suffer more pain and punishment than

non-disabled prisoners.”547

        Defendants misconstrue this Court’s holding in Miller v. Chapman548 by arguing

that this Court held that “[t]here is no affirmative obligation under the ADA to transport

disabled persons in handicap-accessible vehicles.”549 What the Court actually held was

that, at the Rule 12(b)(6) stage, the plaintiff’s argument that “LSP has a responsibility

under the law to provide a handicapped equipped van to transport handicapped inmates




545
    Coker v. Dallas County Jail, No. 3:05-CV-005-M (BH), 2009 WL 1953038, at *17 (N.D. Tex. Feb. 25,
2009)(citing Patterson v. Kerr County, No. SA-05-CA-0626-RF, 2007 WL 2086671, at *7 (W.D.Tex. July
18, 2007)).
546
    Id. (citing Patterson at *7)(citing Wisconsin Cmty. Servs., Inc. v. City of Milwaukee, 465 F.3d 737, 752
(7th Cir.2006))).
547
    Id. (citing McCoy v. Tex. Dep't of Crim. Justice, 2007 WL 2331055, at *7 (S.D.Tex. Aug. 9, 2006) (citing
U.S. v. Georgia, 546 U.S. 151, 157, 126 S.Ct. 877, 163 L.Ed.2d 650 (2006) (“[I]t is quite plausible that the
alleged deliberate refusal of prison officials to accommodate [the inmate's] disability-related needs in such
fundamentals as mobility, hygiene, medical care, and virtually all other prison programs constituted
‘exclu[sion] from participation in or ... deni[al of] the benefits of’ the prison's ‘services, programs, or
activities.’”))).
548
    No. 13-00367-SDD, 2014 WL 2949287 (M.D. La. June 30, 2014).
549
    Rec. Doc. No. 556 at 167.
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safely” was “alone [] insufficient to support a claim of discrimination based on Plaintiff's

disability arising under the ADA and the RA.”550 The Court ruled so because the plaintiff

failed to plead any supporting factual allegations with this statement; however, the Court

granted the plaintiff leave to amend his complaint.551 Further, the Court disagrees with

the notion that LSP does not have an affirmative obligation to accommodate disabled

inmates in safe transportation, particularly when the need for such accommodation is

readily known without the need for a request.

        In Reyes v. Razor, a disabled, wheelchair-bound inmate sued the prison under the

ADA and RA alleging he was discriminated against on the basis of his disability by the

prison’s failure to provide a handicap bus to transport him on one occasion.552 The court

dismissed the plaintiff’s ADA/RA claims, noting that he pled no facts to show that the

prison “systemically denies handicap accessible transportation for inmates with

disabilities.”553

        In Allah v. Goord, the court maintained a claim brought by an inmate against the

prison that allegedly violated the ADA by transporting him in an unsafe vehicle.554 The

plaintiff alleged that the prison knew or should have known of the dangers wheelchair-

bound prisoners are exposed to when they are transported in an unsafe vehicle; yet,

despite this knowledge, the prison allegedly failed to remedy the unsafe transportation

conditions by providing training, supervision or new equipment to prison personnel. The

plaintiff further argued that this policy was “motivated by ill will or animus towards


550
    Miller, 2014 WL 2949287, at * 3.
551
    Id.
552
    No. 3:16-CV-0314, 2018 WL 3632100, at *5 (S.D. Tex. July 30, 2018).
553
    Id.
554
    405 F.Supp.2d 265 (S.D. N.Y. 2005).
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prisoners with disabilities who require a wheelchair for mobility”555 because “prisoners

who do not require a wheelchair for mobility are transported to outside medical providers

in a safe manner.”556 The court found that the plaintiff stated a claim under the ADA.

        Nevertheless, based on the findings of fact set forth above, the Court cannot

conclude that Plaintiffs herein carried their burden of demonstrating sufficient evidence to

show a systemic denial of transportation accommodations that would support class-wide

injunctive relief on this issue. The Court maintains, however, that LSP does have the

obligation under the ADA and RA to accommodate disabled inmates in transportation in

instances where the need is readily known or knowable, without a formal request.557

Danny Prince’s testimony reinforces that LSP would not transport inmates in need of the

handicap van if it was not available, and the inmates call-out would be rescheduled,558

resulting in an unconstitutional delay of medical care under the Eighth Amendment but

not disability discrimination.

                                      e. Discipline Accommodations

        The Court acknowledges that “[m]aintenance of prison security is a legitimate

function of prison officials, who must be accorded broad discretion in that function.”559



555
    Id. at 276.
556
    Id. at 279.
557
    The Court understands that this determination still requires evaluation on a case-by-case basis.
558
    The Court acknowledges this testimony cuts both ways – the lack of availability of a handicap van caused
inmates in need of care to suffer delays; however, on the issue of accommodating disabled inmates in
transportation, it demonstrates an acknowledgment that such an accommodation is mandated for disabled
inmates.
559
     Williamson v. Larpenter, 2019 WL 3719761, at *12 (E.D. La. July 15, 2019)(citing Waganfeald v.
Gusman, 674 F.3d 475, 485 (5th Cir. 2012), petition for cert. filed, 81 U.S.L.W. 3064 (U.S. July 18, 2012)
(No. 12-85) (citing Whitley v. Albers, 475 U.S. 312, 322 (1986); Bell v. Wolfish, 441 U.S. 520, 546–47
(1979))(“[S]ecurity considerations are peculiarly within the province and professional expertise of
corrections officials, and, in the absence of substantial evidence in the record to indicate that the officials
have exaggerated their response to these considerations, courts should ordinarily defer to their expert
judgment in such matters.”) (quotation omitted)).
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However, a prison must evaluate a disabled inmate's needs and the accommodations

necessary to ensure reasonable access to prison services, and failure to do so violates

the ADA and RA as a matter of law.560 This obligation to provide accommodations applies

to the discipline of disabled inmates, as well:           “A failure to provide a reasonable

accommodation can occur where a correctional officer could have used less force or no

force during the performance of his or her penological duties with respect to a disabled

person. A failure to provide a reasonable accommodation, or discrimination by reason of

disability, constitutes a violation of the ADA[.]”561

       The Ninth Circuit has held that the second element of this test can be
       satisfied where a law enforcement officer could have used less force or no
       force during the performance of his law-enforcement duties with respect to
       a disabled person. See Sheehan v. City & Cty. of San Francisco, 743 F.3d
       1211, 1232-33 (9th Cir. 2014), rev'd on other grounds sub nom., City & Cty.
       of San Francisco, Calif. v. Sheehan, 575 U.S. 600 (2015) (holding that a
       failure to reasonably accommodate a person's disability in the course of an
       investigation or arrest by using unnecessary force, causing the person to
       suffer “greater injury or indignity in that process than other arrestees,” gives
       rise to a claim under § 12132, and that a reasonable jury could conclude
       that a police officer's failure to use less force or no force during an arrest of
       a person with mental illness could constitute a failure to provide a
       reasonable accommodation in violation of § 12132); Vos v. City of Newport
       Beach, 892 F.3d 1024, 1037 (9th Cir. 2018), cert. denied sub nom. City of
       Newport Beach, Cal. v. Vos, 139 S. Ct. 2613 (2019) (same). When applied
       in the prison context, it follows that the second element of a § 12132 claim
       can be satisfied where a correctional officer could have used less force or
       no force during the performance of his or her penological duties with respect
       to a disabled person.562

       From the trial evidence, the Court concludes that the ADA Coordinator and medical

staff at LSP employ a completely “hands off” approach to discipline, even as it relates to

the discipline of disabled inmates. In the Court’s view, this violates the ADA and RA. The


560
    Pierce v. District of Columbia, 128 F.Supp.3d 250, 271–72 (D.D.C. 2015).
561
    Armstrong v. Newsom, No. 94-cv-02307 CW, 2021 WL 933106, at *3 (N.D. Cal. Mar. 11, 2021).
562
    Id. at *25.
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Court finds that the lack of medical oversight in disciplinary decisions for disabled inmates

creates a serious risk that disabled inmates will be disciplined in the same manner as

non-disabled inmates, without taking into consideration any accommodations in discipline

that may be warranted by a disabled inmate’s medical condition(s).

        4.       Exclusionary Policies

        Numerous courts have held that prisons must provide disabled inmates access to

work assignments and recreational services; they are not to be excluded simply because

they are disabled.563

                         a.       Hobby Craft

        On its face, the hobby craft policy does constitute a blanket denial of access for

disabled inmates; however, as applied, disabled inmates can apply for hobby craft, albeit

through the ARP process. The Court finds that this process does not violate the ADA

because all inmates at LSP must apply for the privilege of hobby craft. Thus, the Court

does not find that the hobby craft program is discrimination because of an inmate’s

disability. Defendants presented credible evidence that exceptions to the exclusionary

policy can be made, and are made, where appropriate, after evaluation by medical staff.

The two examples Plaintiffs presented are insufficient to carry their burden. As to C.F.,

the ARP records regarding his request to participate in hobby shop undermine Plaintiffs’


563
    See Holmes, 311 F.R.D. at 227 (“Numerous other courts, including in this circuit, have permitted
prisoners to bring Title II ADA claims related to job assignments. See Jaros, 684 F.3d at 673 (permitting
plaintiff to proceed with his Rehabilitation Act claim that IDOC prevented him from participating in work
release program because of his cane); Hale v. King, 642 F.3d 492, 499 (5th Cir.2011) (finding the plaintiff's
allegation that the defendant prevented him from working in a prison kitchen because of his disability stated
a claim under Title II of the ADA); Neisler, 2015 WL 998439, at *5 (allowing prisoner to pursue an
employment-related claim under Title II of the ADA); Muhammad v. Randle, 9 C 1014, 2010 WL 2680708,
at *2 (S.D.Ill. July 2, 2010) (allowing prisoner to pursue Title II ADA claim related to prison work); see also
Love, 103 F.3d at 560 (affirming verdict under the ADA in favor of prisoner who was denied access to the
prison's work programs))).
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argument that denials are perfunctorily given without medical assessment of safe

participation.     Rather, the records indicated medical conditions for which it was

reasonable for a medical professional to determine whether C.F.’s participation in hobby

craft was appropriate, and the records demonstrate that the medical staff evaluated C.F.’s

medical conditions when considering his request. Thus, the Court finds that Plaintiffs

failed to present sufficient evidence to establish an ADA violation as to access to hobby

craft. Further, the Court notes that it is not the role of the Court to second-guess the

medical decisions and treatment protocols determined by medical staff for such

programs; rather, under the ADA, the Court is only evaluating whether the entire sub class

of disabled inmates were systemically denied access to hobby shop because of their

disabilities. This was not proven.

                               b. Duty Status/Work Release Program

        In Yeskey, the Supreme Court noted that “[m]odern prisons provide inmates with

many recreational activities, medical services, and educational and vocational programs,

all of which at least theoretically benefit the prisoners and any of which disabled prisoners

could be ‘excluded from participation in.”564 Another section of this Court denied summary

judgment in Guy v. LeBlanc, where a hearing-impaired inmate asserted that the prison

violated the ADA and RA by prohibiting him from (1) using the teletypewriter phone, (2)

obtaining a paying job, (3) participating in sports, (4) participating in hobbycraft, and (5)




564
    524 U.S. at 210 (internal quotation and parenthetical marks omitted). See also McGuire v. Lafourche
Parish Work–Release Facility, No. 09-6755, 2009 WL 4891914, *6 (E.D.La. Dec. 4, 2009)(deferring for
further development the inmate plaintiff's claim regarding an alleged ADA violation arising from denial of
participation in a work-release program).
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participating in rodeo.”565      The Court noted that “[t]he implementing regulations of the

ADA forbid the Department from

        impos[ing] or apply[ing] eligibility criteria that screen out or tend to screen
        out an individual with a disability or any class of individuals with disabilities
        from fully and equally enjoying any service, program, or activity, unless such
        criteria can be shown to be necessary for the provision of the service,
        program, or activity being offered.566

        In evaluating the plaintiff’s complaint about access to the TTY phone, the Court

noted that the defendant’s policy regarding TTY phones excluded use “unless the

prisoner shows ‘profound hearing loss that keeps him from utilizing a telephone with an

amplified headset.’”567       The Court ruled that “a reasonable jury could find that the

Department's ‘profound hearing loss’ standard creates an ‘eligibility criteria’ that tends to

‘screen out’ a class of hearing-impaired persons whose impairments do not rise to the

level of ‘profound hearing loss.’”568

        As to the plaintiff’s exclusion from incentive pay, the Court rejected the defendant’s

argument that it denied the plaintiff’s access to incentive pay jobs based on “classification

decision” and not discrimination.569 The Court noted that “Louisiana law requires that the

Department ‘provide employment opportunities and vocational training for all inmates,

regardless of gender, consistent with available resources, physical custody, and

appropriate classification criteria.’570 ‘Classification of prisoners is a matter left to the




565
    400 F.Supp.3d 536, 543 (M.D. La. 2019).
566
    28 C.F.R. § 35.130(b)(8). The Court notes that this section also applies to hobby craft where, on its
face, the policy screens out all disabled inmates. Nonetheless, as set forth above, because hobby craft is
a privilege, ostensibly all inmates, disabled or not, must apply and are screened for participation.
567
    Guy, 400 F.Supp.3d at 543.
568
    Id. (quoting 28 C.F.R. § 35.130(b)(8)).
569
    Id. at 543-544.
570
    Id. at 544 (quoting La. Rev. Stat. § 15:832(A)).
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discretion of prison officials.’”571 The Court rejected the defendants’ motion on this issue,

finding:

        The record reflects that the Department housed Guy in “working cell blocks”
        because he received disciplinary violations. (Doc. 19-8 at p. 3). In a “working
        cell block,” offenders are “automatically assigned to the field.” (Doc. 19-4 at
        p. 154). Because of his “no field” duty status, Guy could not perform paying
        field work. (Doc. 18-10). But his duty status is attributable to his hearing
        impairment; so it is his impairment—not his history of disciplinary
        violations—that ultimately made him ineligible for a paying job, despite his
        undisputed ability to perform some paying work at Angola. (Docs. 21-2 at ¶
        13; 27-1 at ¶ 13).

        Accordingly, viewing the facts and drawing all reasonable inferences in
        Guy's favor, the Court concludes that a reasonable jury could find that the
        Department violated the ADA and RA by denying Guy incentive pay for a
        nine-month period from 2016–2017.572

        Turning to sports, the defendant claimed it did not violate the ADA or RA in denying

the plaintiff access to sports “because safety – not discrimination – accounts for the

denial.”573 The Court also rejected this argument, finding:

        As a public entity, the Department may “impose legitimate safety
        requirements necessary for the safe operation of... services, programs, or
        activities.” 28 C.F.R. § 35.130(h). But it “must ensure that its safety
        requirements are based on actual risks, not on mere speculation,
        stereotypes, or generalizations about individuals with disabilities.” Id.

        The testimony of Angola's medical director, Dr. Randy Lavespere, tends to
        show that the Department's “safety requirements” are based on
        generalizations and speculation—not an individualized assessment of
        Guy's hearing impairment. See 28 C.F.R. § 35.130(h). For example, Dr.
        Lavespere testified, categorically, that he “won't make an adjustment for
        sports.” (Doc. 19-4 at p. 69). Worse, he testified that Guy's hearing
        impairment places him at an “increased risk” playing the sport of
        “pickleball”—a non-contact sport he admitted not knowing. (Docs. 19-4 at
        pp. 71, 90).574


571
    Id. (quoting McCord v. Maggio, 910 F.2d 1248, 1250 (5th Cir. 1990)).
572
    Id.
573
    Id.
574
    Id.
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        Similarly, the Court rejected the defendant’s contention that it did not discriminate

against the plaintiff in denying him access to hobbycraft because it argued “its medical

director ‘would potentially allow’ Guy to participate in ‘certain’ hobbycraft activities.”575

The Court stated: “The contention lacks merit. A public entity's assurance that it will not

violate the ADA and RA in the future does not immunize it from liability for past

violations.”576

        Guy testified that he would like to participate in the prison's leather-working
        program. (Doc. 19-3 at pp. 50). To that end, he requested access to leather-
        working and other hobbycraft activities. (Doc. 19-7 at pp. 3–4). The
        Department denied the request without explaining why Guy cannot safely
        perform these activities. (Id. at p. 5). Angola's medical director, Dr.
        Lavespere, even testified that certain hobbycraft activities, such as leather
        work and painting, pose “no inherent danger to [Guy].” (Doc. 19-4 at p. 69).
        So it is unclear what motive—other than disability discrimination—drove the
        Department's denial of Guy's request to participate in hobbycraft
        activities.577

        What is clear from the Guy decision is that a prison’s implementation of policies

that creates an “eligibility criteria” that tends to “screen out” a class of persons based

solely on their medical conditions and/or disabilities is a violation of the ADA’s

implementing regulations. Defendants cannot automatically exclude disabled inmates

from various programs and activities based solely on their disabled or medical status and

then justify such exclusion by arguing they will consider exceptions where the inmate

makes a request. This practice is the opposite of what the ADA and RA require.

        Plaintiffs presented uncontroverted evidence that certain disabled inmates are

issued “no duty” status work assignments based solely on their disabilities, which



575
    Id. at 545.
576
    Id. (citing 42 U.S.C. § 12132; 29 U.S.C. § 794(a)).
577
    Id.
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precludes them from participating in work release, work assignments, hobby craft, and

other programs. The Court finds that this is a violation of the ADA and implementing

regulations. The Court notes that it is not a violation of the ADA or RA for the prison’s

medical staff to properly evaluate and determine, on a individualized basis, that certain

programs or activities are unsafe for certain inmates; however, a blanket denial or

classification turns the regulations on their head and places the burden on disabled

inmates to demand access to programs that the prison is obligated to provide in the first

place.

IV.      CONCLUSION/INJUNCTIVE RELIEF

         For the reasons set forth above, the Court holds that the Defendants, in their official

capacities, are violating the Eighth Amendment rights of the Plaintiff Class and the ADA

and RA rights of the Plaintiff Subclass. Based on the overwhelming evidence presented

at trial, judgment shall be entered in favor of Plaintiffs following the remedy phase. The

Court shall order injunctive relief regarding the following deficiencies:

         (1) Failing to provide constitutionally adequate clinical care in the following

            particulars: privacy in examinations; lack of routine medical equipment in exam

            rooms; lack of adequate medical records management; lack of clinical hygiene

            and spacing; episodic treatment of complaints;

         (2) Failing to provide adequate medical care with qualified providers at sick call;

         (3) Failing to provide access to medically necessary specialty care in a timely

            manner; failure to schedule and track specialty appointments; failure to comply

            with testing and diagnostic requirements; failure to execute appropriate follow-

            up care ordered by specialty care providers; and failure to coordinate care;
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      (4) Failing to provide constitutionally adequate emergency care in the evaluation

         and assessment of emergencies by qualified providers and failing to timely treat

         and/or transport to hospital for emergent care;

      (5) Failing to provide adequate, qualified staff in infirmary/inpatient care;

      (6) Failing to provide medical leadership and organization in the following

         particulars: lack of meaningful mortality review; use of correctional personnel

         to manage medical decisions; lack of peer review; lack of medical staff

         involvement in budgeting; lack of medical supervision by Dr. Lavespere; and

         failure to maintain proper credentialing records;

      (7) Failing to comply with the ADA and RA in providing disabled inmates access to

         programs and services due to physical and architectural barriers;

      (8) Failing to provide adequately trained, staffed, and safe orderly assistance

         where physical modifications have not been made to provide access; failure to

         provide proper oversight of health care orderlies;

      (9) Failing to comply with LSP’s own ADA Directives in maintaining a qualified ADA

         Coordinator and advisory committee to handle ADA issues;

      (10)   Failing to make efforts to integrate disabled inmates within the spirit of the

         ADA implementing regulations;

      (11)   Failing to adequately train medical staff regarding ADA compliance;

      (12)   Failing to appropriately evaluate and address ADA accommodation

         requests and disability-related grievances;

      (13)   Failing to identify and track disabilities and accommodation requests in a

         meaningful way;
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      (14)   Failing to accommodate disabled inmates in applying discipline;

      (15)   Maintaining blanket exclusionary policies for disabled inmates regarding

          access to various services, activities, and programs in violation of the ADA.

      By separate notice, the Court will set a Status Conference to discuss proceeding

to the remedy phase of this matter.

      IT IS SO ORDERED.

      Baton Rouge, Louisiana, this 31st day of March, 2021.


                                              S
                                         ________________________________
                                         SHELLY D. DICK
                                         CHIEF DISTRICT JUDGE
                                         MIDDLE DISTRICT OF LOUISIANA




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